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                                                  Richard A. Lord

                                                     Chapter
                                       19. Miscellaneous Illegal Agreements
                                           IV. Agreements to Indemnify


References Correlation Table

§ 19:20. Indemnity against intentional wrongs


West's Key Number Digest

West's Key Number Digest, Contracts           114
West's Key Number Digest, Insurance           2594(2)

     It seems quite clear that the doctrine that agreements to indemnify against negligence are valid[1] should not
be extended to intentional misconduct or willful wrongdoing involving personal volition, such as, for example,
child molestation or other intentional and inherently harmful activity.[2] However, it has been said that
"[i]ndemnification agreements are unenforceable as violative of public policy only to the extent that they purport
to indemnify a party for damages flowing from the intentional causation of injury" so that indemnification may
be permitted when grossly negligent conduct was alleged and found.[3] Decisions with respect to these issues
raise difficult policy concerns: On the one hand, the courts are, with good cause, reluctant to encourage wrong-
doing by permitting the wrongdoer to be indemnified for misconduct. On the other hand, a refusal to permit in-
demnity will often, if not usually, result in an injury being unredressed by compensation. Balancing these com-
peting interests is difficult and often results in subtle distinctions.

     Thus, it has been held[4] that intentional and negligent infliction of emotional distress is an "occurrence"
within the meaning of a homeowner's insurance policy so as to trigger the insurer's duty to defend and indemni-
fy, the court stating in part:

    The insurance policy defines an occurrence as an 'accident.' In essence, the insurance company limits its
    coverage to accidental occurrences to preclude coverage for insureds whose conduct is intentionally-wrong-
    ful.


    The jurisprudence interpreting insurance provisions that implicate the question of the extent of coverage for
    intentional acts demonstrates a careful balance between competing doctrines. On the one hand, we have
    long held that public policy denies insurance indemnification for the civil consequences of wrong-doing … .
    On the other hand, we recognize the desire to compensate victims with insurance proceeds to the extent that
    that compensation will not condone and encourage intentionally-wrongful conduct … .




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    We must thus interpret the terms 'occurrence' and 'accident' in a manner that is both consistent with the reas-
    onable meaning of the insurance contract and responsive to the above policy concerns.


    The key interpretive question is what should be deemed 'accidental': the act or the injuries resulting from the
    act?


    In evaluating whether intentional statements can be considered accidental occurrences, other jurisdictions
    have split. Some hold that tortious statements do not constitute an occurrence because the act of speaking is
    intentional … .[5]


    Other jurisdictions, focusing on the accidental nature of the injury, have held that intentional statements
    leading to unintentional injuries can be deemed an occurrence … .[6]


    We adhere to the prevalent New Jersey rule and hold that the accidental nature of an occurrence is determ-
    ined by analyzing whether the alleged wrongdoer intended or expected to cause an injury. If not, then the
    resulting injury is 'accidental,' even if the act that caused the injury was intentional. That interpretation pre-
    vents those who intentionally cause harm from unjustly benefitting from insurance coverage while provid-
    ing injured victims with the greatest chance of compensation consistent with the need to deter wrong-doing.
    It also accords with an insured's objectively-reasonable expectation of coverage for unintentionally-caused
    harm.


    Even if the operative question is the intent to injure rather than to act, the question of what constitutes an 'in-
    tent to injure' remains. The key issue is whether the court must find a subjective intent to injure, or whether
    it can presume an intent to injure from the objective circumstances. In that regard, our inquiry parallels that
    taken in interpreting policy exclusions for intentional acts. Those exclusions preclude coverage for injuries
    expected or intended by the insured. Case law interpreting those policy exclusions, in addition to that inter-
    preting the definition of 'occurrence,' is thus relevant.


    The general trend appears to require an inquiry into the actor's subjective intent to cause injury.[7] Even
    when the actions in question seem foolhardy and reckless, the courts have mandated an inquiry into the act-
    or's subjective intent to cause injury … .


    When the actions are particularly reprehensible, the intent to injure can be presumed from the act without an
    inquiry into the actor's subjective intent to injure. That objective approach focuses on the likelihood that an
    injury will result from an actor's behavior rather than on the wrongdoer's subjective state of mind.[8]


    Absent exceptional circumstances that objectively establish the insured's intent to injure, we will look to the
    insured's subjective intent to determine intent to injure. [The insured's] actions were a far cry from the type
    of egregious behavior that justifie[s] an objective approach … and thus do not justify a departure from the
    general rule requiring an inquiry into the insured's subjective intent to injure.




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    Although [the insured's] statements were unquestionably intentional, there is little evidence that she inten-
    ded or expected to injure the schoolteacher. Our impression is that she was motivated by concern for her
    child rather than by a desire to injure the teacher. Regardless of our impressions, the complaint itself in-
    cluded an allegation of negligent infliction of emotional distress. An allegation of negligence presumes the
    absence of an intent to injure. [The insurer] thus had the duty to defend until the negligence claim had been
    dismissed.


    Moreover, the duty to defend also may have been triggered by the claim for intentional infliction of emo-
    tional distress, known as 'outrage' in New Jersey. Although 'outrage' is considered an intentional tort, it is
    recognized not only where conduct is intentional but also where it is 'reckless.' … A 'reckless' act under tort
    law does not meet the subjective intent-to-injure requirement under insurance law. Therefore, under both the
    'negligent infliction of emotional distress' and the 'outrage' allegations, [the insurer] had a duty to defend un-
    less and until a subjective intent to injure had been demonstrated.

    In addition, as discussed previously,[9] several courts have recently had occasion to consider whether public
policy permits or requires insurers to extend coverage to encompass awards of punitive damages, the better
cases, if not the majority of them, holding such coverage permissible.



         [FN1] See § 19:19.

         U.S.
         Chicago Housing Authority v. Federal Sec., Inc., 161 F.3d 485 (7th Cir. 1998) (security contractor's
         promise "to completely indemnify and hold harmless [housing authority] against any liability or ex-
         pense arising out of any losses, claims, damages or injury resulting from any intentional acts or any
         negligent acts or omissions of [contractor] or its agents in the performance of this contract" obligated
         contractor to indemnify authority for authority's deliberate indifference to ongoing illegal activity by
         guards employed by contractor; to require contractor to indemnify authority for illegal activity of con-
         tractor's own guards or for contractor's allegedly sloppy security would not compromise general rule
         against contracts to indemnify someone for consequences of its intentional or negligent acts)

         Minn.
         Lake Cable Partners v. Interstate Power Co., 563 N.W.2d 81 (Minn. Ct. App. 1997) (for public policy
         reasons, indemnification agreement may not include indemnification for intentional conduct that could
         support award of punitive damages).

         [FN2] Restatement Second, Torts §§ 20, 32

         Restatement Second, Contracts § 196, comment a, declaring unenforceable as against public policy un-
         reasonable exemptions from liability for fraudulent and nonfraudulent misrepresentations.

         See also:

         Cal Ins Code § 533 ("Willful act of insured-An insurer is not liable for a loss caused by the willful act
         of the insured; but he is not exonerated by the negligence of the insured, or of the insured's agents or
         others.").




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         U.S.
         Cf. State Farm Fire and Cas. Co. v. Fullerton, 118 F.3d 374 (5th Cir. 1997) (holding, under Texas law,
         that insured's guilty plea to murder charge precludes either insured or heirs of his victims from asserting
         that he lacked intent to bring about harm and that conduct was therefore an accidental occurrence within
         meaning of insurance policy; the decision collects virtually all of the extant case law on the issue, con-
         cluding that there is an almost equal split between those jurisdictions that permit the question of intent
         to survive a guilty plea since the issue has not been actually litigated, and those jurisdictions that give
         preclusive effect to such a plea, and speculates, under Erie, that Texas would adopt the latter position)

         Northwestern Nat. Cas. Co. v. McNulty, 307 F.2d 432 (5th Cir. 1962) (public policy prohibits insurance
         against liability for punitive damages; Florida verdict sought to be collected under Virginia policy)

         Cf. Chicago Housing Authority v. Federal Sec., Inc., 161 F.3d 485 (7th Cir. 1998) (allowing indemni-
         fication when it places the burden on the primary wrongdoer)

         Allstate Ins. Co. v. Gilbert, 852 F.2d 449 (9th Cir. 1988) (applying California law; insurer had no duty
         to defend or indemnify insured in action brought against child molester and wife, alleging intentional
         act of molester and negligence of wife in failing to supervise child or take steps to prevent molestation;
         molester's conduct was intentional within meaning of California statute and was therefore excluded
         from coverage, and action against wife, though based on her negligence, was the result of intentional
         act of "an insured," her husband, within meaning of policy exclusion)

         Hanover Fire Ins. Co. of New York v. Merchants' Transp. Co., 15 F.2d 946 (C.C.A. 9th Cir. 1926)

         Allstate Ins. Co. v. Tankovich, 776 F. Supp. 1394 (N.D. Cal. 1991) (purposeful racial harassment and
         racially motivated hate crimes were inherently harmful under California law and thus excluded from in-
         surance coverage by statute excluding willful conduct)

         State Farm Fire & Cas. Co. v. Ezrin, 764 F. Supp. 153 (N.D. Cal. 1991) (alleged nonconsensual sexual
         assault is intentionally wrongful conduct excluded from insurance coverage, surveying case law from
         several other jurisdictions)

         ANR Production Co. v. Westburne Drilling, Inc., 581 F. Supp. 542 (D. Colo. 1984) (upholding exculp-
         atory provision against simple negligence under Colorado law in light of parties' sophisticated commer-
         cial nature and equality of bargaining power, setting forth factors to consider; but denying summary
         judgment with respect to allegations of willful and wanton negligence, liability for which cannot be
         contracted away)

         Allstate Ins. Co. v. Bailey, 723 F. Supp. 665 (M.D. Fla. 1989) (molestation of a four-year-old by a
         15-year-old; though action framed by plaintiff in terms of negligence, conduct fell within intentional
         acts exclusion, and homeowner's insurer had neither duty to defend nor to indemnify)

         Allstate Ins. Co. v. McCranie, 716 F. Supp. 1440 (S.D. Fla. 1989), aff'd, 904 F.2d 713 (11th Cir. 1990)
         (exclusions of intentional conduct by an insured excluded coverage for child molestation by one in-
         sured, and also excluded coverage as to another insured, the molester's sister, who was allegedly negli-
         gent; child molestation was intentional, regardless of molester's mental health, and could not be deemed
         accidental, and since exclusion was of intentional acts of "an insured," conduct of one insured barred




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         coverage in favor of coinsured)

         Cf. Paris Utility Dist. v. A.C. Lawrence Leather Co., Inc., 665 F. Supp. 944 (D. Me. 1987), judgment
         aff'd, 861 F.2d 1 (1st Cir. 1988) (citing text and, though deciding the case on narrower grounds, noting
         that "the proposition that an agreement to indemnify a party for the party's own intentional, willful,
         grossly negligent, or otherwise tortious act contrary to a distinct public policy is unenforceable … has
         much to recommend it.")

         O'Neill v. Yield House Inc., 964 F. Supp. 806 (S.D. N.Y. 1997) (New York law precludes indemnifica-
         tion for punitive damages, but New Hampshire law permits indemnification for punitive damages;
         policies under precluding a punitive damage award may not apply when the tortfeasor is insolvent)

         Whitt v. DeLeu, 707 F. Supp. 1011, 52 Ed. Law Rep. 576 (W.D. Wis. 1989) (alleged sexual misconduct
         with children excluded from coverage by intentional acts exclusion since injury is so likely to be caused
         that intent may be inferred)

         Ala.
         Cf. Tapscott v. Allstate Ins. Co., 526 So. 2d 570 (Ala. 1988) (complaint determines whether insurer has
         duty to defend and indemnify; thus, when complaint alleged only intentional torts, insurer had no oblig-
         ation to defend or indemnify)

         Cal.
         J. C. Penney Casualty Ins. Co. v. M. K., 52 Cal. 3d 1009, 278 Cal. Rptr. 64, 804 P.2d 689 (1991) (the
         leading case in California involving child molestation, the molester pled guilty to criminal charges,
         after which he was sued civilly by the child and her mother, who attempted to avoid the statutory exclu-
         sion for intentional misconduct by dismissing their intentional tort claims and basing their action on
         negligence and negligent infliction of emotional distress; the court synthesized prior California de-
         cisions and spoke at length about the policies underlying the statutory exclusion, saying: "We conclude
         there is no coverage as a matter of law. No rational person can reasonably believe that sexual fondlings,
         penetration, and oral copulation of a five-year-old child are nothing more than acts of tender mercy. Ex-
         cept in the present case, every court to decide this issue under California law has held that a homeown-
         er's insurance policy does not provide liability coverage for child molestation. The courts of many other
         states also have considered the issue and, almost without exception, have held there is no coverage.

         "Cal. Ins. Code § 533 provides that an insurer is not liable for a 'wilful [sic] act of the insured.'

         "Negligence is often, perhaps generally, the result of a 'willful act,' as the term is commonly under-
         stood. For example, 'An ordinary consequence of driving an automobile without the exercise of ordin-
         ary care or an intentional violation of a statute (speed in excess of the maximum speed limit), is injury
         to the person or property of the driver or a third person. Certainly no one would contend that an injury
         occasioned by negligent or even reckless driving was not accidental within the meaning of a policy of
         accident insurance … .' … A contrary rule would allow an insurer to deny coverage for a negligent act.
         That result is specifically prohibited by § 533 … .

         "In short, § 533 does not preclude coverage for acts that are negligent or reckless. We find nothing in
         the statute, however, to support defendants' view that a child molester can disclaim an intent to harm his
         victim. There is no such thing as negligent or even reckless sexual molestation. The very essence of




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         child molestation is the gratification of sexual desire. The act is the harm. There cannot be one without
         the other. Thus, the intent to molest is, by itself, the same as the intent to harm.

         "The reasoning of prior decisions under § 533 also makes clear that the statute precludes coverage for
         child molestation. The public policy underlying § 533 is to discourage willful torts … .

         "Because the wrongful act of child molestation is itself the harm, § 533 does not require a showing of
         the insured's subjective intent to harm. Likewise, [case law] does not require a showing by the insurer
         of its insured's 'preconceived design to inflict harm' when the insured seeks coverage for an intentional
         and wrongful act if the harm is inherent in the act itself. § 533 precludes coverage in this case because
         child molestation is always intentional, it is always wrongful, and it is always harmful. Except in the
         present case, every Court of Appeal to consider the question has also concluded that § 533 precludes
         coverage for molestation.

         "Some acts are so inherently harmful that the intent to commit the act and the intent to harm are one and
         the same. The act is the harm. Child molestation is not the kind of act that results in emotional and psy-
         chological harm only occasionally. The contrary view would be absurd … .

         "Except in the present case, every [California] court … has agreed that under California law child sexu-
         al molestation is not covered by a homeowner's liability policy … .

         "Properly understood, defendants' argument is based not on the insured's intent, but on his motive. The
         gist of the argument is that his molestations were something akin to a misguided show of affection. In
         other words, his intent was to have sex with a child, but his motive was wholesome. Motive is irrelevant
         for purposes of § 533. Motive is relevant only to the different question of whether the conduct was
         wrongful, thereby giving rise to liability. For example, an insured may intentionally shoot another per-
         son in the head at point-blank range. Obviously, the insured (if sane) intends to injure. Whether the con-
         duct is wrongful, however, will depend on the insured's motive. For example, his motive may be self-
         defense. If a court finds that the insured acted justifiably, it necessarily follows that the insured did not
         act wrongfully. In that case, there is no liability, and the application of § 533 is not at issue. If,
         however, the motive for the shooting is determined to be robbery, the shooting would be wrongful and
         excluded from coverage by § 533. There is no motive that can justify child sexual molestation. The in-
         sured's professed motive is therefore entirely beside the point for purposes of § 533.

         "Although we are not bound by decisions of other states' courts, particularly in a case of statutory con-
         struction, they do reflect that our decision is in the mainstream on this issue … . To allow coverage for
         child molestation would be contrary to the almost unanimous rule in other states. … We are not aware
         of any decision by a state's high court that allows coverage for child molestation … .

         "Defendants and their amici curiae argue at length that psychiatric testimony would show that child
         molesters are really sheep in wolves' clothing-that their abuse of children is an attempt at affection. We
         are reluctant to venture into uncertain territory still being explored by psychiatrists. We note, however,
         that testimony, psychiatric or otherwise, that no harm was intended flies '"in the face of all reason, com-
         mon sense, and experience."' … Such testimony is also irrelevant in light of the rule that a child mo-
         lester's subjective intent is irrelevant to the question of insurance coverage … . Moreover, if psychiatry
         can satisfactorily corroborate defendants' view and demonstrate the need for a change in the law, the
         proper forum is in the Legislature, where broad-based, perhaps conflicting empirical evidence can be




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         presented and considered.

         "We hold that as a matter of law § 533 excludes liability insurance coverage for an insured's sexual mo-
         lestation of a child. An insured therefore cannot show or attempt to show that he subjectively intended
         no harm.

         "Some of the amici curiae briefs in this case have suggested that a decision denying coverage will en-
         courage insurers to deny coverage for many other types of wrongdoing. Not so. We cannot emphasize
         too strongly to the bench and bar the narrowness of the question before us. The only wrongdoing we ad-
         dress is the sexual molestation of a child. Whether other types of wrongdoing are also excluded from
         coverage as a matter of law by § 533 is not before us.").

         Cal.
         Cf. State Farm Fire & Casualty Co. v. Eddy, 218 Cal. App. 3d 958, 267 Cal. Rptr. 379 (6th Dist. 1990)
         (alleged wrongful transmission of herpes; when insured denied knowing that he had genital herpes, had
         been tested for it, and was told that he did not have the disease, the fact that he intentionally engaged in
         sexual relations did not bar coverage under homeowners policy, discussing similar cases from other jur-
         isdictions as well)

         Blankenheim v. E. F. Hutton & Co., 217 Cal. App. 3d 1463, 266 Cal. Rptr. 593 (6th Dist. 1990) (hold
         harmless agreement, which by its terms was broad enough to encompass misrepresentations, violated
         California public policy as embodied in statute)

         Fla.
         Landis v. Allstate Ins. Co., 546 So. 2d 1051 (Fla. 1989) (child molestation was intentional act, regard-
         less of actor's state of mind, and fell within intentional acts exclusion of insurance policy)

         Haw.
         Hawaiian Ins. & Guar. Co., Ltd. v. Blanco, 72 Haw. 9, 804 P.2d 876 (1990) (overruled on other grounds
         by, Dairy Road Partners v. Island Ins. Co., Ltd., 92 Haw. 398, 992 P.2d 93 (2000)) (when insured inten-
         tionally discharged rifle in direction of his neighbor, allegedly intending to frighten him, he should have
         reasonably expected that physical injury might result, and his insurance, which insured against acci-
         dents and occurrences, but excluded intentional harms, provided no coverage; moreover, claim of vic-
         tim's wife against insured for emotional distress was likewise excluded since a reasonable person in in-
         sured's position would have expected that wife might suffer emotional harm by seeing husband
         wounded)

         Ill.
         Cf. Dixon Distributing Co. v. Hanover Ins. Co., 161 Ill. 2d 433, 204 Ill. Dec. 171, 641 N.E.2d 395
         (1994) (citing Williston, distinguishing between an agreement exempting one from liability from inten-
         tional tort and an agreement by a third party indemnifying against consequences of tort; and declining
         to hold that providing insurance coverage for intentional acts, here alleged retaliatory discharge, viol-
         ates Illinois public policy)

         Prudential Property & Cas. Ins. Co. v. Kerwin, 215 Ill. App. 3d 1086, 159 Ill. Dec. 425, 576 N.E.2d 94
         (1st Dist. 1991) (insured, while voluntarily intoxicated, shot victim in the presence of victim's wife and
         pleaded guilty to criminal charges; victim and wife brought civil action for intentional or negligent dis-




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         charge of weapon and negligent infliction of emotional distress; the court held that the insured's
         homeowners policy excluded coverage, since the act of shooting the gun was intentional, and said, as to
         the possibility that the intoxication might preclude a finding of intent: "In criminal cases, it is an affirm-
         ative defense if a defendant's voluntary intoxication is so extreme as to suspend the power of reason and
         to render him incapable of forming a specific intent which is an element of the offense … . The
         [victims] wish to make a quantum transition from voluntary intoxication being an affirmative defense to
         a specific intent crime, to voluntary intoxication relieving citizens from the consequences of their acts
         in civil cases. We reject the … attempted transition of an affirmative defense of criminal law to civil
         law.

         "Plainly, in civil cases it would be against public policy to relieve citizens of the consequences of their
         acts based upon their voluntary intoxication. It follows that an insured cannot be heard to argue that he
         did not intend to do an otherwise intentional act on the basis that he was voluntarily intoxicated and
         thereby claim coverage under an insurance policy that excludes coverage for intentional acts. The law
         cannot be perverted to reach a result which would be inimical to public policy.").

         Me.
         Perreault v. Maine Bonding & Cas. Co., 568 A.2d 1100 (Me. 1990) (holding as a matter of law that in-
         jury produced by criminal sexual abuse of a child is expected or intended by insured within meaning of
         exclusion contained in homeowners policy, quoting from case law to the effect that "[d]enial of cover-
         age is also 'in accord with the general rule that insurance to indemnify an insured against his or her own
         violation of criminal statutes is against public policy and, therefore, void.'")

         Mich.
         Greenman v. Michigan Mut. Ins. Co., 173 Mich. App. 88, 433 N.W.2d 346 (1988) (injury from sexual
         harassment is expected or intended by insured, thus precluding any duty to defend)

         Mont
         Safeco Ins. Co. of America v. Liss, 2000 MT 380, 303 Mont. 519, 16 P.3d 399 (2000) (public policy
         forbids indemnifying willful wrongdoing)

         N.J.
         Kuzmiak v. Brookchester, Inc., 33 N.J. Super. 575, 111 A.2d 425 (App. Div. 1955) (citing text; a clause
         which excused every conceivable wrongdoing, contained in a lease, was invalid)

         N.Y.
         Cf. Messersmith v. American Fidelity Co., 232 N.Y. 161, 133 N.E. 432, 19 A.L.R. 876 (1921) (refusing
         to include "willful misconduct")

         Cf. State Farm Fire and Cas. Co. v. Irene S., 138 A.D.2d 589, 526 N.Y.S.2d 171 (2d Dep't 1988)
         (exclusion for intended or expected consequences did not necessarily preclude coverage for transmis-
         sion of herpes since actor could intend acts yet not consequences of actions)

         N.C.
         Patti v. Continental Cas. Co., 126 N.C. App. 643, 486 S.E.2d 233 (1997), writ denied, 347 N.C. 401,
         494 S.E.2d 417 (1997) (reviewing and synthesizing prior North Carolina case law, holding that a claim
         based on wrongful termination alleged intentional conduct from which could be inferred intent to injure




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         so that coverage under professional liability policy was excluded)

         Utah
         Anglo-California Trust Co. v. Hall, 61 Utah 223, 211 P. 991 (1922) (the court said: "The law will not
         give effect to a stipulation intended to grant immunity to fraud and iniquity.")

         Vt.
         Nationwide Mut. Fire Ins. Co. v. Lajoie, 163 Vt. 619, 661 A.2d 85 (1995) (the court, having previously
         ruled that sexual abuse of a minor inferentially gave rise to harm, refused to back away from the in-
         ferred intent rule when sexual abuse of a minor was alleged despite additional allegations that there was
         also nonsexual abuse; the court said: "[Defendant] forced intervenor to have sex with him, he showered
         with her, and subjected her to incessant criticism and verbal cruelty. It is inconceivable that sexual ab-
         use of a minor by a family member will not be accompanied by other abuse and will not destroy famili-
         al relationships. If we require coverage for these subsidiary circumstances, we will require coverage in
         every sexual abuse case, undoing the inferred-intent rule. Moreover, we see no reason to distinguish
         between sexual abuse and related physical and mental abuse for purposes of the inferred-intent stand-
         ard. Finally, in a creative attempt to achieve coverage, intervenor has drafted claims that go beyond the
         boundaries of established torts … . We agree with the trial court that labeling [defendant's] conduct as
         negligent 'is simply a disingenuous attempt to create a factual dispute.'")


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         Automobile insurance coverage for drive-by shootings and other incidents involving the intentional dis-
         charge of firearms from moving motor vehicles, 41 A.L.R.5th 91.
         Death or injury from taking illegal drugs or narcotics as accidental or result of accidental means within
         insurance coverage, 32 A.L.R.5th 629.
         Homeowner's liability insurance coverage of emotional distress allegedly inflicted on third party by in-
         sured, 8 A.L.R.5th 254.
         Liability insurance coverage for violations of antipollution laws, 87 A.L.R.4th 444.
         Criminal conviction as rendering conduct for which insured convicted within provision of liability in-
         surance policy expressly excluding coverage for damage or injury intended or expected by insured, 35
         A.L.R.4th 1063.
         Acts in self-defense as within provision of liability insurance policy expressly excluding coverage for
         damage or injury intended or expected by insured, 34 A.L.R.4th 761.
         Liability insurance: intoxication or other mental incapacity avoiding application of clause in liability
         policy specifically exempting coverage of injury or damage caused intentionally by or at direction of in-
         sured, 33 A.L.R.4th 983.
         Construction and application of provision of liability insurance policy expressly excluding injuries in-
         tended or expected by insured, 31 A.L.R.4th 957.
         Liability insurance coverage as extending to liability for punitive or exemplary damages, 16 A.L.R.4th
         11.
         Coverage under uninsured motorist clause of injury inflicted intentionally, 72 A.L.R.3d 1161.
         Accident insurance: death or injury intentionally inflicted by another as due to accident or accidental
         means, 49 A.L.R.3d 673.




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         Houk, Insurance Law—Homeowner's Liability Insurance Policies: When Will the Pennsyvania Courts
         Infer Intent to Injure, 40 Vill L. Rev. 927 (1995)
         Note, Validity of Insurance against Liability for Injuries Resulting from "Wilful and Wanton Miscon-
         duct," 22 Corn. L.Q. 590

         [FN3]
         N.Y.
         Austro v. Niagara Mohawk Power Corp., 66 N.Y.2d 674, 496 N.Y.S.2d 410, 487 N.E.2d 267 (1985)
         (where the court also noted that the appellate court had failed to distinguish between exculpatory
         clauses, which attempt to deprive a party of damages resulting from another's wrongful act, and indem-
         nity agreements, which permit the injured party recovery, but shift responsibility from one entity to an-
         other, indicating that in the former situation, attempts to include willful or grossly negligent conduct are
         not permitted, while in the latter case, at least grossly negligent conduct may be indemnified)
See also:

         U.S.
         Chicago Housing Authority v. Federal Sec., Inc., 161 F.3d 485 (7th Cir. 1998) (security contractor's
         promise "to completely indemnify and hold harmless [housing authority] against any liability or ex-
         pense arising out of any losses, claims, damages or injury resulting from any intentional acts or any
         negligent acts or omissions of [contractor] or its agents in the performance of this contract" obligated
         contractor to indemnify authority for authority's deliberate indifference to ongoing illegal activity by
         guards employed by contractor; to require contractor to indemnify authority for illegal activity of con-
         tractor's own guards or for contractor's allegedly sloppy security would not compromise general rule
         against contracts to indemnify someone for consequences of its intentional or negligent acts).

         [FN4]
         N.J.
         Voorhees v. Preferred Mut. Ins. Co., 128 N.J. 165, 607 A.2d 1255, 75 Ed. Law Rep. 347, 8 A.L.R.5th
         937 (1992) (collecting both consistent and contrary authority; the companion case expands further on
         several questions, most notably the intent element necessary to trigger a duty to defend)
See also:

         U.S.
         Bailey v. State Farm Ins. Co., 810 F. Supp. 267 (N.D. Cal. 1992) (intentional act of insureds in in-
         stalling railroad ties in road and removing concrete edging fell within intentional acts exclusion even if
         insureds did not intend to cause harm to other property owners but merely intended to improve their
         own property)

         La.
         Cf. Holcomb v. Kincaid, 406 So. 2d 646 (La. Ct. App. 2d Cir. 1981) ("occurrence" as defined in policy
         included conduct by former husband when plaintiff alleged that husband committed fraud by marrying
         her while he was still married to another and then, following dissolution of their marriage, that husband
         and his new wife harassed her; defense that husband's acts were intentional was unavailing)

         N.C.




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         Cf. Eubanks v. State Farm Fire and Cas. Co., 126 N.C. App. 483, 485 S.E.2d 870 (1997) (holding that
         solicitation to commit murder was extreme and outrageous act nearly certain to result in emotional harm
         to intended victims and their spouse or parent so that intent to injure could be inferred; thus, exclusion
         for bodily injury either expected or intended by insured was triggered, and insurer was not obligated to
         defend or provide coverage)

         Vt.
         American Protection Ins. Co. v. McMahan, 151 Vt. 520, 562 A.2d 462, 85 A.L.R.4th 945 (1989)
         (bodily injury includes exposure to toxic product, and therefore, insurer's obligation to defend attaches
         to any harm caused by that exposure including emotional distress damages)


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         Homeowner's liability insurance coverage of emotional distress allegedly inflicted on third party by in-
         sured, 8 A.L.R.5th 254.

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         Houk, Insurance Law—Homeowner's Liability Insurance Policies: When Will the Pennsyvania Courts
         Infer Intent to Injure, 40 Vill L. Rev. 927 (1995)

         [FN5]
         U.S.
         Allstate Ins. Co. v. Tankovich, 776 F. Supp. 1394 (N.D. Cal. 1991) (purposeful racial harassment was
         not accidental within meaning of insurance policy regardless of whether racist intended to cause harm)

         Cf. Allstate Ins. Co. v. Hansten, 765 F. Supp. 614 (N.D. Cal. 1991) (various allegations of breach of
         contract and intentional tortious conduct stated causes of action for "intentional violations" of "legal ob-
         ligations" and hence were not covered as resulting from accidental loss as a matter of law)

         Cal.
         Cf. Merced Mutual Ins. Co. v. Mendez, 213 Cal. App. 3d 41, 261 Cal. Rptr. 273 (5th Dist. 1989) (act of
         oral copulation and attempted oral copulation was not occurrence or accident within meaning of
         homeowner's insurance policy when insured intended to perform act, though he might not have intended
         to cause harm allegedly caused thereby)

         Haw.
         Hawaiian Ins. & Guar. Co., Ltd. v. Blanco, 72 Haw. 9, 804 P.2d 876 (1990) (overruled on other grounds
         by, Dairy Road Partners v. Island Ins. Co., Ltd., 92 Haw. 398, 992 P.2d 93 (2000)) (insured should have
         reasonably expected that physical injury to victim and emotional injury to victim's wife would follow
         discharge of weapon in victim's direction even assuming that insured's intent was only to frighten vic-
         tim)

         Ill.
         Cf. Prudential Property & Cas. Ins. Co. v. Kerwin, 215 Ill. App. 3d 1086, 159 Ill. Dec. 425, 576 N.E.2d
         94 (1st Dist. 1991) (shooting by insured while voluntarily intoxicated was nevertheless intentional act,
         precluding coverage under insured's homeowners policy).




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         [FN6]
         Cal.
         Cf. State Farm Fire & Casualty Co. v. Eddy, 218 Cal. App. 3d 958, 267 Cal. Rptr. 379 (6th Dist. 1990)
         (alleged wrongful transmission of herpes; though insured intentionally engaged in intercourse through
         which disease was allegedly spread to partner, he did not thereby intend to transmit disease, given facts
         alleged by insured that he did not know he had disease and that he had been tested and informed that he
         was not infected)

         Me.
         Burns v. Middlesex Ins. Co., 558 A.2d 701 (Me. 1989) (suit for bodily injury resulting from slander, in-
         vasion of privacy, and intentional infliction of emotional distress; the court said, in reversing a sum-
         mary judgment in favor of the insurer that it had no duty to defend: "Here, the insurance policy ex-
         cludes from coverage 'bodily injury … which is expected or intended by the insured.' In [an earlier de-
         cision] we found this exclusion ambiguous and interpreted it to refer 'only to bodily injury that the in-
         sured in fact subjectively wanted ("intended") to be a result of his conduct or in fact subjectively
         foresaw as practically certain ("expected") to be a result of his conduct' … . The underlying complaint
         that has provoked this controversy claims damages resulting from slander, invasion of privacy and in-
         tentional infliction of emotional distress. Even though they may be characterized as intentional torts,
         neither slander nor invasion of privacy requires that the tortfeasor, … 'subjectively wanted' or 'subject-
         ively foresaw' bodily injury as the 'practically certain' result of her conduct. Comparing the underlying
         complaint to the insurance policy, therefore, we find that there is a duty to defend because the plaintiff
         in the underlying litigation against the insured may recover damages in that lawsuit that would be
         covered by the insurance policy.")

          Pa.
          United Services Auto. Ass'n v. Elitzky, 358 Pa. Super. 362, 517 A.2d 982 (1986) (defamation action
          brought by judge against former litigant based on statements made by her allegedly impugning judge;
          the court, in a thorough discussion of the matter, considered an intentional acts exclusion in the former
          litigant's policy, ruling: "In summary, we hold that an intended harm exclusionary clause in an insur-
          ance contract is ambiguous as a matter of law and must be construed against the insurer. We hold that
          such a clause excludes only injury and damage of the same general type which the insured intended to
          cause. An insured intends an injury if he desired to cause the consequences of his act or if he acted
          knowing that such consequences were substantially certain to result.
"In light of the preceding discussion, it is apparent that [the judge's] complaint does state a cause of action which
may be covered by the … insurance policy. [The] libel claim is excluded under the policy's intended harm provi-
sion only if the [defendants] made their comments about the judge with the specific intent to cause him a harm
generally similar to the emotional distress or injury to reputation which the Judge allegedly suffered. If the
[defendants] are found to have made false statements about the judge even though they knew their claims were
untrue, such an intent to harm might be presumed. But [the judge] can recover on his libel claim even if the
[defendants] thought their claims were true if that belief was in reckless disregard of the truth … . If the
[defendants] believed their statements were true then it is very possible that they did not make them for the pur-
pose of injuring [the judge]. It is possible that [they] recklessly disregarded the truth and libeled [the judge] yet
did so with pure hearts. For instance, they may have acted intending only to help reform the court system. Even
so, if they recklessly ignored the possibility that their beliefs about [the judge] were misguided, liability may be
imposed. Theoretically, [the judge] may succeed in his cause of action even if the [defendants] intended him no




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harm. In that situation, the 'intended injury' exclusion would be inapplicable. In this regard, it is essential to dis-
tinguish intent from recklessness. In [a prior decision], we stated that a person acts intentionally when he desires
to cause the consequences of his act or believes those consequences are substantially certain to result from it.

         "Similarly, [the judge] may recover for intentional infliction of emotional distress even if the
         [defendants] did not have the specific intent to cause him such distress as long as they acted recklessly
         … . Though [the judge] has only alleged recklessness under the count in his complaint for libel, we note
         that he may amend his complaint at a later time. Therefore, [the] complaint clearly comprehends injur-
         ies which may not be excluded from coverage by the intended injury clause.

         "However, our inquiry does not end here as the policy in question also excludes injury 'expected' by the
         insured. During the 1960's, insurance companies re-wrote the standard liability policy, adding an exclu-
         sion for injuries expected by the insured. The companies wished to exclude coverage for certain fore-
         seeable results. They were aware that the courts had been generally unsympathetic to such an exclusion
         when construing the term 'intended' in the old policies. The companies added 'expected' to the new
         standard policy hoping to broaden the class of excluded injuries … .

         "Ever since this change, courts have puzzled over the proper interpretation of the term. The main areas
         of disagreement have been: (1) is there any difference between 'intended' injury and 'intended and ex-
         pected' injury; (2) whether 'expected' connotes an element of conscious awareness by the insured; and
         (3) what degree of forseeability [sic] is required to exclude an injury from coverage as 'expected' … .

         "… We hold that for purposes of an exclusionary clause in an insurance contract, expected injury means
         that the insured acted even though he was substantially certain that an injury generally similar to the
         harm which occurred would result. This interpretation affords insured persons the maximum legal pro-
         tection they could reasonably expect under a contract excluding expected injuries.

         "However, this definition is also encompassed within the definition of intentional … . Therefore, we
         find ourselves in agreement with those jurisdictions which have ruled that intentional or expected are
         synonomous [sic] for purposes of insurance exclusionary clauses. In doing so, we have balanced the
         need to protect laymen from unforeseeable and hypertechnical legal constructions against the insurance
         industry's right to control which risks it wishes to provide contractual protection for. If the industry
         feels that our decision is in error and in serious conflict with its interests, its task is a simple one. It can
         protect itself by re-writing its policies to clearly exclude those risks against which it does not want to
         insure.").

         [FN7]
         U.S.
         Allstate Ins. Co. v. Biggerstaff, 703 F. Supp. 23 (D.S.C. 1989) (emotional harm is bodily injury, the
         court also stating "that the damages resulting from the actions, and not merely the actions themselves,
         must be intentional, is clearly the law in South Carolina today.")

         Me.
         Burns v. Middlesex Ins. Co., 558 A.2d 701 (Me. 1989) (that test is whether insured "subjectively
         wanted" or "subjectively saw as practically certain" bodily injury to occur from her conduct)

         N.Y.




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         State Farm Fire and Cas. Co. v. Irene S., 138 A.D.2d 589, 526 N.Y.S.2d 171 (2d Dep't 1988) (exclusion
         for intended or expected consequences did not necessarily preclude coverage for transmission of herpes
         since actor could intend acts yet not consequences of actions).

         [FN8]
         U.S.
         Aetna Cas. & Sur. Co. v. Sheft, 989 F.2d 1105 (9th Cir. 1993) (both the court of appeals and district
         court opinions containing exceptional discussions of California law concerning willful acts excluded
         from insurance coverage by statute; affirming district court's grant of summary judgment, holding that
         insurer had no duty to defend or indemnify estate of a movie star with respect to claims of former ho-
         mosexual lover that the decedent engaged in high-risk sex knowing that he had the AIDS virus and in-
         tentionally concealed and misrepresented that fact; the court said: "Faithfully applying the law of Cali-
         fornia, as we must, the issue becomes not whether [decedent] had a preconceived design to inflict harm
         upon [his lover], but whether [decedent]'s act in affirmatively misrepresenting that he did not have
         AIDS with the intent to induce [the lover] to engage in high risk sex would be deemed inherently harm-
         ful by the California Supreme Court. California law is unsettled on this issue.
"Based on its analysis in [the leading California decision], which involved another emotionally-charged sexual
act, we believe that the California Supreme Court would be impressed by the seriousness and deadliness of
AIDS and, therefore, inclined to declare that [decedent]'s conduct was inherently harmful. It is undisputed that
[decedent] knew that he was infected with the AIDS virus, and that he intentionally misrepresented and con-
cealed his condition with the intent to induce [his lover] to engage in high risk sex over a period of nearly eight
months. [Decedent] put [the lover's] health in jeopardy during an eight month period by willfully exposing [him]
to the deadly AIDS virus. Finally, as a result of [decedent]'s misrepresentation, [the lover] suffered severe emo-
tional distress. We therefore believe the California Supreme Court would reject the first three of the Estate's ar-
guments and hold that [decedent]'s knowing exposure of [the lover] to a deadly disease was inherently harmful.

         "Contrary to the Estate's assertion, courts applying California law have precluded coverage under [the
         California statute] even in the absence of a felony conviction … . In addition, the Estate's suggestion
         that [the lover] consented to the act producing his injuries is irrelevant. While [he] consented to have
         sex, he did not consent to be intentionally exposed to AIDS … .

         "[W]e hold that [decedent]'s intentional misrepresentation that he did not have AIDS in order to induce
         [his lover] to engage in high risk sex would be held by the California Supreme Court to be inherently
         harmful conduct. Accordingly, [the statute] precludes coverage as a matter of law.").

         U.S.
         Allstate Ins. Co. v. Gilbert, 852 F.2d 449 (9th Cir. 1988) (husband and wife were insured by a
         homeowner's policy that excluded from coverage injuries caused by intentional acts of insured; husband
         molested a child, and child and her parents filed suit against husband, alleging intentional misconduct,
         and wife, alleging negligence in supervision; held, insurer did not have duty to defend or indemnify
         husband since his conduct was intentional within the meaning of a California statute and the policy ex-
         clusion, and while allegations as to wife were in negligence, since the action arose from intentional acts
         of "an insured," the husband, no duty existed as to wife either; the court said as to the husband that "in-
         tent to cause harm in molesting a child is supplied as a matter of law," and as to the wife "that by ex-
         cluding insurance coverage for injury or damage intentionally caused by 'an insured person,' Allstate
         unambiguously excluded coverage for damages caused by the intentional wrongful act of any insured




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         under the policies … . The … complaint seeks to recover damages for injuries intentionally caused by
         [husband], 'an insured person' under the policies. Coverage for these injuries is thus precluded whether
         compensation is sought from [husband or wife]")

         State Farm Fire & Cas. Co. v. Ezrin, 764 F. Supp. 153 (N.D. Cal. 1991) (applying California law, not-
         ing cases from other jurisdictions as well; when act engaged in is wrongful, intent of insured to injure
         may be inferred, and alleged nonconsensual sexual assault was by its nature wrongful act)

         Allstate Ins. Co. v. Bailey, 723 F. Supp. 665 (M.D. Fla. 1989) (molestation of a four-year-old by a
         15-year-old; molestation, by its nature, is an act which leads to injury or harm, and intent to injure will
         be inferred, regardless of age of perpetrator; since no specific intent is required, age of molester is not
         relevant)

         Allstate Ins. Co. v. Browning, 598 F. Supp. 421 (D. Or. 1983) (insurance policy which excluded cover-
         age for intentional conduct excluded coverage for cross burning since such conduct was so certain to
         cause the harm alleged that intention would be inferred)

         Cal.
         Cf. J. C. Penney Casualty Ins. Co. v. M. K., 52 Cal. 3d 1009, 278 Cal. Rptr. 64, 804 P.2d 689 (1991)
         (child molester's motive in molesting child—alleged by the victim and her mother, as well as by psychi-
         atrists on their behalf to have been the misguided attempt at affection—was irrelevant to the question
         whether homeowner's policy covered molestation, nor could insured show or attempt to show that he in-
         tended no harm)

         Fla.
         Landis v. Allstate Ins. Co., 546 So. 2d 1051 (Fla. 1989) (child molestation was intentional act, regard-
         less of actor's state of mind, and fell within intentional acts exclusion of insurance policy)

         Haw.
         Hawaiian Ins. & Guar. Co., Ltd. v. Blanco, 72 Haw. 9, 804 P.2d 876 (1990) (overruled on other grounds
         by, Dairy Road Partners v. Island Ins. Co., Ltd., 92 Haw. 398, 992 P.2d 93 (2000)) (insured should have
         reasonably expected that physical injury to victim and emotional injury to victim's wife would follow
         discharge of weapon in victim's direction even assuming that insured's intent was only to frighten vic-
         tim)

         Ill.
         Prudential Property & Cas. Ins. Co. v. Kerwin, 215 Ill. App. 3d 1086, 159 Ill. Dec. 425, 576 N.E.2d 94
         (1st Dist. 1991) (the court said: "The facts that led to the shooting are not in dispute. [The insured] in-
         sulted [the victim's wife]. [The victim] responded by shouting an obscenity at [the insured]. [The in-
         sured] drew a gun, and then pointed it at [the victim] and shot him while he was only 10 feet away.
         [The victim] was not armed, and there was no physical threat to [the insured]. There is nothing to sug-
         gest that the gun was accidentally discharged. Plainly, the undisputed facts leave no doubt that [the in-
         sured] intended to injure [the victim].")

         Me.
         Perreault v. Maine Bonding & Cas. Co., 568 A.2d 1100 (Me. 1990) (the court, though recognizing that
         its previous decisions generally required an insurer to defend tort claims brought against their insureds




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         only when the insured subjectively intended the injury or subjectively knew that injury was practically
         certain, said as to sexual assault of a child: "The crime for which [the insured] was convicted, however,
         cannot support a finding of injury other than the expected or intended injury excluded by the homeown-
         er's policy … . By definition, [the insured] was not convicted of any inadvertent or negligent touching
         of the victim's genitals. He makes no such claim, nor could he in view of his criminal conviction. He,
         however, asserts that he did not 'expect' or 'intend' any injury to the young child as a result of the crim-
         inal sexual contact. We cannot, however, accept that any factfinder could rationally give any credit to
         [the insured's] assertion. On any objective basis, anyone intentionally committing the offense of unlaw-
         ful sexual contact against a child is bound to expect that psychological and emotional harm will result.
         Harm from the sexual abuse of a child is so highly likely to occur that the intent to commit the act in-
         herently carries with it the intent to cause the resulting injury. We rule as a matter of law that any injury
         produced by a criminal act of sexual abuse against a child is 'injury … expected or intended by the in-
         sured' within the meaning of the homeowner's exclusion.'

         "Our decision today is consistent with the holding of the overwhelming majority of courts that 'because
         injury always ensues, the offender is deemed to intend any injury resulting from the act as a matter of
         law.' … Furthermore, homeowner's coverage for criminal sexual abuse of children is undoubtedly out-
         side the contemplation of the parties to the insurance contract; indeed, '"[t]he average person purchasing
         homeowner's insurance would cringe at the very suggestion that [the person] was paying for such cover-
         age. And certainly [the person] would not want to share that type of risk with other homeowner's poli-
         cyholders."' … Denial of coverage is also 'in accord with the general rule that insurance to indemnify an
         insured against his or her own violation of criminal statutes is against public policy and, therefore,
         void.'").

         Minn.
         R.W. v. T.F., 528 N.W.2d 869 (Minn. 1995) (containing an exceptional review of Minnesota law, hold-
         ing that transmission of herpes was intentional within meaning of exclusion, the court said in part: "The
         law in Minnesota is well-settled that an intentional act exclusion applies only where the insured acts
         with the specific intent to cause bodily harm … . Specifically, the requisite intent demands that the in-
         sured intended the harm itself, not merely that the insured generally intended to act … . Thus, the ap-
         propriate question in this case is not whether [defendant] intended to have sexual intercourse with
         [plaintiff], but rather whether he intended to transmit herpes

         "We have said that the necessary intent may be established either by proving an insured's actual intent
         to injure or by inferring such intent as a matter of law … . The record indicates, and the jury found, that
         [defendant] did not have an actual desire or intent to give [plaintiff] herpes. Therefore, we must con-
         sider whether this is a proper case for inferring the requisite intent as a matter of law.

         "We have considered this question in a number of other contexts and have established a general rule
         that the inference of intent arises when the nature and circumstances of the insured's act were such that
         harm was substantially certain to result … .

         "Although [defendant's] negligence claim is unlike earlier Minnesota cases in that it does not stem from
         criminal acts or an intentional tort, we find the underlying legal reasoning and policy considerations ap-
         plicable to the issue before us. The determination to infer intent as a matter of law results from a case
         by case factual inquiry, not a bright line rule of law. More specifically, the facts of particular import-




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         ance are those tending to show the likelihood of the harm—the greater the likelihood of the harm occur-
         ring, the more reasonable it is to infer intent.

         "In this matter, the jury found that [defendant] knew or should have known that he had herpes and that
         he could transmit the disease through unprotected sexual intercourse. Under these circumstances, [his]
         decision to engage in unprotected sexual intercourse constituted a serious threat of injury to [plaintiff]
         that was substantially likely to occur, and did in fact occur. We conclude that [defendant's] transmission
         of herpes to [plaintiff], while not necessarily malicious, was intentional as a matter of law. [Plaintiff's]
         claim against [the insurer] must fail because the intentional act exclusion precludes coverage.

         "We also note that it is contrary to the purpose of insurance coverage and public policy to indemnify
         [defendant's] conduct in this case. The jury found that [defendant] knew he had herpes and knew that he
         could transmit it to [plaintiff]. Nevertheless, [defendant] proceeded to have sexual intercourse without
         protection and without informing [plaintiff] of his condition. We refuse to promote the abdication of
         personal responsibility by providing insurance coverage when an insured engages in unprotected sexual
         intercourse despite having knowledge that he is infected with herpes, a highly contagious and serious
         sexually transmitted disease.").

         N.C.
         Patti v. Continental Cas. Co., 126 N.C. App. 643, 486 S.E.2d 233 (1997), writ denied, 347 N.C. 401,
         494 S.E.2d 417 (1997) (reviewing and synthesizing prior North Carolina case law, holding that a claim
         based on wrongful termination alleged intentional conduct from which could be inferred intent to injure
         so that coverage under a professional liability policy was excluded)

         Eubanks v. State Farm Fire and Cas. Co., 126 N.C. App. 483, 485 S.E.2d 870 (1997) (the court, having
         previously determined that sexual harassment was so likely to cause harm that intent to cause harm may
         be inferred, considered whether that rule ought only to apply to sexual offenses or rather should extend
         to solicitation to commit murder; the court said: "Notwithstanding, plaintiffs attempt to distinguish our
         holdings … as limited to 'cases involving sexual offenses.' However, we cannot fairly characterize ef-
         forts by an individual to obtain the death of another by the hiring of a paid assassin as less deplorable or
         outrageous, and thus less likely to result in injury or emotional distress, than the conduct considered in
         those opinions … .

         "We therefore hold solicitation to commit murder is an extreme and outrageous act so nearly certain to
         result in emotional injury to the intended victim and spouse or parent thereof that intent to commit such
         injury may be inferred from the act … . Accordingly, [insured's] conduct in arranging to pay [an agent
         posing as a hit man] to murder [plaintiffs] was an extreme and outrageous act so nearly certain to result
         in emotional injury to plaintiffs that [insured's] intent to inflict that injury may be inferred from her con-
         duct.

         "… As the conduct of [insured] may be inferred to have intended the emotional distress which forms an
         essential element of plaintiffs' claims against her, defendant was not obligated to defend [insured]
         against those claims under the policy which expressly excluded liability for injury 'expected or intended
         by the insured.'").

         Wash.
         Western Nat. Assur. Co. v. Hecker, 43 Wash. App. 816, 719 P.2d 954 (Div. 2 1986) (insured was found




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         to have deliberately forced a third party to engage in anal intercourse, though he asserted that he had not
         intended to penetrate her anally and that he intended no harm; his insurer brought a declaratory judg-
         ment action, and the court first ruled that the act of anal intercourse and its accompanying injury was
         not an occurrence or an accident within the meaning of the policy because it was deliberate, and then
         said that even if it were initially covered, it would be excluded as intentionally caused harm, stating:
         "(1) The minority view follows the classic tort doctrine of looking to the natural and probable con-
         sequences of the insured's act; (2) The majority view is that the insured must have intended the act and
         to cause some kind of bodily injury; (3) A third view is that the insured must have had the specific in-
         tent to cause the type of injury suffered … . The majority view, which we now adopt, can be summar-
         ized as follows: (1) the insured must intend both the act and the injury; (2) intent may be actual or may
         be inferred by the nature of the act and the accompanying reasonable foreseeability of harm; (3) once
         intent to cause injury is found, it is immaterial that the actual injury caused is of a different character or
         magnitude than that intended … . Under this majority view, whether an act is intentional is a separate
         consideration that must be distinguished from whether the actor intended to cause injury. This approach
         avoids the logically untenable result that unless the insured intended the specific injury suffered, cover-
         age is not excluded under the intentional injury exclusion.

         "In the case before us, [insured] denies, first, that he acted intentionally and, second, that he intended
         any injury. The trial court did not make a specific finding that [insured] intended to injure [victim]. We
         need not, however, make that factual determination. We conclude that an act of forcible anal intercourse
         is an act of such a character that an intent to cause injury can be inferred as a matter of law. The charac-
         ter of the act is such that physical as well as mental trauma can be foreseen as accompanying it.").

         [FN9] § 12:3.

         U.S.
         O'Neill v. Yield House Inc., 964 F. Supp. 806 (S.D. N.Y. 1997) (New York law precludes indemnifica-
         tion for punitive damages, but New Hampshire law permits indemnification for punitive damages;
         policies under precluding a punitive damage award may not apply when the tortfeasor is insolvent)

         Cal.
         PPG Industries, Inc. v. Transamerica Ins. Co., 20 Cal. 4th 310, 84 Cal. Rptr. 2d 455, 975 P.2d 652
         (1999) (public policy prohibits indemnification for punitive damages)

         Minn.
         Lake Cable Partners v. Interstate Power Co., 563 N.W.2d 81 (Minn. Ct. App. 1997) (for public policy
         reasons, indemnification agreement may not include indemnification for intentional conduct that could
         support award of punitive damages).

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WILLSTN-CN § 19:20

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West's Louisiana Statutes Annotated Currentness
 Louisiana Civil Code
   Book III. Of the Different Modes of Acquiring the Ownership of Things (Refs & Annos)
      Title IV. Conventional Obligations or Contracts (Refs & Annos)
            Chapter 8. Effects of Conventional Obligations (Refs & Annos)
              Section 4. Damages
                Art. 2004. Clause that excludes or limits liability


Any clause is null that, in advance, excludes or limits the liability of one party for intentional or gross fault that
causes damage to the other party.



Any clause is null that, in advance, excludes or limits the liability of one party for causing physical injury to the
other party.



CREDIT(S)

Acts 1984, No. 331, § 1, eff. Jan. 1, 1985.


REVISION COMMENTS--1984

2008 Main Volume

    (a) This Article is new. It does not change the law, however. It expresses a consequence of the principle
    of contractual freedom stated in C.C. Art. 1901 (1870). In Freeman v. Department of Highways, 253
    La. 105, 217 So.2d 166 (1968), the Supreme Court held that, as a matter of principle, clauses excluding
    or limiting liability for intentional fault (fraud or dol) are invalid because a party would be free to per-
    form or not to perform at will. Hence, his obligation would be subject to a purely potestative condition
    that would make it null. That reasoning aside, such clauses are against public policy because the over-
    riding principle of good faith would be destroyed if it were possible to contract away liability for fraud.
    Foreign civil codes contain abundant indication of the universality of this conclusion. See also Hayes v.
    Hayes, 8 La.Ann. 468 (1852).

    (b) This Article does not apply where federal legislation prevails. See 46 U.S.C. § 1304(5) and 49
    U.S.C. §§ 20(11), 319, 1013; Comment, “Limitations of Liability: Passenger Injuries and Baggage
    Losses on Land, Sea, and Air,” 34 Tul.L.Rev. 354 (1960).

    (c) Under this Article, a clause relieving a party from liability for damage caused by delay is valid. See
    Freeman v. Department of Highways, 253 La. 105, 217 So.2d 166 (1968).




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    (d) Under this Article, a clause relieving a party from liability for damage to property caused through
    slight fault is valid, unless prohibited by special statutes. See R.S. 10:7-309. See also Litvinoff,
    “Stipulations as to Liability and as to Damages,” 52 Tul.L.Rev. 258 (1978).

    (e) This Article does not govern “indemnity” clauses, “hold harmless” agreements, or other agreements
    where parties allocate between themselves, the risk of potential liability towards third persons. See Po-
    lozola v. Garlock, Inc., 343 So.2d 1000 (La.1977); Green v. Taca International Airlines, 304 So.2d 357
    (La.1974); Reeves v. Louisiana and Arkansas Railway Company, 282 So.2d 503 (La.1973).

    (f) This Article does not supersede R.S. 9:3221. See Terrenova v. Feldner, 28 So.2d 287
    (La.App.Orl.Cir.1946); Tassin v. Slidell Mini-Storage, Inc., 396 So.2d 1261 (La.1981).


HISTORICAL AND STATUTORY NOTES

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Source:

    C.C. Arts. 11, 19, 1901, 1930, 2504, and 3556(13) (1870); Italian Civil Code Art. 1229; Quebec Draft Civil
    Code (1977) Arts. 300-303; Argentine Civil Code Art. 507; Swiss Code of Obligations Art. 100; Greek
    Civil Code Art. 332.




Titles III and IV of Book III of the Civil Code of 1870, which formerly contained C.C. arts. 1756 to 2291, all re-
lative to Obligations, were amended and reenacted by Acts 1984, No. 331, § 1, to contain C.C. arts. 1756 to
2057, effective January 1, 1985.


Former art. 2004 of the 1870 Civil Code was redesignated as R.S. 9:2785 by Acts 1984, No. 331, § 4, effective
January 1, 1985.


Section 4 of Acts 1984, No. 331 provides:


“The Louisiana State Law Institute is hereby instructed to transfer and redesignate Civil Code Arts. 2004
through 2006 as R.S. 9:2785 through 2787, as Chapter 4 of Code Title IV of Code Book III, entitled ‘Death of a
Party’. This redesignation is neither an amendment to nor reenactment of these Articles.”


For history and text of former C.C. arts. 1756 to 2291 of the 1870 Civil Code prior to the 1984 Obligations Re-
vision, and for similar provisions in earlier Codes, see Vol. 16, LSA-C.C. (Compiled Edition).


For disposition of the subject matter of the former articles, see the Disposition Table at the beginning of this
Title.




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CROSS REFERENCES

      Assumption of responsibility by lessee, see R.S. 9:3221.
      Fault defined, see C.C. art. 3506.
      Freedom to contract for object, see C.C. arts. 1971, 1972.
      Laws for the preservation of the public interest, see C.C. art. 7.
      Liability of seller for personal act, see C.C. art. 2503.

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Contract, delict, morals, and law. Saul Litvinoff, 45 Loy.L.Rev. 1 (1999).

Contractual risk-shifting in offshore energy operations. Daniel B. Shilliday, Walter R. Mayer, John J. Michael,
and Andrew P. Slania, 81 Tul.L.Rev. 1579 (2007).

Enforceability of “no damage for delay” clauses in construction contracts. 28 Loy.L.Rev. 129 (1982).

The lessor's privilege. 3 Tul.Civ.L.F. 1 (1975).

Ramirez v. Fairgrounds Corporation: The harm in holding harmless. 52 La.L.Rev. 1061. (1992).

Stipulations as to liability and as to damages. Saul Litvinoff, 52 Tul.L.Rev. 258 (1978).

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    Contracts       114.
    Westlaw Topic No. 95.
    C.J.S. Contracts § 271.

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2010 Electronic Update

ALR Library

2006 ALR 6th 14, Validity, Construction, and Application of Contractual Waiver of Subrogation Provision.


74 ALR 3rd 187, Validity and Construction of “No Damage” Clause With Respect to Delay in Building or Con-
struction Contract.


175 ALR 8, Validity of Contractual Provision by One Other Than Carrier or Employer for Exemption from Li-
ability, or Indemnification, for Consequences of Own Negligence.


67 ALR 208, Right to and Measure of Compensation for Animals or Trees Destroyed to Prevent Spread of Dis-
ease or Infection.




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Treatises and Practice Aids

5 LA Civil Law Treatise § 4.23, Transferred Articles.


5 LA Civil Law Treatise § 16.45, Assumption of Risk and Quasi-Delict.


6 LA Civil Law Treatise § 5.1, Failure to Perform and Fault.


6 LA Civil Law Treatise § 13.1, Principle.


6 LA Civil Law Treatise § 5.28, in Search of a Conceptual Foundation.


6 LA Civil Law Treatise § 11.14, Damage to Person.


6 LA Civil Law Treatise § 11.15, Damage to Property.


6 LA Civil Law Treatise § 13.22, Intentional Fault, Gross Fault, Bad Faith, or Fraud.


6 LA Civil Law Treatise § 16.28, The Unification of Different Regimes of Liability.


12 LA Civil Law Treatise § 5:15, Illegitimates as Beneficiaries.


12 LA Civil Law Treatise § 18:29, Lessor Liability--Foreword.


18 LA Civil Law Treatise § 12.14, La.R.S. 9:3221--Shifting of Lessor's Responsibility to Lessee (Where Applic-
able).


Louisiana Divorce § 9A:19, La. Civ. C. Art. 2329. Exclusion or Modification of Matrimonial Regime.


Louisiana Real Estate Transactions § 18:4, Requirements for Valid Lease.


Louisiana Real Estate Transactions § 18:18, Title of Lessor.


Louisiana Real Estate Transactions § 18:23, Implied Rights and Obligations--Implied Obligations of Lessor-
-Lessor's Warranty Against Defects in Leased Premises.


Louisiana Real Estate Transactions § 18:24, Implied Rights and Obligations--Implied Obligations of Lessor-




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-Lessee's Assumption of Liability for Condition of Premises.


Louisiana Real Estate Transactions § 18:26, Implied Rights and Obligations--Implied Obligations of Lessor-
-Lessee's Assumption of Liability for Condition of Premises--Effect of Lessor's Intentional or Gross Fault.


Louisiana Real Estate Transactions § 9:107, Remedies for Breach of Purchase Agreement--Damages, Attorney's
Fees and Costs--Effect of Bad Faith.


NOTES OF DECISIONS

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  1. Public policy

It is contrary to public policy and in contravention of state law to allow contracting party to prospectively ab-
solve itself from liability for injuries incurred through its intentional or grossly negligent acts. Broom v. Leebron
& Robinson Rent-A-Car, Inc., App. 2 Cir.1993, 626 So.2d 1212. Contracts               114


It is against public policy for a person to stipulate for a partial immunity for the commission of a future immoral
act. Hayes v. Hayes, 1852, 8 La.Ann. 468.


  2. Construction and application

Article addressing clauses that exclude or limit liability does not nullify indemnity agreements limiting liability
of one party for causing injury to third party; article addresses only clauses excluding or limiting liability of one
party for injury to other party to contract. Bertrand v. Lala, App. 5 Cir.1992, 600 So.2d 788. Indemnity
30(1)




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Comments in this article that any clause is null that, in advance, excludes or limits liability of one party for caus-
ing physical injury to the other party were not part of the law and had no legislative effect on the article.
Ramirez v. Fair Grounds Corp., Sup.1991, 575 So.2d 811. Statutes           211


  2.5. Construction with federal law

Federal statute prohibiting any state law or regulation related to a price, route, or service of any motor carrier did
not preempt state statute prohibiting pre-accident waivers of liability, for purposes of determining validity of
pre-accident waiver of liability that lessee of tractor-trailer required passenger to sign before passenger was in-
jured in accident while riding in the tractor-trailer; state statute preserved a tort remedy for its citizens, and pas-
senger's tort claim was not directly related to price, route, or service of interstate carrier. Ryes v. Home State
County Mut., App. 3 Cir.2008, 983 So.2d 980, 2007-1266 (La.App. 3 Cir. 5/14/08), writ denied 988 So.2d 245,
2008-1213 (La. 8/12/08). Contracts          114; States         18.15


  3. Construction of clauses

That indemnity agreements are to be strictly construed does not mean that such clauses are to be disregarded, but
agreement must be given effect intended by parties. McNeal v. Wyeth-Scott, Inc., App.1982, 415 So.2d 568;
Day v. Ocean Drilling & Exploration Co., D.C.1973, 353 F.Supp. 1350.


Under Louisiana law, contracts limiting liability are generally valid and enforceable; however, any waiver of li-
ability for intentional misconduct or gross negligence is void. Houston Exploration Co. v. Halliburton Energy
Services, Inc., C.A.5 (La.)2001, 269 F.3d 528, on remand 2002 WL 1963313. Contracts           114


Schedule contained in contract clause dealing with amounts to be paid to engineering firm upon termination of
the contract by power company provided that cancellation charges should equal the costs actually incurred by
the engineering firm but that, if the costs were higher than the percentage of the contract listed in the schedule,
the percentage would place a ceiling on recovery; listing of percentages in the schedule did not entitle the engin-
eering firm to that amount. Southwestern Engineering Co. v. Cajun Elec. Power Co-op., Inc., C.A.5 (La.)1990,
915 F.2d 972. Contracts        229(1)


No inherent conflict existed between no-damages-for-delay provision of mechanical services contract and sched-
ule provided in contract for plant relocation project at issue, and therefore schedule did not take precedence over
damages provision to permit contractor to recover additional compensation from project owner and its agent
based on project delays and work disruptions. Pellerin Const., Inc. v. Witco Corp., E.D.La.2001, 169 F.Supp.2d
568. Contracts       299(2)


Provision in renovation contract requiring contractor to maintain insurance to protect property owner from third-
party claims arising out of contractor's operations was not nullified under Civil Code article that would invalid-
ate provisions excluding or limiting liability of one party to another. Myers v. Burger King Corp., App. 4
Cir.1993, 618 So.2d 1123, writ denied 629 So.2d 348. Contracts           114




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Indemnity provisions of oil well drilling contract were null to extent that they, in advance, excluded or limited
liability of contractor for intentional or gross fault that caused damage to operator. Sevarg Co., Inc. v. Energy
Drilling Co., App. 3 Cir.1991, 591 So.2d 1278, writ denied 595 So.2d 662. Indemnity            30(5)


Clauses in stall space agreement between race horse trainer and fairgrounds in which trainer, in advance, re-
leased fairgrounds from any and all liability for damages suffered by trainer were null under this article nullify-
ing clauses that, in advance, exclude or limit liability of one party for causing physical injury to the other party.
Ramirez v. Fair Grounds Corp., Sup.1991, 575 So.2d 811. Contracts             114


Limitation of liability on part of company which agreed to design, fabricate, and install system for grain unload-
ing to making of necessary repairs and furnishing of necessary parts applied to all obligations under the contract
and not merely to the hardware and machinery. FMC Corp. v. Continental Grain Co., App. 4 Cir.1977, 355
So.2d 953, application withdrawn 356 So.2d 1001. Sales         280


When there is anything doubtful in indemnity agreements, court must endeavor to ascertain what was common
intention of parties, rather than adhere to literal sense of terms. Polozola v. Garlock, Inc., Sup.1977, 343 So.2d
1000. Indemnity          31(2)


Contract of indemnity whereby indemnitee is indemnified against consequences of his own negligence is strictly
construed and such contract will not be construed to indemnify indemnitee against losses resulting to him
through his own negligent act, unless such intention was expressed in unequivocal terms. Polozola v. Garlock,
Inc., Sup.1977, 343 So.2d 1000. Indemnity         31(6)


Contract of indemnity will not be construed to indemnify indemnitee against losses resulting to him through his
own negligent acts where such intention is not expressed in unequivocal terms. Green v. TACA Intern. Airlines,
Sup.1974, 304 So.2d 357. Indemnity         31(6)


  4. Delays

Under Louisiana law, no-damages-for-delay clause in construction contract was enforceable, given absence of
evidence of bad faith, gross fault, or intentional fault by project owner and its agent, notwithstanding contract-
or's claims that owner and agent provided incomplete engineering drawings, rescheduled and resequenced work,
caused crowded work conditions, and were responsible for late equipment and material deliveries and changes in
scope of work. Pellerin Const., Inc. v. Witco Corp., E.D.La.2001, 169 F.Supp.2d 568. Contracts           299(2)


State was entitled to 15 days' worth of liquidated damages for delay in completion of state construction project,
where State claimed it was entitled to 212 days' worth of liquidated damages for delay in completing contract,
but trial court determined that contractor was entitled to delay damages for 197 days as State and/or its architects
were responsible for 197 days of delayed performance; that finding necessarily included rejection of contractor's
claim that State was responsible for any delay in excess of 197 days. Fibrebond Corp. v. Aetna Cas. & Sur. Co.,
App. 1 Cir.1991, 583 So.2d 848. Damages           78(4)




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Delay damages awarded to general contractor on state construction project were not shown to include items
which contract prohibited including in calculating cost of work, and reduction of delay damages award was ac-
cordingly not required; construction analyst testified that average daily rate for general conditions was $223.83
and that average daily general and administrative expense costs was $230.50, for combined daily rate of
$453.33, and damages of $222.83 per day were awarded. Fibrebond Corp. v. Aetna Cas. & Sur. Co., App. 1
Cir.1991, 583 So.2d 848. States       108


It is not against public policy for contracting parties to agree that, in case one of them fails to perform certain act
timely and thus delays other in performance of his obligations, the former will not be held responsible for any
damage caused by the delay. Freeman v. Department of Highways, Sup.1968, 253 La. 105, 217 So.2d 166. Con-
tracts       108(2)


  5. Drilling contract

Indemnity provision of drilling contract holding operator responsible for damage to or loss of hole without limit
and without regard to cause or negligence of any party violates statutory prohibition against excluding or limit-
ing liability of one party for intentional or gross fault that causes damage to other party or excluding or limiting
liability of one party for causing physical injury to other party; thus, the clause is null. Massey v. Decca Drilling
Co., Inc., App. 2 Cir.1994, 647 So.2d 1196, 25,973 (La.App. 2 Cir. 12/7/94), rehearing denied , writ denied 653
So.2d 563, 1995-0069 (La. 4/21/95), writ denied 653 So.2d 564, 1995-0411 (La. 4/21/95), writ denied 653 So.2d
564, 1995-0417 (La. 4/21/95). Indemnity           30(5)


  6. Implied warranties

Under Louisiana law, as predicted by Fifth Circuit, state statute that rendered null any contract clause that ex-
cludes or limits liability of one party for intentional or gross law that causes damage to other party allows limita-
tions on warranties, but renders null limitations on warranties when obligor is guilty of gross fault. Occidental
Chemical Corp. v. Elliott Turbomachinery Co., Inc., C.A.5 (La.)1996, 84 F.3d 172. Contracts             114; Con-
tracts      205.30


Allegations that subcontractor committed gross negligence in performing subcontract to rerate turbines and com-
pressors was sufficient to allege that subcontractor committed gross fault, such that warranty provision in con-
tract, that limited duration of subcontractor's liability to one year, impermissibly limited duration of warranty
that involved gross fault, and so was void. Occidental Chemical Corp. v. Elliott Turbomachinery Co., Inc.,
C.A.5 (La.)1996, 84 F.3d 172. Contracts           114


Enforcement of default judgment, entered in action for damages concerning agreement to supply and service
computer software, would be unconscionable and inequitable and, therefore, default judgment would be an-
nulled, where letter from counsel for plaintiff indicated that he would request counsel for defendants to file re-
sponsive pleadings if parties were unable to reach amicable settlement, but such notice was not given before de-
fault judgment was sought. LeBlanc v. Electronic Clinic, Inc., App. 3 Cir.1987, 509 So.2d 629. Judgment
143(17)




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Even though lessees assumed responsibility for water damage caused by vice or defect in premises by freely en-
tering into warehouse agreements which clearly and unambiguously transferred such liability, owners lessors
were not relieved of implied warranty in lessees' favor, where owners lessors knew or should have known that
storage units were defective in that they did not secure against entering of water into units resulting from rain
normally occurring in that area. Tassin v. Slidell Mini-Storage, Inc., Sup.1981, 396 So.2d 1261. Landlord And
Tenant       166(2)


  7. Negligence

Portion of contract between engineering firm and city respecting sewer improvement job, limiting firm's re-
sponsibility for general contractor's work methods, was not rendered invalid by statute prohibiting contract
clause that, in advance, excludes or limits liability of one party for causing physical injury to the other party, ab-
sent privity of contract between firm and either general contractor or its employee, who was injured in excava-
tion ditch on job, for purposes of employee's action against firm. Yocum v. City of Minden, App. 2 Cir.1995,
649 So.2d 129, 26,424 (La.App. 2 Cir. 1/25/95). Municipal Corporations            350


Negligence of security firm employee, in permitting unauthorized individual on car dealership lot and in failing
to close lot gate adequately, which resulted in theft of car, did not constitute breach of contract for security ser-
vices such that contract limitation of liability clause was inapplicable; clause provided that security firm was not
liable for losses “irrespective of origin * * * whether directly or indirectly caused by performance or nonper-
formance of obligations * * * or by negligent acts or omissions * * *,” regardless of additional provision that se-
curity firm would “do its best.”. Banner Chevrolet v. Wells Fargo Guard Services, App. 4 Cir.1987, 508 So.2d
966. Contracts         189.5


An agreement to relieve one from liability for his malperformance of a contract is in substance comparable to an
agreement to indemnify one against one's own negligence, and such an indemnity must be expressed in unequi-
vocal terms. Melancon v. Juno, App. 4 Cir.1976, 337 So.2d 652. Contracts         189.5


  8. Gross negligence

Failure of contractor, which was hired to perform drill stem testing on gas well, to verify that IPO valve installed
had been properly pinned and to disassemble the test string and recheck the work did not constitute gross negli-
gence under Louisiana law; thus, indemnity agreement which required owner to release and indemnify contract-
or for damages incurred when gas well blew out was valid and enforceable. Houston Exploration Co. v. Hal-
liburton Energy Services, Inc., C.A.5 (La.)2001, 269 F.3d 528, on remand 2002 WL 1963313. Indemnity
30(5); Mines And Minerals         121


Purchaser's failure to explicitly plead intentional acts or gross negligence did not prohibit trial court from con-
sidering whether home inspection contract's advance $1000 liability limit was unenforceable under law, as fact
pled gave company adequate notice of the potential causes of action. (Per opinion of Brown, C.J., with one
judge joining and one judge concurring.) Cameron v. Bruce, App. 2 Cir.2008, 981 So.2d 204, 42,873, 42,983
(La.App. 2 Cir. 4/23/08), writ denied 992 So.2d 940, 2008-1127 (La. 9/19/08). Damages               150




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Cumulative acts of negligence by security company in installing security system in store that subsequently
suffered undetected burglary constituted gross negligence, and thus, contractual provisions purporting to limit
company's liability did not apply, where company failed to warn store that phone lines should be encased or bur-
ied and to take adequate steps necessary to guard warning siren from interference. Sportsman Store of Lake
Charles, Inc. v. Sonitrol Sec. Systems of Calcasieu, Inc., App. 3 Cir.1998, 725 So.2d 74, 1998-851 (La.App. 3
Cir. 12/23/98), writ granted 739 So.2d 799, 1999-0201 (La. 3/26/99), reversed 748 So.2d 417, 1999-0201 (La.
10/19/99), rehearing denied. Telecommunications          1406


Trial court did not manifestly err in determining that exterminator was grossly negligent in failing to prohibit
termite infestation in apartment complex, and thus exterminator's conduct was outside exculpatory clauses of
pest control contract provision limiting exterminator's liability; exterminator failed to drill walkways as it was
obligated to do under contract, termite damage was extensive, and exterminator had annual contract to inspect
property. Tudor Chateau Creole Apartments Partnership v. D.A. Exterminating Co., Inc., App. 1 Cir.1997, 691
So.2d 1259, 1996-0951 (La.App. 1 Cir. 2/14/97). Negligence            306


  9. Advertisements

Limitation clause contained in contract for advertisement listing in telephone directory was binding on parties
and while it may have seemed unfair, it was certainly unambiguous. Louisiana Shoes, Inc. v. South Cent. Bell
Telephone Co., App. 5 Cir.1984, 445 So.2d 1304. Telecommunications             914(2)


Contractual clause, which limited telephone utility's liability, in regard to error in or admission from advertise-
ment in yellow pages, to the amount of the charges for advertising, was not contrary to the law or public morals
so as to be unenforceable. Roll-Up Shutters, Inc. v. South Central Bell Tel. Co., App. 4 Cir.1981, 394 So.2d 796,
writ denied 399 So.2d 599. Telecommunications            914(2)


  10. Insurance

An indemnity agreement between drilling contractor and subcontractor requiring subcontractor to indemnify
contractor against all risks of harm to subcontractor's employees while on platform on Outer Continental Shelf,
when read as a whole, reflected parties' intention to require subcontractor to protect contractor against all risks
of harm to subcontractor's employee who was injured while on the platform, not merely by assuming such risk
itself, but by carrying insurance to cover it. Day v. Ocean Drilling & Exploration Co., E.D.La.1973, 353 F.Supp.
1350. Indemnity          33(5)


Automobile liability policy was not ambiguous as to preclusion of stacking of medical payments coverages un-
der “limit of liability” and “other insurance” provisions so as to require application of rule providing for ambi-
guity in insurance contract to be resolved in favor of insured, notwithstanding provision for terms of policy to
apply separately to each automobile when two or more automobiles were insured thereunder; provision concern-
ing “two or more automobiles” in effect created as many policies as there were vehicles insured under policy,
with result that “other insurance” provision came into effect. Jones v. Allstate Ins. Co., App. 3 Cir.1983, 429
So.2d 241. Insurance         2840




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An insurer may limit its liability and, in the absence of ambiguity or conflict with statute or public policy, such
limitation must be given effect. Hill v. Liberty Mut. Ins. Co., App. 4 Cir.1978, 357 So.2d 61, writ denied 359
So.2d 196. Insurance        2098


  11. Leases

Statute prohibiting contract provisions that waived, in advance, a parties' claim for damages stemming from
gross negligence or intentional bad acts did not apply to waiver of subrogation in commercial lease and, thus,
did not preclude application of the waiver to tenant's property insurer's subrogation claims against landlord; the
statute did not apply to agreements that allocated the risk of injury to third parties, and insurer was not a party to
the lease agreement. Lifecare Hospitals of New Orleans, L.L.C. v. Lifemark Hospitals of Louisiana, Inc., App. 5
Cir.2008, 984 So.2d 894, 07-914 (La.App. 5 Cir. 4/15/08). Landlord And Tenant               29(1)


Provision of lease that lessor will not be liable to lessee for any damage to person or property caused by any act,
omission or neglect of lessee or any other tenant of demised premises was null and void insofar as provision, in
advance, excluded liability for physical injury. Verret v. Tonti Management Corp., App. 5 Cir.1995, 662 So.2d
480, 95-158 (La.App. 5 Cir. 6/28/95), rehearing denied , writ denied 667 So.2d 1054, 1995-3030 (La. 2/16/96).
Landlord And Tenant          164(1); Landlord And Tenant           166(.5)


Article nullifying clauses that exclude or limit liability did not invalidate lease provisions exempting landlord
from liability for damages resulting from condition of leased premises and did not negate effect of statute reliev-
ing landlord of liability for injury caused by unknown defect. Guillory v. Foster, App. 3 Cir.1994, 634 So.2d
1372, 1993-996 (La.App. 3 Cir. 3/2/94). Contracts           138(4)


Clause in lease which released landlord from any liability for any damage to person caused by act, omission, or
neglect of lessee or any other tenant was null and unenforceable under statute nullifying clauses that, in advance,
exclude or limit liability of one party for causing physical injury to other party. Boteler v. Lake Management,
Inc., App. 5 Cir.1993, 628 So.2d 86. Release         20


Genuine issue of material fact existed as to whether automobile rental agency's refusal, under nonliability provi-
sion of rental agreement, to replace tires and wheels that had been stolen from rental vehicle constituted inten-
tional or gross fault so as to make agency liable to renter for breach of contract. Broom v. Leebron & Robinson
Rent-A-Car, Inc., App. 2 Cir.1993, 626 So.2d 1212. Judgment            181(19)


A provision in lease relieving landlord from responsibility to third persons for injuries from defects in leased
premises, was effective to relieve landlord from such responsibility, even though Acts 1932, No. 174 permitting
enforcement of such provision was not enacted until after expiration of lease, since the act was applicable to
contracts executed prior to passage of the act. Terrenova v. Feldner, 1946, 28 So.2d 287. Landlord And Tenant
     165(1)


Stipulation in lease relieving lessor of responsibility for damages by defect of leased property was lawful. Pe-
cararo v. Grover, 1927, 5 La.App. 676.




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  12. Theaters

Where proprietor of theater did not show that theater ticket purchaser was aware of limitations printed in very
small type on ticket stating that management reserved right to refuse admission on ticket by refunding purchase
price, the limitation did not foreclose the purchaser's right to recover damages for breach of contract including
damages for humiliation and embarrassment where he was ejected from theater on sole ground that he was a
cripple. Vogel v. Saenger Theatres, Sup.1945, 207 La. 835, 22 So.2d 189. Damages            57.49; Public Amuse-
ment And Entertainment           67


  13. Transportation

In the absence of any express and unequivocal stipulation that defendant mover would not be liable for his own
malperformance in moving plaintiff's house trailer, defendant could not be relieved from responsibility for dam-
ages on claim that plaintiff had agreed that he would not be responsible for any damages. Melancon v. Juno,
App. 4 Cir.1976, 337 So.2d 652. Carriers         151.1


  14. Warehousemen and warehouse receipts

Storage company which allowed third party, unauthorized by lessee, to enter lessee's storage unit and remove
her possessions was liable to lessee, despite nonliability-for-theft provision of lease. Walker v. Self Service
Storage and Miniwarehouses, Inc., App. 4 Cir.1986, 492 So.2d 210, annulled 519 So.2d 771. Warehousemen
     24(7)


Defendant's furnishing of warehouse receipt containing customary exclusionary and limitation of liability
clauses to plaintiff more than ten days after carpet had been accepted by defendant for storage did not make such
clauses part of the contract of deposit and was not effective to limit defendant's liability to plaintiff for moth
damage to stored rug. Olson v. Security Van Lines, Inc., App. 4 Cir.1974, 297 So.2d 674. Warehousemen
14


  15. Future rights

Compromise or contractual clause is not null when it excludes or limits liability in advance except when party to
contract relinquishes future rights of action arising from his physical injury or from intentional or gross fault of
another party. Daigle v. Clemco Industries, Sup.1993, 613 So.2d 619. Compromise And Settlement                7.1


Compromise or settlement contract executed, prior to tort victim's death, by enumerated statutory beneficiaries
with respect to their potential wrongful death claims did not violate law prohibiting tort victim from relinquish-
ing by contract in advance his right to recover for damage caused by fault of another as contract did not fall into
two specified types of contracts prohibited; beneficiaries did not sustain physical injury and defendants were not
alleged to have been intentionally or grossly at fault. Daigle v. Clemco Industries, Sup.1993, 613 So.2d 619.
Contracts       114


  16. Peremption




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The one-year peremption period for filing action to annul judgment on grounds of fraud or ill practices began to
run when husband knew or should have known that wife was living with and being supported by another man in
Arizona, rather than date husband and wife's matrimonial agreement was approved and made the trial court's
judgment, on husband's rule to terminate his obligation to pay spousal support. Greenland v. Greenland, App. 1
Cir.2009, 29 So.3d 647, 2008-2568 (La.App. 1 Cir. 12/9/09), writ denied 28 So.3d 1011, 2010-0004 (La. 3/5/10)
. Divorce      610


The one-year limitation to file an action to annul is a period of peremption, and the burden of proof to show that
a nullity action was brought within one year of the discovery of the fraud or ill practice is on the proponent of
the nullity action. Greenland v. Greenland, App. 1 Cir.2009, 29 So.3d 647, 2008-2568 (La.App. 1 Cir. 12/9/09),
writ denied 28 So.3d 1011, 2010-0004 (La. 3/5/10). Judgment           456(1)


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                                                           gross negligence; (4) District Court improperly cal-
                                                           culated loss of use time of the vessel since it failed
         United States Court of Appeals,                   to apply percentage of operation time for period in-
                  Fifth Circuit.                           volved; (5) owners were entitled to attorney fees
TODD SHIPYARDS CORPORATION, Plaintiff-                     and prejudgment interest; (6) subcontractors' in-
            Appellee Cross Appellant,                      surers were not excluded from liability for damage
                        v.                                 to the entire ship or damages attributable to ship's
TURBINE SERVICE, INC., et al., and the Travel-             “down time”; and (7) defendants were not liable for
 ers Insurance Company, Defendants-Appellees               damage suffered by the ship in a second casualty.
                Cross Appellants,
Sentry Insurance Company, et al., Defendants-Ap-                Affirmed in part, modified in part, reversed in
            pellants Cross Appellees,                      part, and remanded.
 Auto Transportation, S.A., Intervenor-Appellee
                Cross Appellant.                                              West Headnotes
TURBINE SERVICE, INC. and the Travelers In-
                                                           [1] Admiralty 16        118.7(5)
        surance Co., Plaintiffs-Appellants,
                        v.                                 16 Admiralty
 The Vessel, S/S KATRIN, Defendant-Appellee,                  16XII Appeal
 Auto Transportation, S.A., Intervenor-Appellee                  16k118 Review
                Cross Appellant.                                     16k118.7 Findings of Court
                                                                            16k118.7(5) k. Clearly Erroneous
                    No. 79-1685.
                                                           Findings. Most Cited Cases
                   April 29, 1982.
                                                               Findings of fact made in an admiralty case are
     Shipyard which had agreed to perform repairs          binding unless clearly erroneous, and questions
on vessel's turbine brought action against subcon-         concerning amount of damages, existence of negli-
tractor and subsubcontractor demanding return of           gence and proximate causation are treated as factual
damaged parts. Subcontractors asserted a lien for          issues that are thus subject to clearly erroneous
money due from shipyard. Vessel owner inter-               standard.
vened. The United States District Court for the Dis-
                                                           [2] Shipping 354       76
trict of Louisiana, Fred J. Cassibry, J., entered judg-
ment for owner, held that shipyard was entitled to         354 Shipping
indemnity from subcontractors, and held that no ex-               354V Rights and Liabilities of Vessels and
clusion of insurance policies covering subcontract-        Owners in General
ors relieved their insurers from liability for dam-                354k76 k. Supplies, Repairs, and Advances.
ages caused by subcontractors, 467 F.Supp. 1257.           Most Cited Cases
All parties, except insolvent subcontractor, ap-                In action in which shipowner sought to recover
pealed. The Court of Appeals, Dyer, Circuit Judge,         damages to its ship's turbines allegedly caused by
held that: (1) shipyard and subcontractors were li-        negligence of shipyard, shipyard's subcontractor,
able to owner in damages for improper repair of            and subsubcontractor, trial court did not err in fail-
turbine rotor; (2) subcontractors were required to         ing to exonerate subcontractor due to the parties' al-
indemnify shipyard, but first subcontractor was not        leged mutual mistake of fact as to prerepair condi-
entitled to indemnity from subsubcontractor; (3)           tion of the turbine; existence of a defect extraneous
District Court erred in finding shipyard guilty of         to contract between subcontractor and owner was




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wholly irrelevant.                                         subcontractor is not liable for his faults.

[3] Shipping 354      76                                   [6] Shipping 354        76

354 Shipping                                               354 Shipping
       354V Rights and Liabilities of Vessels and                354V Rights and Liabilities of Vessels and
Owners in General                                          Owners in General
        354k76 k. Supplies, Repairs, and Advances.                 354k76 k. Supplies, Repairs, and Advances.
Most Cited Cases                                           Most Cited Cases
     In action in which shipowner sought to recover            In action in which shipowner sought to recover
damages to its ship's turbines allegedly caused by         damages to its ship's turbines allegedly caused by
negligence of shipyard, shipyard's subcontractor,          negligence of shipyard, shipyard's subcontractor,
and subsubcontractor, district court's finding that        and subsubcontractor, trial court's determination of
owners were not contributorily negligent due to            shipyard's standard of care was proper and its find-
their failure to look for or discover design changes       ings that shipyard was negligent and that such neg-
that caused the damage was not clearly erroneous;          ligence was proximate cause of owner's damages
record supported finding that owner's representat-         was not clearly erroneous.
ives were led to believe that the repair had been
made in a workmanlike manner.                              [7] Contracts 95        114

[4] Shipping 354      76                                   95 Contracts
                                                              95I Requisites and Validity
354 Shipping                                                        95I(F) Legality of Object and of Considera-
       354V Rights and Liabilities of Vessels and          tion
Owners in General                                                         95k114 k. Exemption from Liability.
         354k76 k. Supplies, Repairs, and Advances.        Most Cited Cases
Most Cited Cases                                                “Red letter” clause between shipowner and
     In action in which shipowner sought to recover        shipyard limiting shipyard's liability for negligence
damages to its ship's turbines allegedly caused by         or breach of contract was valid in light of the
negligence of shipyard, shipyard's subcontractor,          parties' approximately equal bargaining power.
and subsubcontractor, finding that welding subcon-
tractor, which knew of likelihood that welds would         [8] Shipping 354        76
not hold up under pressure in turbine engine, was
                                                           354 Shipping
responsible for weld failure was not clear error.
                                                                  354V Rights and Liabilities of Vessels and
[5] Labor and Employment 231H           3125               Owners in General
                                                                   354k76 k. Supplies, Repairs, and Advances.
231H Labor and Employment                                  Most Cited Cases
     231HXVIII Rights and Liabilities as to Third               In action in which shipowner sought to recover
Parties                                                    damages to its ship's turbines allegedly caused by
        231HXVIII(C) Work of Independent Con-              negligence of shipyard, shipyard's subcontractor,
tractor                                                    and subsubcontractor, district court's conclusion
             231Hk3125 k. In General. Most Cited           that shipyard was guilty of gross negligence was er-
Cases                                                      roneous in that record indicated that shipyard was
   (Formerly 255k316(1) Master and Servant)                not guilty of inflicting an intentional tort or that
     A contractor who has employed a competent             owner's damages were caused by a wanton disreg-




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ard of shipyard's responsibility under the repair                     82k126 k. Nature and Grounds in General,
contract or duty owed by it to owner.                       and What Law Governs. Most Cited Cases
                                                                Tort, rather than contract, measure of damages
[9] Contracts 95         189.5                              is applied in classic cases where two parties un-
                                                            known to each other come into contact and one
95 Contracts
                                                            comes away damaged, such as collision cases and
    95II Construction and Operation
                                                            other maritime torts.
        95II(C) Subject-Matter
            95k189.5 k. Exculpatory Contracts. Most         [12] Shipping 354        76
Cited Cases
    (Formerly 95k189)                                       354 Shipping
     In action in which shipowner sought to recover                354V Rights and Liabilities of Vessels and
damages to its ship's turbines allegedly caused by          Owners in General
negligence of shipyard, shipyard's subcontractor,                    354k76 k. Supplies, Repairs, and Advances.
and subsubcontractor, district court did not err in         Most Cited Cases
failing to find that “sole negligence” exemption in              Shipyard's breach of its contract to repair ves-
liability limitation clause was applicable to release       sel's turbine engine permitted adoption of contract
shipyard of liability for the work even though the          rather than tort measure of damages, and thus
work was subcontracted by shipyard and resulted in          shipowners were entitled to have the turbine in con-
a finding of joint and several liability.                   dition contracted for, and to recover as well for loss
                                                            of use of the vessel, out-of-pocket expenses, and, in
[10] Admiralty 16         14                                view of breach of warranties of workmanlike per-
                                                            formance, costs and attorney fees.
16 Admiralty
   16I Jurisdiction                                         [13] Shipping 354        76
      16k9 Contracts
              16k14 k. Repairs and Supplies. Most           354 Shipping
Cited Cases                                                       354V Rights and Liabilities of Vessels and
                                                            Owners in General
Admiralty 16        19                                              354k76 k. Supplies, Repairs, and Advances.
                                                            Most Cited Cases
16 Admiralty
                                                                 Mere fact that shipowner, after ship's turbine
   16I Jurisdiction
                                                            was negligently repaired by shipyard and subcon-
      16k17 Torts
                                                            tractors, had additional work done on the turbine
              16k19 k. Injuries to Vessels or Other
                                                            between its removal from the ship and reinstallation
Property. Most Cited Cases
                                                            did not mean that shipyard and subcontractors
    A shipowner has a maritime cause of action
                                                            should have been relieved of shipping and reinstall-
whether he sues in contract for its breach by a per-
                                                            ation costs.
son with whom there was a contract for repairs of
the vessel, or in tort for negligent performance of         [14] Shipping 354        76
the maritime contract.
                                                            354 Shipping
[11] Collision 82        126                                     354V Rights and Liabilities of Vessels and
                                                            Owners in General
82 Collision
                                                                   354k76 k. Supplies, Repairs, and Advances.
   82XII Suits for Damages
                                                            Most Cited Cases
      82XII(E) Damages




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     In action in which shipowner sought to recover             354V Rights and Liabilities of Vessels and
damages to its ship's turbines allegedly caused by        Owners in General
negligence of shipyard, shipyard's subcontractor,                 354k76 k. Supplies, Repairs, and Advances.
and subsubcontractor, district court did not err in       Most Cited Cases
awarding owner expenses of approximately                      In action in which shipowner sought to recover
$100,000 for reinstallation of turbine which had          damages to its ship's turbines allegedly caused by
been removed to facilitate correction of defendants'      negligence of shipyard, shipyard's subcontractor,
negligent repair even though shipyard had offered         and subsubcontractor, district court's finding of a
to reinstall the turbine for $29,000 where manner in      net profit loss per day of $3,000 was not clearly er-
which shipowner had handled the initial repairs did       roneous.
not inspire confidence and, at that precise time, the
parties were already engaged in litigation.               [18] Shipping 354       76

[15] Shipping 354       76                                354 Shipping
                                                                354V Rights and Liabilities of Vessels and
354 Shipping                                              Owners in General
      354V Rights and Liabilities of Vessels and                  354k76 k. Supplies, Repairs, and Advances.
Owners in General                                         Most Cited Cases
       354k76 k. Supplies, Repairs, and Advances.             Shipowner's recoverable damages for negli-
Most Cited Cases                                          gence of shipyard and its subcontractors in repair-
    For purposes of determining damages to be             ing a turbine were not limited to value of the vessel
awarded to shipowner for loss of use of ship due to       in her damaged condition because a contractual
shipyard's negligent repair of turbine, proper test       rather than tort measure of damages was applicable.
was amount of time it would have reasonably taken
to put the ship in condition for which owner had          [19] Damages 115        71
bargained.
                                                          115 Damages
[16] Shipping 354       76                                    115III Grounds and Subjects of Compensatory
                                                          Damages
354 Shipping                                                    115III(D) Expenses of Litigation
       354V Rights and Liabilities of Vessels and                      115k70 Attorney Fees, Costs, and Ex-
Owners in General                                         penses of Litigation
        354k76 k. Supplies, Repairs, and Advances.                        115k71 k. Elements of Damages in
Most Cited Cases                                          General. Most Cited Cases
     In action in which shipowner sought to recover           Foreseeable damages recoverable for breach of
damages to its ship's turbines allegedly caused by        warranty of workmanlike performance include reas-
negligence of shipyard, shipyard's subcontractor,         onable attorney fees and litigation expenses.
and subcontractor's welding subcontractor, district
court, in determining damages for loss of use time,       [20] Interest 219      39(2.6)
erred in not applying percentage of time that the
                                                          219 Interest
vessel was operational prior to defendants' attemp-
                                                             219III Time and Computation
ted repair.
                                                                  219k39 Time from Which Interest Runs in
[17] Shipping 354       76                                General
                                                                    219k39(2.5) Prejudgment Interest in Gen-
354 Shipping                                              eral




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             219k39(2.6) k. In General. Most Cited         eration from welder for release obtained from sub-
Cases                                                      contractor at welder's insistance.
   (Formerly 219k39(2.5), 219k39(2))
    Award of prejudgment interest is the rule rather       [24] Indemnity 208        69
than the exception.
                                                           208 Indemnity
[21] Interest 219      39(2.25)                                208III Indemnification by Operation of Law
                                                                  208k63 Particular Cases and Issues
219 Interest                                                            208k69 k. Maritime Cases. Most Cited
   219III Time and Computation                             Cases
         219k39 Time from Which Interest Runs in               (Formerly 208k13.2(7))
General                                                         Fact that there was no contract between weld-
           219k39(2.5) Prejudgment Interest in Gen-        ing subsubcontractor and shipyard did not preclude
eral                                                       warranty of workmanlike performance owed to
               219k39(2.25) k. Admiralty and Mari-         shipyard, and thus shipyard was entitled to indem-
time Matters. Most Cited Cases                             nity from welding subsubcontractor for negligence
   (Formerly 219k39(2))                                    arising from repair of ship's turbine.
     No peculiar circumstances would permit exer-
cise of discretion not to award prejudgment interest       [25] Indemnity 208        67
to shipowner which obtained judgment in negli-
                                                           208 Indemnity
gence action against shipyard and subcontractors.
                                                               208III Indemnification by Operation of Law
[22] Indemnity 208        69                                      208k63 Particular Cases and Issues
                                                                      208k67 k. Contractors, Subcontractors, or
208 Indemnity                                              Owners. Most Cited Cases
   208III Indemnification by Operation of Law                  (Formerly 208k13.2(6))
       208k63 Particular Cases and Issues                       Privity of a contract is not essential for indem-
             208k69 k. Maritime Cases. Most Cited          nity for breach of implied warranties of workman-
Cases                                                      like performance since such warranties may extend
   (Formerly 208k13.2(7))                                  to parties who are not in direct contractual relation-
     Shipyard's negligence vis-a-vis shipowner re-         ship.
garding repair of ship's turbine did not bar its right
to indemnity from subcontractor due to subcon-             [26] Indemnity 208        76
tractor's breach of implied warranty of diligent and
                                                           208 Indemnity
workmanlike performance.
                                                               208III Indemnification by Operation of Law
[23] Indemnity 208        111                                     208k73 Scope and Extent of Liability
                                                                          208k76 k. Attorney Fees. Most Cited
208 Indemnity                                              Cases
    208VI Rights and Remedies of Indemnitor                    (Formerly 208k13.3)
       208k111 k. Discharge. Most Cited Cases                   In action in which shipowner sought to recover
    (Formerly 208k12)                                      damages to its ship's turbines allegedly caused by
     Subcontractor, which agreed with shipyard to          negligence of shipyard, shipyard's subcontractor,
repair ship's turbine, was not entitled to indemnity       and subsubcontractor, district court properly de-
for negligence from welder subsubcontractor to as-         clined to award attorney fees to shipyard as part of
sist in the repair where there was adequate consid-        indemnity award to it by subcontractors where the




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indemnity award was, for the most part, based upon        meet level of performance warranted by subcon-
evidence not produced by shipyard but, rather, by         tractors did not relieve insurers of liability for own-
owner's attorneys' perseverance and where shipyard        er's loss of the use of ship which sustained physical
not only defended against liability, but teamed up        injury to its turbine as result of failure of insured
with subcontractors to attack almost every item of        subcontractors' work product to meet level of per-
damage sought to be proven by owner.                      formance impliedly warranted by subcontractors;
                                                          alternatively, if the ship herself could not fairly
[27] Insurance 217       2278(29)                         have been considered the “property” injured during
                                                          the casualty, the case would have fallen within the
217 Insurance
                                                          policies' exception to the exclusion regarding loss
   217XVII Coverage--Liability Insurance
                                                          of use of “other tangible property” resulting from
       217XVII(A) In General
                                                          sudden and accidental physical injury of subcon-
          217k2273 Risks and Losses
                                                          tractors' products or work performed.
              217k2278 Common Exclusions
                 217k2278(25) Property of Insured         [29] Insurance 217        2278(24)
                    217k2278(29) k. Personal Prop-
erty in Care, Custody or Control. Most Cited Cases        217 Insurance
   (Formerly 217k435.24(7))                                  217XVII Coverage--Liability Insurance
     Insurance policies issued to subcontractors ex-             217XVII(A) In General
cluding coverage for “property damage to * * *                       217k2273 Risks and Losses
property in the care, custody or control of the in-                     217k2278 Common Exclusions
sured or as to which the insured is for any purpose                          217k2278(20) Products and Com-
exercising physical control” did not apply under          pleted Operations Hazards
Louisiana law where the occurrence causing dam-                                   217k2278(24) k. Product Re-
age occurred after insured subcontractors relin-          calls; Sistership. Most Cited Cases
quished custody or control of the components upon            (Formerly 217k435.24(7))
which they performed their services.                           Damages claimed by shipowner due to failure
                                                          of turbine after its purported repair by turbine and
[28] Insurance 217       2278(21)                         welding subcontractors did not fall within “sister
                                                          ship” exclusion since the damages were caused by
217 Insurance
                                                          very product whose failure to perform properly
   217XVII Coverage--Liability Insurance
                                                          aroused apprehension about quality of “sister”
      217XVII(A) In General
                                                          products and since no “sister” products were in-
          217k2273 Risks and Losses
                                                          volved.
             217k2278 Common Exclusions
                  217k2278(20) Products and Com-          [30] Insurance 217        2278(21)
pleted Operations Hazards
                       217k2278(21) k. In General.        217 Insurance
Most Cited Cases                                             217XVII Coverage--Liability Insurance
         (Formerly 217k2278(23), 217k2278(22),                  217XVII(A) In General
217k435.24(4), 217k435.24(2.1), 217k435.24(7),                     217k2273 Risks and Losses
217k435.24(2), 217k435.2)                                             217k2278 Common Exclusions
     Exclusion provision of policies covering tur-                         217k2278(20) Products and Com-
bine and welding subcontractors excluding cover-          pleted Operations Hazards
age for loss of use of tangible property resulting                              217k2278(21) k. In General.
from failure of subcontractors' products or work to       Most Cited Cases




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    (Formerly 217k2278(22), 217k435.24(4))                [33] Insurance 217       2278(21)
     Exclusion under insurance policies issued to
turbine and welding subcontractors excluding cov-         217 Insurance
erage for “property damage to the named insured's             217XVII Coverage--Liability Insurance
products arising out of such products or any part of             217XVII(A) In General
such products” was inapplicable to exclude cover-                   217k2273 Risks and Losses
age for damages sustained by shipowner due to sub-                     217k2278 Common Exclusions
contractors' improper repair of turbine since sub-                          217k2278(20) Products and Com-
contractors did not manufacture, sell or distribute       pleted Operations Hazards
the turbine and thus the turbine was not the “named                               217k2278(21) k. In General.
insured's product” and since the engine repairs con-      Most Cited Cases
stituted a service rather than a product.                         (Formerly 217k2278(22), 217k435.24(2.1),
                                                          217k435.24(2))
[31] Insurance 217       2278(21)                              Under Louisiana law, exclusion contained in
                                                          turbine and welding subcontractors' policies ex-
217 Insurance                                             cluding coverage for “property damage to work
    217XVII Coverage--Liability Insurance                 performed by or on behalf of the named insured
        217XVII(A) In General                             arising out of the work or any portion thereof, or
           217k2273 Risks and Losses                      out of the materials, parts or equipment furnished in
               217k2278 Common Exclusions                 connection therewith” was applicable regarding
                    217k2278(20) Products and Com-        shipowner's damages arising from turbine negli-
pleted Operations Hazards                                 gently repaired by subcontractors; the exclusion
                          217k2278(21) k. In General.     carved out of policy damage to particular work per-
Most Cited Cases                                          formed by subcontractors but not overall damage
    (Formerly 217k2278(22), 217k435.24(4))                thatincorporation of the defective work product
     Under Louisiana law, an insurance exclusion          caused to the entire entity, eliminated coverage for
relating to an insured's “products” does not exclude      cost of repairing or replacing any component of
liability for losses arising from insured's services.     subcontractors' work product that required such re-
                                                          pair or replacement as result of their negligence
[32] Insurance 217       2278(21)
                                                          whether or not such components were themselves
217 Insurance                                             defective, but did not exclude economic losses
   217XVII Coverage--Liability Insurance                  caused by subcontractors' faulty workmanship.
      217XVII(A) In General
                                                          [34] Shipping 354       76
         217k2273 Risks and Losses
            217k2278 Common Exclusions                    354 Shipping
                 217k2278(20) Products and Com-                  354V Rights and Liabilities of Vessels and
pleted Operations Hazards                                 Owners in General
                       217k2278(21) k. In General.                354k76 k. Supplies, Repairs, and Advances.
Most Cited Cases                                          Most Cited Cases
   (Formerly 217k2278(22), 217k435.24(4))                      In action in which shipowner sought to recover
     Mere fact that a repairer supplies or replaces       damages to its ship's turbines allegedly caused by
needed parts in course of making repairs does not         negligence of shipyard, shipyard's turbine subcon-
render an exclusion relating to an insured's              tractor, and subsubcontractor, district court's find-
“products” applicable.                                    ing that no defendant caused excessive tip clear-
                                                          ances in one turbine which resulted in damages




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suffered in a second casualty was not clearly erro-        roneous, the parties challenge many of the district
neous.                                                     courts 181 findings of fact and virtually all of the
                                                           courts conclusions of law.[FN1]
*405 Hulse, Nelson & Wanek, John I. Hulse, IV,
New Orleans, La., for Sentry Ins. Co.                               FN1. The trial of this blockbuster maritime
                                                                    action began on November 14, 1977 and
Phelps, Dunbar, Marks, Claverie & Sims, James B.                    ended May 23, 1978. There were 67 days
Kemp, Jr., New Orleans, La., Richard A. Hagen,                      of trial, 28 witnesses, over 7,000 pages of
New York City, for Todd Shipyards.                                  depositions and more than 600 exhibits
                                                                    offered. The record on appeal is contained
Fred E. Salley, New Orleans, La., for Turbine Ser-
                                                                    in 83 volumes.
vice and Travelers Ins.
                                                                We affirm the judgment in favor of the defend-
Donald F. Mooney, New York City, Francois Al-
                                                           ants with respect to the Cork casualty. We affirm
lain, New Orleans, La., for Auto Transp., S.A.
                                                           the judgment in favor of Auto Transportation and
Deutsch, Kerrigan & Stiles, Allen F. Campbell,             against all defendants with respect to liability. We
New Orleans, La., for Gonzales.                            modify the judgment with respect to damages. We
                                                           reverse the judgment holding inapplicable one of
                                                           the exclusions in the policies of Travelers and Sen-
Appeals from the United States District Court for          try.
the Eastern District of Louisiana.
                                                                [1] At the outset it bears noting once again that
Before DYER [FN*], SAM D. JOHNSON and                      findings of fact made in an admiralty case are bind-
WILLIAMS, Circuit Judges.                                  ing unless clearly erroneous. Fisher v. Agios Nic-
                                                           olaos V, 628 F.2d 308 (5th Cir. 1980). And ques-
         FN* Circuit Judge of the Eleventh Circuit,        tions concerning the amount of damages, the exist-
         sitting by designation.                           ence of negligence and proximate causation are
                                                           treated as factual issues and are thus subject to the
                                                           clearly erroneous standard.       General Intermodal
DYER, Circuit Judge:                                       Logistics Corp. v. Mainstream Shipyards and Sup-
     In this appeal we review the judgment of the          ply, Inc., 666 F.2d 129, 131 (5th Cir. 1982); Pluyer
district court holding Todd Shipyards Corporation          v. Mitsui O.S.K. Lines, Ltd., 664 F.2d 1243, 1247
liable to Auto Transportation, S.A., for damage to         n.4 (5th Cir. 1982); Florida East Coast Railway
its vessel S/S KATRIN and for detention in the             Company v. Revilo Corp., 637 F.2d 1060, 1067
amount of $963,523.20, and granting Todd                   (5th Cir. 1981); Noritake Co., Inc. v. M/V Hellenic
Shipyards Corporation indemnity from Turbine               Champion, 627 F.2d 724, 728 (5th Cir. 1980).
Service, Inc. and Gonzales Manufacturing and In-
dustrial Machine Works, Inc. and their respective              *406 The KATRIN was purchased by Auto
underwriters, The Travelers Insurance Company              Transportation, S.A. (Owners) early in 1973. In
and Sentry Insurance Company. The judgment ex-             1975 a contract was entered into between Todd
onerated the defendants from any liability resulting       Shipyards Corporation (Todd) and Owners for the
from the failure of the ships turbines which oc-           performance of bulkhead and boiler repairs, and to
curred off the coast of Cork, Ireland. No party is         open the turbines for examination. The contract
satisfied and all parties, except the insolvent Tur-       contained Todd's “red letter” terms and conditions.
bine Service, Inc. appeal. Except for Todd who             The boiler and bulkhead repairs were accomplished
concedes that the findings of fact are not clearly er-     without incident and have no bearing on this litiga-




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tion.                                                      placement blades were shorter than the originals.

     The low pressure (LP) turbine was opened up                Turbine Service did not know the components
by employees of Turbine Service, a subcontractor           of the metal of the old roots and the new airfoil.
with whom Todd had dealt on prior occasions. It            Gonzales assumed that the metals were dissimilar
was found badly damaged and an agreement was               and although the manufacturer's manual recommen-
subsequently made by Todd and Owners to effect             ded a 309 rod, Gonzales used a 308 rod because
permanent repairs to the LP turbine. These repairs         there were no 309 rods in stock. It was later dis-
consisted, in part, of removing four rows of the LP        covered that the blades and roots were 410 which
turbine for a complete renewal. Necessary blading          requires pre-heating, post-heating and stress reliev-
was to be manufactured. The remaining turbine              ing, but Gonzales had no facilities to do such test-
blading was to be faired, dressed and renewed. Oth-        ing.
er blading in the LP rotor and stator (stationary part
of the turbine) were to be removed, faired and rein-           Turbine Service informed Gonzales that it
stalled in good order. Because Todd's labor force          would have tests run on the blades and obtain ap-
was occupied and its shops were crowded, Todd en-          proval from Todd and Owners. Turbine Service
gaged Turbine Service to perform the necessary             never had the blades tested, and when it submitted a
work.                                                      work list to Owners, it referred to “new blades
                                                           manufactured” and failed to disclose the modifica-
     There were insufficient spare blades aboard the       tions of the blades by welding to either Todd or
vessel to supply the necessary replacements and            Owners.
Todd was unable to locate such blades. Turbine
Service obtained replacement blades that were not              Gonzales machined and welded the fabricated
compatible with the turbine and had to be modified         blades in four rows of the rotor, manufactured
for insertion in the turbine by milling off the blade      spacer rings according to measurements given to it
roots and welding the old roots to the new blades.         by Turbine Service, and installed those rings. It bal-
The welding work was performed by Gonzales                 anced both the HP and LP rotors on its balancing
without the knowledge of Todd or the Owners un-            equipment. On completion of this work, Gonzales
der a subcontract from Turbine Service in violation        obtained a release from liability from Turbine Ser-
of the terms of the Todd purchase order.                   vice.

     Turbine Service directed Gonzales not to apply             After reinstallation, the turbine was closed up
weld material to either the airfoil or the blade roots,    in the vessel by Turbine Service, but with some dif-
as this would entail a considerable amount of ma-          ficulty because of a pre-existing distortion of the
chining to return the blades to their original design.     casing. The KATRIN satisfactorily passed a dock
A penetration weld was rejected by Turbine Service         trial but on the river trial noises were heard inside
because of the time and cost involved, so a fillet         the turbine. Upon return to Todd's shipyard, the LP
weld was made on two sides of the rectangular              turbine was opened and it was discovered that there
shaped section where the airfoil base joined the old       was a failure of the welds in two rotor blades, and
root, and a fusion patch (or edge weld) was made           the broken blades caused all the ensuing damage.
on the other two sides where the leading and trail-
                                                                *407 Owners elected to ship the LP turbine to
ing edges of the blade met the top of the root.
                                                           its original manufacturer, Siemens, A.G. in Ger-
Spacer rings were manufactured by Gonzales and
                                                           many (Siemens) for rebuilding. Eight months later
installed in the turbine casing by Turbine Service
                                                           the LP turbine was returned to New Orleans and re-
and Gonzales to reduce the clearance between the
                                                           installed by Ardell Engineering. On examination of
modified rotor blades and the casing because the re-




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the HP turbine, which had remained in place in                  (2) Todd sought to recover from Owners its un-
New Orleans, it was disclosed that the gap between         paid repair invoices, and sought indemnity from
the tips of the rotor blades and the outer casing of       Turbine Service/Travelers and Gonzales/Sentry in
the turbine (referred to as “clearances”), were ex-        the event that Todd was found liable to Owners.
cessive. Despite this discovery, Owners decided to
let the vessel sail from New Orleans in March of               (3) Turbine Service/Travelers sought indemnity
1976.                                                      from Gonzales/Sentry for negligent workmanship
                                                           by Gonzales and sought to recover from Todd and
    The KATRIN traded commercially for the next            Owners unpaid repair invoices.
four months, experiencing excessive temperature in
the condensor top. In July, 1976, passing the Irish            (4) Gonzales/Sentry sought to recover unpaid
coast at Cork, the turbines suddenly seized and            repair invoices from all other parties, and sought in-
stopped. The vessel began drifting towards the             demnity from Turbine Service in the event that
coast and the danger was such that the master              Gonzales/Sentry were found liable to Owners or
ordered the chief engineer to try to operate the tur-      Todd.
bines, no matter what their condition, in order to
                                                                The district court made findings of fact and
save the ship and crew. The chief engineer started
                                                           conclusions of law, Todd Shipyards Corp. v. Tur-
the turbines and operated them long enough to
                                                           bine Service, Inc., 467 F.Supp. 1257 (E.D.La.1978)
bring the vessel away from the coast and sub-
                                                           in which it found, among other things, that the fail-
sequently into the Cork harbor. The damage to the
                                                           ure of one or more of the LP rotor blades caused the
HP and LP turbines due to this casualty was so ex-
                                                           river casualty; that all of the repairers had been
tensive that the vessel was sold for scrap.
                                                           negligent and had breached implied warranties of
    This litigation was initiated by Todd in June          workmanlike repair, and were consequently liable
1975. It brought suit against Turbine Service and          for damages arising from the river casualty; that no
Gonzales, demanding return of the KATRIN's dam-            repairer was responsible for the excessive tip clear-
aged turbine parts which had been removed after            ances that caused the Cork casualty; that Todd was
the river trial casualty and taken to the shops of         entitled to indemnity from Turbine Service and
Turbine Service and Gonzales. Both Gonzales and            Gonzales; and that no exclusion of the insurance
Turbine Service responded by asserting a lien for          policies of Travelers and Sentry relieved them from
monies due from Todd on prior invoices for work            liability for the damages caused by their insureds.
done on the turbines. Owners then intervened. Tur-         The court ordered Todd to pay Owners
bine Service's insurer, Travelers and Gonzales' in-        $967,633.20, plus costs, attorneys' fees and post
surer, Sentry, were brought into the case.                 judgment interest (subject to Todd's right of indem-
                                                           nity, except for attorneys' fees, against Turbine Ser-
     Despite the manner in which the action was ini-       vice/Travelers and Gonzales/Sentry.
tiated, it is actually a suit by Owners to recover for
damage to the KATRIN. The parties claims, coun-                 The crucial issues before the district court in
terclaims and cross claims at trial were as follows:       this case were: what caused the river trial damage,
                                                           and who is responsible for this casualty. There was
     (1) Owners sought to recover from all other           substantial evidence to support the district courts'
parties approximately $3.5 million dollars for the         finding that it was negligent to weld new airfoils
cost of repairing the KATRIN's LP turbine in Ger-          *408 on old roots of the LP rotor and that the fail-
many, loss in the vessel's value by reason of the          ure of the welds in the rotor blades caused the casu-
Cork casualty, loss of use of the vessel during the        alty. The clearly erroneous rule disposes of this is-
various repair periods, and related expenses.              sue on appeal.




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     The villian, to whom the finger of responsibil-        made it impossible for Turbine Service to perform
ity is pointed, is Sheridan, supervisor of the LP tur-      its repairs in a workmanlike manner, because the
bine repairs for Turbine Service. The district court        work would not have repaired what was actually
found that he was negligent in three independent re-        wrong with the turbine. Travelers argues that even
spects. First, in conceiving and directing the plan to      if Turbine Service had performed its obligations to
weld new airfoils to old blade roots of the turbine-a       perfection, its work would have been worthless to
method universally condemned by the experts who             Owners, as it would have been necessary to rip it
testified at trial. Second, in failing to consult with a    out to accomplish the reboring and remachining of
welding engineer to determine a proper welding              the casings. We are not moved by this argument.
procedure; and third, in failing to conduct any test-
ing on the fabricated blades (beyond beating them                The object of Turbine Service's contract with
with a hammer) to determine whether or not they             Todd was the reblading, not the correction of the
would stand up in service. It appears that Sheridan         distortion of the casing (not known about at the
misled both Todd and Gonzales during the course             time) of the LP turbine. It was entirely possible to
of the repairs by telling them that he had located re-      reblade the turbine in a workmanlike manner.
placement blades when he had not, and telling               Whether the reblading would have rendered the
Gonzales that the welding procedure had received            KATRIN operative in the light of the distorted cas-
Owners' approval when it had not. The district              ing is a different question, but is wholly irrelevant
court found Sheridan's testimony on numerous oc-            to the contract between Turbine Service and Todd.
casions unworthy of belief-a finding fully suppor-          If Travelers reasoning were sufficient to invalidate
ted by the record.                                          the contract and exonerate Turbine Service from li-
                                                            ability, it would also suffice to remove Todd's ob-
     [2] Travelers, arguing for Turbine Service,            ligation to pay Turbine Service had the latter per-
claims clear error in the district courts' failure to       formed its repairs in a workmanlike manner-a pat-
exonerate Turbine Service from performance of its           ently absurd result.
contract and from liability due to the parties mutual
mistake of fact as to the pre-repair condition of the            Travelers next insists that the district court
turbine. The district court found that in February          committed clear error in failing to find that Owners
1975, no party to the lawsuit was aware of the dis-         were contributorily negligent with respect to the
tortion in the casings of the LP turbine-a finding          river trial casualty. The court found that Owners'
that cannot be said to be clearly erroneous.                representative did not know prior to the river trial
                                                            casualty that new airfoils had been welded to the
     Travelers, in effect, concedes that Turbine Ser-       old turbine blade roots. It further found as a matter
vice was negligent in its repair of the LP turbine.         of law that Owners were not under a duty to inspect
However, Travelers points out that contracts may            the repaired blades in the LP turbine to insure
be rescinded if entered into by the parties under a         themselves that the blades were not welded or oth-
mutual mistake of facts regarding the condition or          erwise defective.
quality of the object of the contract. Travelers ar-
gues that its contract for repair of the LP turbine              Travelers claim that Owners' representatives
was entered into under a mutual misapprehension             were negligent in failing to look for or discover the
of the turbine's actual condition; that unknown to          “idiosyncractic design changes” that caused the
all parties, the casings of the LP turbine were so          river casualty; in not respecting*409 the recom-
distorted at the time the repair work was undertaken        mendation of their own expert that all rotor blades
that a complete overhaul of the LP turbine was ne-          be replaced; and in failing to order the cessation of
cessary. According to Travelers, this condition             all work when the casing distortion was discovered
                                                            during the turbine's reinstallation. We disagree.




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     [3] While there may be some evidentiary con-          finally was so doubtful about welding new airfoils
flict concerning what the Owners' representatives          to old roots on a steam turbine rotor and so doubtful
knew about the faulty repair, when Sheridan's testi-       about the type of weld used that it sought and ob-
mony is given no weight as unworthy of belief, it          tained a release from liability from Turbine Service.
cannot be said that the district courts' finding that      As the district court aptly put it “(t)he original neg-
the Owners were not contributorily negligent is            ligence of Gonzales in defectively welding the
clearly erroneous. The record supports the finding         blades was like a time bomb aimed at the KAT-
that at the time of the river trial the Owners' repres-    RIN.”
entatives were led to believe by all of the defend-
ants that the repair had been made in a workman-                Todd, while happy that the district court upheld
like manner, and no one even suggested, at the             the validity of its red letter clause limiting its liabil-
time, that the distortion of the casing, which made        ity to $300,000.00,[FN2] is unhappy because the
it difficult to close, would affect the clearances.        district court at the same time took away the limita-
The district courts' finding that the distorted casing     tion by holding that Todd was guilty of gross negli-
did not contribute to or cause the damage to the LP        gence. By the same token the “sole causation” lan-
turbine is not clearly erroneous.                          guage in the red letter clause was automatically in-
                                                           validated.[FN3] Todd claims clear error in these
     [4] Gonzales argues that although it had to per-      rulings.
form its welding and machinery work in a non-
negligent and workmanlike manner, the district                      FN2. The red letter clause in Todd's repair
court placed an unfair burden on it by requiring it to              contract provided in pertinent part: “We
be an expert in the field in which it worked since                  contract for vessel repair and drydocking
Turbine Service initiated the welding and fabrica-                  and other services only upon the basis of
tion procedure, directed the methods of fabrication,                insured limited liabilities as set forth be-
would not permit any variation, and undertook to                    low. In no event shall our liability for any
perform all testing. Gonzales simply did what it                    claim arising under this contract exceed in
was told to do. Thus it was clear error to hold                     the aggregate the sum of $300,000,” ....
Gonzales responsible for the weld failure.
                                                                    FN3. In this respect the red letter clause
     We agree with the district courts' observation                 provided: “We are not liable for defective
that “(a) repairer must have more responsibility                    workmanship or material or for damage to
than merely following orders.... This is particularly               any vessel or for any loss sustained by its
true when the customer ordering the work is not a                   Owners, charterers or underwriters, or
welding expert.” Gonzales knew that its product                     parties in interest, directly or indirectly, in
was going into a turbine that would turn up to 6,500                contract, tort or otherwise, unless the same
r.p.m.‘s; knew that there was a likelihood that the                 is caused solely by the negligence of one
welds would not hold up under the type of pressure                  of our employees, which negligence shall
to which they would be subjected; used fillet welds                 not be presumed but must be affirmatively
and fusion patches instead of a full penetration                    established. Our liability, if any, is strictly
weld; did not even know or attempt to determine                     limited to the cost of repair, correction or
what the metals were before the welding; found out                  replacement therefor and in no event shall
only after the fact that it did not use the correct                 we be liable for any consequential damage
welding rod and that the welding of the metals in-                  whatsoever, including, but without limita-
volved could only be properly conducted with pre-                   tion, delay, detention, demurrage, towage
heat, post-heat and stress-relieving treatment; and                 and pilotage.”




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     At the time of the repairs Todd had the capabil-        changes have been employed.
ity to reblade the turbine, but not the capacity to
manufacture the blades. Todd's labor force was                 467 F.Supp. at 1286-87.
fully occupied, its shops were crowded, and it
                                                                Todd insists that it was not negligent. It simply
lacked extra *410 personnel needed to repair the
                                                           contracted with Turbine Service to furnish and in-
turbine. It never contemplated performing the tur-
                                                           stall new replacement blades in the rotor. It was un-
bine repair with its yard personnel.
                                                           der no duty, it is argued, to inspect or supervise the
     Todd asked Turbine Service to investigate pos-        ordinary operational details of the subcontracted
sible methods of repairing the LP turbine. Todd had        work, or to examine the assembled rotor upon its
contracted with Turbine Service on previous jobs           return for concealed defects.
for, among other things, opening and closing of a
                                                                Todd asserts that the damages suffered by
main turbine, reblading turbine generators, major
                                                           Owners arose from the negligence of the independ-
rotor work, and smaller turbine work. However,
                                                           ent contractor, Turbine Service, who deceived Todd
Todd conducted no independent investigation of the
                                                           by assuring it that it had located replacement blades
qualifications of Turbine Service to perform a ma-
                                                           when in fact it had not and had surreptitiously re-
jor steam turbine reblading job.
                                                           sorted to welding new airfoils on old roots. Todd
     Informal discussions between Todd and Tur-            argues that its sole possible fault was its failure to
bine Service resulted in an understanding that Tur-        discover the concealed negligence of Turbine Ser-
bine Service was to accomplish the repair work on          vice.
the LP turbine and that it would locate replacement
                                                                [5] It is true that “... a contractor, who has em-
blades to make the permanent repairs. Todd issued
                                                           ployed a competent subcontractor, is not liable for
purchase orders to Turbine Service for repairing the
                                                           his faults,” Person v. Cauldwell-Wingate Co., 176
HP turbine rotor and the LP turbine. The orders
                                                           F.2d 237, 239-40, (2nd Cir. 1949), cert. denied, 338
stated that the work could not be subcontracted.
                                                           U.S. 886, 70 S.Ct. 189, 94 L.Ed. 544 (1949), but
Turbine Service nevertheless subcontracted part of
                                                           the evidence here bears out forcefully the incompet-
its work to Gonzales, without Todd's knowledge or
                                                           ency of Turbine Service to do the repair work on
permission. The work done by Gonzales under the
                                                           the LP rotor.
supervision and control of Turbine Service was im-
proper, and was the cause of the river trial casualty.          [6] Without iterating the underlying facts it suf-
When the LP turbine was returned to Todd none of           fices to say that the standard of care enunciated by
its personnel knew that new airfoils had been wel-         the district court was proper in this case and its
ded to old roots on the LP rotor.                          findings that Todd was negligent and that such neg-
                                                           ligence was the proximate cause of the Owners
    The district court found as a matter of law that:
                                                           damages is not clearly erroneous.
  The standard of conduct which applies to a
                                                                The district court upheld the validity of Todd's
  shipyard conducting a major repair job as the
                                                           red letter clause which limited is liability for negli-
  main propulsion unit of a large vessel requires at
                                                           gence or breach of contract to $300,000.00, but it
  least two things that Todd did not do. A shipyard
                                                           also held that it was ineffective because Todd was
  must: (1) find out at least the broad outlines of
                                                           guilty of gross negligence.
  the steps planned by a subcontractor and (2) in-
  spect the finished repairs closely enough to be               [7] We have no difficulty in affirming the dis-
  able to determine whether or not sub-standard re-        trict courts' finding that, under the circumstances of
  pairs have been made or idiosyncratic design             this case, the red letter clause is valid.      Alcoa




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Steamship Co., Inc. v. Charles Ferran & Co., Inc.,              [8] Gross negligence, which will invalidate an
et al., 383 F.2d 46 (5th Cir. 1967), cert. denied, 393     exemption from liability has been defined as “...
U.S. 836, 89 S.Ct. 111, 21 L.Ed.2d 107. The court          harm wilfully inflicted or caused by gross or wan-
found, and we agree, that the parties to the repair        ton negligence.” 6A Corbin On Contracts s 1472
contract enjoyed approximately equal bargaining            (1964 ed.) The type of negligence, “ordinary” or
power and that the red letter clause applied to all        “gross”, depends on the particular circumstances of
orders or work placed with Todd.                           each case. A careful review of the record leads us
                                                           to the firm conclusion that Todd was not guilty of
     *411 A more difficult question to be resolved         inflicting an intentional tort, or that the Owners'
is the finding by the district court that Todd is          damages were caused by a wanton disregard of
guilty of gross negligence which vitiates the red let-     Todd's responsibility under the contract or the duty
ter clause. The court held, as a matter of public          owed by it to the Owners. Thus the district courts'
policy, that the clause is invalid because Todd un-        conclusion that Todd was guilty of gross negligence
dertook “to conduct substantial repair work to a           is erroneous.
component of a vessel that is vital to the vessel's
safety, and ... (its) conduct was greatly below the             Finally Todd contends that the district court
standard established by law to protect others              erred in failing to find that the “sole negligence”
against unreasonable harm.” Restatement Of Con-            exemption in the red letter clause [FN4] was applic-
tracts s 574 (1932). The premise for this finding          able since the casualty was found to have been
was that Todd effectively ignored a vessel repair it       caused by the joint and several fault of Gonzales,
had contracted to perform.                                 Turbine Service, and Todd. While Todd did not dis-
                                                           claim all liability, it argues that it did restrict its li-
     Owners submit that they were unaware that             ability to the sole negligence of its own employees
Todd was unable to make the repairs, and that it           which it could prevent.
would turn the work over to an incompetent sub-
contractor who had never been investigated by                       FN4. See note 3, supra.
Todd. They urge that Todd not only abdicated its
responsibility in subcontracting the work, but                  [9] We are not called upon to consider the ef-
equally as bad, did not supervise the repair, or suf-      ficacy of this clause in instances when the work is
ficiently inspect the work done by Turbine Service         performed by Todd and its employees. But under
to determine whether it had been performed in a            the circumstances of this case, to suggest that the
proper manner before it was reinstalled in the tur-        clause is applicable because the work was subcon-
bine. All of this, they argue, adds up to gross negli-     tracted by Todd and resulted in a finding of joint
gence.                                                     and several liability, thus releasing Todd of liability
                                                           under the “sole causation” of its red letter clause is
     Todd responds that it had previously subcon-          so repugnant to common sense and public policy
tracted considerable work to Turbine Service which         that it cannot stand. Such an interpretation would
had been performed in a competent manner. Todd             lead to the preposterous result that a contractor
did not, and could not know, that Turbine Service          could relieve itself of all liability by subcontracting
lied about its ability to locate replacement blades,       the work to a wholly incompetent subcontractor.
and concealed the fact that it had resorted to weld-       [FN5]
ing new airfoils on old roots. It submits that the
evidence totally failed to establish that a reasonable              FN5. “ ‘If the law supposes that,’ said Mr.
inspection could have disclosed that the blades                     Bumble... ‘the law is a ass, a idiot.’ C.
were welded.                                                        Dickens, Oliver Twist, ch. 51 (1838)”
                                                                    Debra P. v. Turlington, 654 F.2d 1079 at




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         1088 n.3 (5th Cir. 1981.) (Hill, J., dissent-     tion to which Owner would be entitled to be re-
         ing).                                             stored. Defendants point out that when the KAT-
                                                           RIN arrived at Todd, the condition of the LP tur-
     Todd apparently had little confidence that the        bine was so poor that it required complete reblad-
sole negligence clause would act as a liability buf-       ing, and that after the river trial casualty the condi-
fer when it subcontracted work since it covered it-        tion of the turbine was the same-complete reblading
self by providing for a full indemnity from its sub-       was required. Thus, defendants conclude, the river
contractor Turbine Service, an unneeded protection         trial casualty did not cause any actual damage to
if the exemption was applicable. Understandably,           the Owner. We disagree.
Todd has not favored us with any authority to sup-
port its position.                                              [10][11][12] The district court correctly found
                                                           that a shipowner has a maritime cause of action
    Having determined the liability issues as to the       whether he sues in contract for its breach by a per-
defendants, we now turn to the question of dam-            son with whom there was a contract for repairs of
ages. All of the defendants *412 unite in attacking        the vessel, or in tort for the negligent performance
the district court's basis for assessing damages; its      of the maritime contract. Alcoa Steamship Com-
determination of the amount of damages to be               pany, Inc. v. Charles Ferran & Co., Inc., supra. The
awarded Owners for repairs and expenses; the               court also correctly found that tort measure of dam-
amount of damages to be awarded for loss of use of         ages is applied in classic cases when two parties
the KATRIN; and in failing to limit Owners' recov-         unknown to each other come into contact and one
ery to the value of the KATRIN in her damaged,             comes away damaged, such as collision cases and
February 1975, condition.                                  other maritime torts. Understandably, none of the
                                                           cases defendants rely on to support their argument
     The principal argument of the “united” defend-
                                                           involve a breach of contract. But Todd breached its
ants is that it was error for the district court to ap-
                                                           contract to repair the LP turbine and this fact per-
ply a contractual rather than a tort measure of dam-
                                                           mits the adoption of a different measure of dam-
ages. The district court determined that the injured
                                                           ages. It is too well settled to require citation of au-
party should be returned to the position it would
                                                           thorities that damages awarded for breach of con-
have occupied had the contract not been violated.
                                                           tract should return the party to the position he
Accordingly, the court awarded Owners the sum of
                                                           would have occupied had the contract not been vi-
the cost of repairs to return the LP turbine to the
                                                           olated. Owners are entitled to have the LP turbine
state it would have been in had the contract been
                                                           in the condition contracted for, and to recover as
performed, the necessary expenses during the down
                                                           well for loss of use of the vessel, out-of-pocket ex-
time of the vessel, the loss of profits during the
                                                           penses, and (since defendants breached warranties
down time, (the down time being the amount of
                                                           of workmanlike performance) costs and attorneys'
time it would have taken Todd to complete the re-
                                                           fees.
pairs necessary to restore the LP turbine), and the
costs and attorneys' fees.                                      The defendants take the position that some ex-
                                                           penses are attributable to their defective repairs and
    The defendants urge that under the proper tort
                                                           these should be for their account, but they were
measure of damages Owners should have been
                                                           charged with numerous items of expense not attrib-
placed as nearly as possible in the condition they
                                                           utable to the defective repairs, and other items of
occupied before the wrong complained of occurred.
                                                           expense should have been at least prorated. They
Thus the district court should have determined the
                                                           point out, for example, that the total expenses dir-
condition of the LP turbine immediately before the
                                                           ectly related to sending the KATRIN's LP turbine
KATRIN's arrival at Todd, since that is the condi-




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to Siemens for repair was $412,272.00, of which            able to defendants' negligence was $276,052.00.
amount the district court found $221,394.00 was at-        This amount was the sum of numerous miscel-
tributable to the repairs. This included $61,000.00        laneous and often minute expenses. It included the
to manufacture the blades and $160,394.00 for that         full cost of shipping the turbine to Germany and of
part of the Siemens repair work allocated as dam-          reinstalling it in the KATRIN, notwithstanding the
ages caused by defendants' negligence. The defend-         fact that Siemens undertook significant repairs not
ants contend that this is clear error because all of       necessitated by defendants' negligence. The total
the work which was done by Siemens after the river         award for repairs and expenses was $497,446.00.
trial was required by the distortion of the LP casing.     The defendants ask us to reduce numerous items of
Moreover, they argue the only identifiable damage          damage as found by the district court by percent-
to the turbine parts caused by their defective repairs     ages varying from 10 to 100% and to find that
was the damage to the rotor necessitating the manu-        Siemens' expenses, the KATRIN's agency accounts,
facturing of a new set of blades at a cost of              surveyors accounts, master accounts, repatriation
$29,069.77.                                                and crew expenses, and bunker and lube oil should
                                                           amount to no more than $120,994.00 even under a
     *413 The trouble with this argument is that the       completed contract theory. They argue that it was
district court found, and correctly so, that the extent    clear error for the district court to charge them with
of the river trial damages and defective repairs was       all of the shipping and reinstallation costs associ-
properly determined by the Joint Survey, in which          ated with the LP turbine since the costs were par-
all repairers participated on Todd's list of damages.      tially attributable to repairs not necessitated by de-
And while the court found that the casing distortion       fendants' negligence. Further, the defendants assert
was pre-existing, it opted to accept the Owners' ex-       that the award of reinstallation expenses of approx-
pert's opinion that this was not a proximate cause of      imately $100,000.00 was error when Owners had
the damage to the LP turbine. We cannot say that           received a firm quotation from Todd of only
this was clearly erroneous.                                $29,000.00 for reinstallation. They argue that the
                                                           necessary repairs could have been accomplished in
     Defendants then argue that the $61,000.00
                                                           the United States rather than in Germany, and that
award for replacement blades as quoted by Siemens
                                                           the turbine's reinstallation could have been accom-
was overly generous because of the number of
                                                           plished by New Orleans rather than New York
blades involved and the evidence they submitted
                                                           laborers. We are unpersuaded.
that Leesona Corporation made a bid, rejected by
the Owners, at an average cost of $47 per blade or a            [13][14] It would serve no useful purpose to
total of $37,000.00.                                       discuss each of the defendants specific allegations
                                                           of error in the courts findings as to damages. [FN6]
     The only evidence that the Owners rejected
                                                           There was, of course, conflicting evidence concern-
such a bid is the testimony of Sheridan of Turbine
                                                           ing the work required to be done, the work that was
Service, who the district court found unworthy of
                                                           actually accomplished and the reasonable cost of
belief, a finding that is fully supported by the re-
                                                           the work. The district courts' function was to weigh
cord. As the district court pointed out Leesona did
                                                           the evidence, make credibility choices and find the
not clearly specify what blade sizes were used to
                                                           facts. We are convinced that no mistake was made.
make their quotation. The courts' findings with re-
                                                           “In an admiralty action, the trial courts' findings of
spect to these damaged items can hardly be said to
                                                           damages are matters of fact and should be affirmed
be clearly erroneous.
                                                           if not clearly erroneous.” Florida East Coast Rail-
   In addition, the district court found that the          way Company v. Revilo Corp., supra at 1067. The
amount of Owner's out-of-pocket expenses attribut-         record fully supports the courts' finding that de-




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fendants' negligence necessitated the LP turbine re-       was $1,400.00 per day during 1973, 1974,
pairs, and since the most competent repairer avail-        $2,000.00 per day during 1974 alone, and
able was the German manufacturer, it was reason-           $4,000.00 per day during the last half of 1974. The
able to ship the turbine to Germany. The mere fact         court concluded that a reasonable net profit figure
that Owners had additional work done on the tur-           was $3,000.00 per day. Multiplying $3,000.00 by
bine between its removal from the KATRIN and the           215 days, the court awarded $645,000.00 as recov-
reinstallation does not mean the defendants should         erable damages for loss of use.
be relieved of the shipping and reinstallation costs.
Moreover, we look with a jaundice eye on Todd's                 [15] Defendants contend that the district courts'
offer to reinstall the LP turbine for $29,000.00. It       award of damages for loss of use was based on two
was conditioned on paying or *414 providing Todd           clearly erroneous factual findings: that the amount
with a $300,000.00 security deposit. The manner in         of down time attributable to defendants negligence
which Todd had handled the turbine repairs hardly          was 215 days, and that the loss of use cost the
inspired confidence, and at that precise time the          Owners $3,000.00 per day. The defendants submit
parties were already engaged in litigation. The oth-       that the KATRIN would have been out of commis-
er New Orleans repairers refused to bid on the rein-       sion for at least this number of days without de-
stallation because they wished to stay clear of the        fendants' negligence, since the vessel's turbines re-
disputes between Todd and Owners.                          quired complete reblading before as well as after
                                                           the negligence occurred. Defendants suggest that
         FN6. We consider de minimus defendants            the number of days of down time attributable to de-
         disputes of items such as a $10.00 tele-          fendants' negligence was the number of days
         phone service charge on the ground that           needed to make all necessary repairs to the KAT-
         there is no evidence this charge resulted         RIN, minus the number of days needed to make the
         from the river casualty.                          repairs caused by defendants' negligence. They ar-
                                                           gue that this difference is between 30 and 60 days.
     Next the defendants take issue with the amount        We are not persuaded by this argument. The proper
of damages awarded Owners for the loss of use of           test, as applied by the district court, is the amount
the KATRIN. The district court first determined the        of time it would reasonably take, after the river cas-
amount of down time caused by defendants' negli-           ualty, to put the KATRIN in the condition for
gence. The court decided it would have taken 215           which Owners had bargained.
days after the river casualty to put the KATRIN in
the condition Owners had bargained for-the sum of              Defendants next argue that in the 720 days pre-
(a) the number of days (58) between May 25, 1975,          ceding the vessel's arrival in New Orleans, she was
when defendants should have completed their re-            operational only 381 days of the time, or 52 per
pairs, and July 21, 1975, when Owners acquired             cent, thus the district court should have found that
sufficient information to permit them to determine         the KATRIN would have been productive during
what new repairs were needed; (b) the number of            only 122 days of the 215 days of down time. The
days (122) needed to manufacture the replacement           record, however, clearly discloses that the vessel
blades; and (c) the number of days (35) needed to          was operational 77.2% of the time. [FN7]
reinstall the blades and put the vessel back into ser-
vice.                                                               FN7. The premise for defendants argument
                                                                    that the vessel was operational only 381
    The district court next determined what the loss                out of 720 days is Travelers' Exhibit 2. But
of use cost Owners per day. To do this the court ex-                this Exhibit is inaccurate because it does
amined the record of the KATRIN on past voyages.                    not show the time the vessel was employed
The court found that the vessel's average net profit                in 1973. By reference to the KATRIN's en-




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         gine and deck logs and Plaintiffs' Exhibit        timate of the value of the KATRIN in sound condi-
         2, the KATRIN was incapacitated at an-            tion, or that at a minimum, the vessel's sound value
         chor, under tow or in a yard for 141 days.        in February, 1975, was $805,000.00, and since the
         During the same period of time the KAT-           required repairs were at least $673,957, this should
         RIN lost 23 days between charters which,          have resulted in a damage award to Owners of no
         when added to the 141 days for break              more than $167,043.00.
         down and repairs, gives 164 days nonoper-
         ating time out of 720 or a 77.2% operating            Both Owners and defendants are somewhat
         average.                                          cavalier about the facts, particularly with regard to
                                                           the KATRIN's February 1975 market value. Further
    [16] The district court in calculating the loss of     discussion of the defendants' constructive total loss
use time of 215 days, did not then apply the per-          argument, would serve no useful purpose however,
centage of productive time of 77.2% which results          because it ignores the fact that the district court
in a loss of use time of 166 days rather than 215          properly applied a contractual rather than a tort
days. This was clear error.                                measure of damages.

     [17] Defendants take strong issue with the                 [19] Finally, the defendants attack the district
courts finding of a loss of net profit to the Owners       court's award of attorneys' fees to the Owners.
of $3,000.00 per day. They contend that the finding        Pointing to the “American Rule” they observe that
failed to reflect the rapid decline of the market in       the prevailing party is ordinarily not entitled to col-
1975, the KATRIN's deteriorating condition, and            lect attorneys' fees from the losing party. They ar-
her need for extensive repairs which drastically           gue that the district court erred in ignoring the
*415 lowered her earning average. But the district         American Rule since the only exception to the rule
court did consider the contention of the defendants        is when bad faith or oppressive litigation tactics are
that the “golden era” in the shipping industry came        shown, and they are absent here. Alyeska Pipeline
to an end in 1975. It found, nevertheless, that the        Co. v. Wilderness Society, 421 U.S. 240, 95 S.Ct.
market picked up again in 1976. The court was also         1612, 44 L.Ed.2d 141 (1975). But the defendants
abundantly aware of the condition of the KATRIN.           overlook the rule that “(i)n this circuit foreseeable
On the record before us, we cannot say that the dis-       damages recoverable for breach of warranty of
trict court's finding of a net profit loss per day of      workmanlike performance include reasonable attor-
$3,000.00 is clearly erroneous.                            neys' fees and litigation expenses. Strachan Ship-
                                                           ping Co. v. Koninklyke Nederlandsche, 5th Cir.
    The loss of use damage then is to be calculated        1963, 324 F.2d 746. ” McCawley v. Ozeanosun
at $3,000.00 per day for 166 days or $498,000.00.          Compania, Maritime, S.A., 505 F.2d 26, 32 (5th
The district court will be directed to modify its          Cir. 1974); Accord, Thibodeaux v. Texas Eastern
judgment accordingly.                                      Transmission Corp., 548 F.2d 581, 587 (5th Cir.
                                                           1977).
     [18] The defendants next insist that since the
cost of repairing the damages caused by the defend-             To complete our consideration of the damage
ants exceeded the market value of the vessel in her        issues we take up the Owners contention that the
condition prior to the casualty, the vessel was a          district court erred in failing to award them pre-
constructive total loss and recoverable damages are        judgment interest because there are no peculiar cir-
limited to the value of the vessel in her damaged          cumstances justifying denial of such interest. While
condition. They argue in the alternative that the          the court awarded post-judgment interest it made no
total repairs, including the complete rebuilding of        mention of pre-judgment interest in either its judg-
the LP turbine in 1975, exceeded the Owners' es-           ment or its findings of fact and conclusions of law.




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     [20] The award of pre-judgment interest is the        sal Ins. Co., 605 F.2d 1340 (5th Cir. 1979) cert.
rule rather than the exception. Complaint of M/V           den., 445 U.S. 929, 100 S.Ct. 1317, 63 L.Ed.2d
Vulcan, 553 F.2d 489 (5th Cir. 1977). As we said           762; Evans v. Triple R. Welding & Oil Field Main-
Noritake Co. v. M/V Hellenic Champion, supra, at           tenance Corp., 472 F.2d 713 (5th Cir. 1973)
pp. 728-730:                                               . Turbine Service argues that since the indemnity
                                                           provision contains no reference to indemnity for
  As a general rule, pre-judgment interest should          Todd's own negligence, Todd is precluded from re-
  be awarded in admiralty cases-not as a penalty           ceiving indemnity from Turbine Service because
  but as compensation for the use of funds to which        clauses purporting to indemnify one against his
  the claimant is rightfully entitled. Discretion to       own negligence are to be strictly construed and
  deny pre-judgment interest is created only when          must clearly state that intention. M.O.N.T. Boat
  there are ‘peculiar circumstances' that would            Rental v. Union Oil, Etc., 613 F.2d 576 (5th Cir.
  make it inequitable for the losing party to be           1980); Cole v. Chevron Chemical Co-Oronite Divi-
  forced to pay pre-judgment interest.                     sion, 477 F.2d 361 (5th Cir. 1973).

  If the trial court does not make any mention of                  FN8. Todd's Purchase Order provides in
  pre-judgment interest in its judgment or its find-               part: “INDEMNIFICATION AND INSUR-
  ings of fact and conclusions of law, then it is                  ANCE-Seller shall be liable for the loss of
  more difficult to infer that the trial court has                 or damage to Buyer's or Buyer-furnished
  found peculiar circumstances and decided to ex-                  or Government-furnished property while
  ercise the discretion that those circumstances                   such property is in Seller's possession.
  *416 create. * * * (W) hen no peculiar circum-                   Seller agrees to carry fire and extended in-
  stances are disclosed on the face of record, and                 surance coverage on all such property and
  the case is of a type in which peculiar circum-                  to indemnify and save Buyer harmless
  stances are less likely to exist, we have reversed               from any and all judgments, orders,
  the judgment of the district court insofar as it                 awards, costs, and expenses, including at-
  fails to award pre-judgment interest.                            torneys' fees and also claims on account of
                                                                   damage to property or bodily injury
     [21] No peculiar circumstances are apparent
                                                                   (including death) which may be sustained
from the record which would permit the exercise of
                                                                   by Seller, Seller's employees, Buyer, Buy-
discretion not to award pre-judgment interest. On
                                                                   er's employees or third persons, arising out
remand, the district court will be directed to calcu-
                                                                   of or in connection with work performed
late and award pre-judgment interest. See Interna-
                                                                   for Buyer on premises occupied or under
tional Paint Co., Inc. v. M/V Mission Viking, 637
                                                                   control of Buyer or Seller.”
F.2d 382, 386 (5th Cir. 1981).
                                                                     The Purchase Order also provided that
    We next consider the questions of indemnity
                                                                     all goods and labor were to be warranted
which are under attack by all parties. Turbine Ser-
                                                                     by Turbine Service to be merchantable
vice insists that the district court erred in granting
                                                                     and fitting in all respects for the purpose
Todd indemnity against Turbine Service. It draws
                                                                     for which intended; that Turbine Service
our attention to the fact that the court based its
                                                                     would guarantee to Todd all the materi-
award on the breach of an implied warranty of dili-
                                                                     al, equipment and labor in the same
gence and workmanlike performance and did not
                                                                     manner and to the same extent that Todd
address itself to the express indemnity language in
                                                                     was required to guarantee such material,
Todd's Purchase Order,[FN8] as it was required to
                                                                     equipment and labor to its customers and
do. Continental Casualty Co. v. Canadian Univer-




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           additionally forbid any subcontracting of      bine Service executed and delivered a release to
           the work by Turbine Service.                   Gonzales after the faulty welding had been accom-
                                                          plished and the return of the turbine parts to Tur-
    The short answer to this argument is that the         bine Service. [FN9] The district court held that the
“Indemnification and insurance” clause in the Pur-        release barred Turbine Service from relying upon
chase Order does not speak to the indemnification         implied contractual indemnity. Moreover, recovery
of Todd by Turbine Service arising out of the un-         could not be predicated upon the principles of act-
workmanlike performance of Turbine Service under          ive and passive negligence, nor on any other non-
the contract, but is obviously intended only to re-       contractual indemnity theory. We agree.
quire insurance to indemnify Todd for damage
caused to its property or employees during a bail-                FN9. The release stated “Gonzales Manu-
ment of Todd's property. This is perfectly clear by a             facturing and Industrial Machine Works,
mere reading of the clause. But if there should be                Inc. makes no warranty as to the suitability
any doubt about it, it is put to rest by reference to             of such repairs and accepts no liability for
the remaining language of the Purchase Order                      any possible failure in service or con-
which provided that all goods and labor were to be                sequential damage arising from such fail-
warranted by Turbine Service to be merchantable                   ure.
and fitting in all respects for the purpose for which
intended; and that Turbine Service's guarantee of              [23] Sheridan was the main participant for Tur-
all material, equipment, and labor would be co-           bine Service throughout the entire repair work.
extensive with Todd's guarantee to its customers.         Gonzales followed his directions in welding the
                                                          new airfoils to the old roots of the LP rotor, al-
     [22] The district court properly relied upon         though Gonzales was doubtful that the welds would
breach of the implied warranty of diligent and            hold up satisfactorily. Sheridan was held out as
workmanlike performance of Turbine Service to             having full authority to contract with Gonzales and
award Todd indemnification from Turbine Service.          to do whatever was necessary to accomplish the
See Parfait v. Jahncke Service, Inc., 484 F.2d 296,       work Gonzales was asked to do. Under the circum-
302 (5th Cir. 1973); Garner v. Cities Service             stances, Gonzales had the right to rely on Sherid-
Tankers Corp., 456 F.2d 476, 481 (5th Cir. 1972);         an's authority to execute the release.
Waterman Steamship Corporation v. David, 353
F.2d 660, 665 (5th Cir. 1965), cert. den., 384 U.S.            There was adequate consideration for the re-
972, 86 S.Ct. 1863, 16 L.Ed.2d 683 (1966). Todd's         lease because Gonzales told Sheridan at the outset
negligence vis-a-vis the Owner does not bar its           of the work that it did not know whether the work
right to indemnity from Turbine Service.      *417        to be done by it was proper, but since it was being
Southern Stevedoring & Contract Co. v. Hellanic           done under Sheridan's instruction, Gonzales wanted
Lines, Ltd., 388 F.2d 267 (5th Cir. 1968). We find        a release when it had completed the work. Sheridan
inapposite the line of cases exemplified by Nelson        agreed. Turbine Service is not entitled to indemnity
v. Jacksonville Shipyards, 440 F.2d 668 (5th Cir.         from Gonzales.
1971) relied upon by Turbine Service, suggesting
                                                               [24][25] Gonzales challenges the district
that recovery should be denied to an actively inde-
                                                          courts' finding that Todd was entitled to indemnity
pendent contractor seeking indemnity from another
                                                          from it. Gonzales' arguments for the most part, par-
independent contractor.
                                                          allel those of Turbine Service. We will not extend
     Turbine Service asserts that the district court      this opinion by tracking through them
erred in failing to find that Turbine Service was en-     again. Additionally, Gonzales contends that since
titled to indemnity from Gonzales. Sheridan of Tur-       there was no contract between Todd and Gonzales,




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there can be no warranty of workmanlike perform-                   dorsements as well as comprehensive gen-
ance owed to Todd, and thus no indemnity in favor                  eral liability provisions. In light of our
of Todd. We disagree. Privity of contract is not es-               findings regarding the applicability of the
sential. Implied warranties of workmanlike per-                    general liability provisions, we need not
formance may extend to parties who are not in dir-                 consider the applicability of the contractual
ect contractual relationship. Whisenant v. Brew-                   liability endorsements.
ster-Bartle Offshore Company, 446 F.2d 394, 401
(5th Cir. 1971). We uphold the finding of the dis-            These policies provide:
trict court that Todd is entitled to indemnity from
                                                            The company will pay on behalf of the insured all
Gonzales.
                                                            sums which the insured shall become legally ob-
     [26] Todd complains that the district court            ligated to pay as damages because of ... property
should have awarded but failed to award it attor-           damage to which this insurance applies, caused
neys' fees as a part of the indemnity award to it by        by an occurrence ....
Turbine Service and Gonzales. The district court
                                                              The policies define “occurrence” as “an acci-
properly declined to do so. Todd's reliance upon
                                                          dent ... which results in bodily injury or property
Olsen v. Shell Oil Co., 595 F.2d 1099 (5th Cir.
                                                          damage neither expected nor intended from the
1979) is misplaced. In that case the parties provided
                                                          standpoint of the insured.” The policies define
by contract that each should hold the other harmless
                                                          “property damage” as
in any suit by the employee of the other which
                                                            (1) physical injury to or destruction of tangible
arose out of the work to be performed under the
                                                            property which occurs during the policy period,
contract. The court held that the contract to hold
                                                            including the loss of use thereof at any time res-
harmless necessarily included payment of attorneys'
                                                            ulting therefrom, or (2) loss of use of tangible
fees. Here, Todd's indemnity award was, for the
                                                            property which has not been physically injured or
most part, based upon evidence not produced by
                                                            destroyed provided such loss of use is caused by
Todd but by Owners' attorneys' perseverance.
                                                            an occurrence during the policy period ....
Moreover Todd not only defended against liability,
but teamed up with Turbine Service and Gonzales                Travelers and Sentry argue that the district
to attack almost every item of damage sought to be        court erred in failing to find that various exclusions
proven by Owners. We agree with the district court        contained in their policies relieve them from liabil-
that the breach of the implied warranty of work-          ity in this case. We discuss each of these exclusions
manlike performance on the part of Turbine Service        in turn.[FN11]
and Gonzales resulting in indemnity to Todd does
not in the circumstances of this case require the                  FN11. Although the exclusions in the
award of attorneys' fees to Todd.                                  Travelers and Sentry policies are substant-
                                                                   ively identical, they are identified by dif-
    We turn our attention to the insurance coverage                ferent letters. Thus, Travelers' exclusion
of the Travelers and Sentry policies.*418      Both                (1) is identical to Sentry's exclusion (n),
Turbine Service and Gonzales had in effect com-                    Travelers' exclusion (m) is identical to
prehensive general liability insurance policies is-                Sentry's exclusion (o), and so on. We shall
sued by the respective insurance companies.[FN10]                  refer to the exclusions as they are denom-
                                                                   inated in the Sentry policy.
        FN10. The provisions of the Travelers and
        Sentry policies at issue in this case are             [27] First, the insurance policies exclude cover-
        identical in all material respects. Both          age for “property damage to ... property in the care,
        policies contain contractual liability en-




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custody or control of the insured or as to which the       Alternatively, if the KATRIN herself could not
insured is for any purpose exercising physical con-        fairly be considered the property injured during the
trol.” The insurers argue that this provision relieves     river trial casualty, this case would fall within the
them from liability for certain repairs and expenses.      policy's exception to the exclusion:
This argument is unavailing, since under Louisiana            (T)his exclusion does not apply to loss of use of
law [FN12] the exclusion does not apply where, as             other tangible property resulting from the sudden
here, the occurrence causing damage occurs after              and accidental physical injury to or destruction of
the insured relinquishes custody or control of the            the named *419 insured's products or work per-
property. Eymard v. C & W Well Servicing, Inc.,               formed by or on behalf of the named insured after
258 So.2d 406, 408 (La.App.), writ refused, 261 La.           such products or work have been put to use by
465, 259 So.2d 915 (1972).                                    any person or organization other than an insured
                                                              ....
         FN12. Under Louisiana conflict of law
         rules the interpretation of insurance con-             The work performed by Turbine Service and
         tracts is governed by the laws of the state       Gonzales sustained sudden and accidental injury
         where the contract was entered into.              during the river trial casualty, and the KATRIN un-
         Deane v. McGee, 261 La. 686, 260 So.2d            der this alternative view is “other tangible prop-
         669, 673 (La.1972); Wickham v. Pruden-            erty” whose use was lost as a result of this injury.
         tial Insurance Company of America, 366            We conclude, then, that this exclusion does not re-
         So.2d 951, 954 (La.App.1978). Although            lieve the insurers of liability.
         the record on this point is not completely
         clear, it appears the insurance contracts             [29] Exclusion (p) of the insurance policies ex-
         here at issue were entered into in Louisi-        cludes coverage for
         ana. Indeed, the parties have argued before
                                                             damages claimed for the withdrawal, inspection,
         this court on the basis that Louisiana law
                                                             repair, replacement, or loss of use of the named
         applies. We therefore apply Louisiana law
                                                             insured's products or of any property of which
         in construing the Travelers and Sentry
                                                             such products or work form a part, if such
         policies.
                                                             products, work or property are withdrawn from
    [28] The policies next exclude coverage for              the market or from use because of any known or
                                                             suspected defect or deficiency therein.
  loss of use of tangible property which has not
  been physically injured or destroyed resulting               Travelers and Sentry argue that the damages
  from ... the failure of the named insured's              claimed by the KATRIN's Owners fall within this
  products or work performed by or on behalf of            exclusion. This argument ignores, however, the ex-
  the named insured to meet the level of perform-          clusion's origin and purpose.
  ance, quality, fitness or durability warranted or
                                                                Exclusion (p) is known as the “sistership” ex-
  represented by the named insured ....
                                                           clusion, a term derived from an occurrence in the
     Travelers and Sentry argue that this provision        aircraft industry in which one plane crashed and its
relieves them of liability for loss of use of the          “sisterships” were thereafter grounded and recalled
KATRIN. This argument too is unavailing, for the           by the manufacturer in order to correct the common
simple reason that the KATRIN did sustain physic-          defect that had caused the crash. Arcos Corp. v.
al injury to its LP turbine as a result of the failure     American Mutual Liability Ins. Co., 350 F.Supp.
of the insured's work product to meet the level of         380, 384 n.2 (E.D.Pa.1972), affirmed, 485 F.2d 678
performance impliedly warranted by the insureds.           (3rd Cir. 1973). The provision is intended to ex-




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clude from coverage the cost of preventative or cur-       such products.” The policies define “named in-
ative action by withdrawal of a product in situations      sured's products” as “goods or products manufac-
in which a danger is to be apprehended. Wyoming            tured, sold, handled or distributed by the named in-
Sawmills, Inc. v. Transportation Insurance Co., 282        sured.” The insurers argue that Turbine Service and
Or. 401, 578 P.2d 1253, 1257 (1978); Yakima Ce-            Gonzales “handled” the LP turbine, in the sense of
ment Products Co. v. Great American Insurance              physically handling it, and that the turbine is there-
Co., 22 Wash.App. 536, 590 P.2d 371, 374-75                fore their product.
(1979). It is not, however, intended to exclude from
coverage damages caused by the very product                     An identical interpretation of “handled” was
whose failure to perform properly aroused appre-           urged in Smedley Co. v. Employers Mutual Liabil-
hension about the quality of “sister” products. 2 R.       ity Insurance Co., 143 Conn. 510, 123 A.2d 755
Long, The Law of Liability Insurance s 11.11               (1956). The court in that case stated:
(1981). Still less is it intended to exclude from cov-
                                                             It is true that the verb “handle” means to “touch;
erage damages arising from the malfunctioning of a
                                                             to feel with the hand; to hold, take up, move, or
product where no “sister” products are involved.
                                                             otherwise affect, with *420 the hand.” * * *
See Elco Industries, Inc. v. Liberty Mutual Insur-
                                                             Webster also defines “handle” as “to buy and
ance Co., 90 Ill.App.3d 1106, 46 Ill.Dec. 319, 322,
                                                             sell; to deal, or trade in.” That the intention of the
414 N.E.2d 41, 45 (1980); Yakima Cement
                                                             insurer was to restrict the word “handled” to this
Products Co. v. Great American Insurance Co., 590
                                                             meaning is apparent from the words
P.2d at 374-76; Ohio Casualty Insurance Co. v.
                                                             “manufactured, sold * * * or distributed,” with
Terrace Enterprises, Inc., 260 N.W.2d 450, 455
                                                             which it is linked.
(Minn.1977); Gulf Insurance Co. v. Parker
Products, Inc., 498 S.W.2d 676, 678-79 (Tex.1973);             123 A.2d at 758. Accord, Paxton-Mitchell Co.
Bigelow-Liptak Corp. v. Continental Insurance Co.,         v. Royal Indemnity Co., 279 Or. 607, 569 P.2d 581,
417 F.Supp. 1276, 1281-82 (E.D.Mich.1976); Ar-             587 (1977); G. Couch, Cyclopedia of Insurance
cos Corp. v. American Mutual Liability Insurance           Law, s 44A:56 (2nd Ed. 1981).
Co., 350 F.Supp. at 385. It is clear, then, that exclu-
sion (p) is not intended to exclude from coverage              [30] Like the court in Smedley, we find that the
damages arising from the malfunctioning of the LP          verb “handled” as used in exclusion (n) means “to
turbine.[FN13]                                             deal or trade in” rather than “to touch”. Under this
                                                           definition neither Turbine Service nor Gonzales
         FN13. As an independent ground for this           handled the KATRIN's LP turbine. Since the in-
         conclusion, we note that most courts hold         sureds clearly did not manufacture, sell or distribute
         exclusion (p) inapplicable where the              the LP turbine, the turbine is not the “named in-
         product is withdrawn by the insured rather        sured's product,” and exclusion (n) is inapplicable.
         than a third party. See Elco Industries, Inc.
         v. Liberty Mutual Insurance Co., 46                    [31][32] This conclusion may also be reached
         Ill.Dec. at 322, 414 N.E.2d at 45 (citing         more directly by noting that engine repairs consti-
         cases). In this case neither Turbine Service      tute a service rather than a product, and that under
         nor Gonzales withdrew the KATRIN or its           Louisiana law an exclusion relating to an insured's
         LP turbine from service.                          “products” does not exclude liability for losses
                                                           arising from the insured's services. Swillie v. Gen-
    Exclusion (n) of the policies excludes coverage        eral Motors Corp., 133 So.2d 813, 823
for “property damage to the named insured's                (La.App.1961); see generally Couch, supra, s
products arising out of such products or any part of       44A:60. Travelers and Sentry argue that the turbine




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may fairly be considered the repairers' product be-       would make an exception to their usual interpreta-
cause the repairers replaced many of its parts.           tion of exclusion (o) if confronted by the unusual
However, the mere fact that a repairer supplies or        facts of this case. Citing, St. Paul Fire & Marine In-
replaces needed parts in the course of making re-         surance Co. v. Sears, Roebuck & Co., 603 F.2d
pairs does not render an exclusion relating to an in-     780, 784 (9th Cir. 1979) and Pittsburgh Plate Glass
sured's “products” applicable. See Lieberman v.           Co. v. Fidelity & Casualty Co., 281 F.2d 538, 541
New Amsterdam Casualty Co., 284 A.D. 1051, 135            (3rd Cir. 1960), they claim that work product exclu-
N.Y.S.2d 850 (1954), appeal denied, 285 A.D. 830,         sions are inapplicable when the insured's work
137 N.Y.S.2d 840 (1955).                                  product becomes so integrated into other tangible
                                                          property that repair or replacement of that work
    [33] Exclusion (o) of the insurance policies ex-      product would entail injury to or replacement of a
cludes coverage for                                       part of the existing property not originating from
                                                          the insured. We dispose of this argument by noting
  property damage to work performed by or on be-
                                                          that the present case does not fall within the
  half of the named insured arising out of the work
                                                          proffered exception, since the repair or replacement
  or any portion thereof, or out of the materials,
                                                          of the work product of Turbine Service and
  parts or equipment furnished in connection there-
                                                          Gonzales (e.g., the negligently welded blades)
  with ....
                                                          would not necessitate replacement of, or cause in-
     Turbine Service and Gonzales contend that this       jury to, other parts of the LP turbine not originating
exclusion is inapplicable, relying on cases from nu-      from the insureds.
merous jurisdictions. We are bound, however, to
                                                               Our determination that exclusion (o) applies in
apply the law of Louisiana, under which “injury to
                                                          this case compels us to resolve several subsidiary
work” exclusions have consistently and unequivoc-
                                                          questions.
ally been held to eliminate coverage for the cost of
repairing or replacing the insured's own defective             *421 The first such question is: What precisely
work product. Vitenas v. Centanni, 381 So.2d 531,         is the insured's work product? Citing, Engine Ser-
535 (La.App.1980); Breaux v. St. Paul Fire & Mar-         vice, Inc. v. Reliance Insurance Company, 487 P.2d
ine Insurance Co., 345 So.2d 204, 208                     474 (Wyo.1971), Franks v. Guillotte, 248 So.2d
(La.App.1977); Franks v. Guillotte, 248 So.2d 626,        626 (La.App.1971), and Suwyn v. Auto-Owners In-
628 (La.App.1971); Vobill Homes, Inc. v. Hartford         surance Co., 15 Mich.App. 279, 166 N.W.2d 549
Accident & Indemnity Co., 179 So.2d 496, 497-98           (1968), Travelers and Sentry contend that the in-
(La.App.1965), writ refused, 248 La.App. 698, 181         sured's work product is the entire LP turbine, and
So.2d 398 (1966).[FN14]                                   that exclusion (o) consequently excludes coverage
                                                          for the entire cost of repairing the turbine. Turbine
        FN14. For a discussion of the policy con-
                                                          Service and Gonzales insist that their work product
        siderations underlying “injury to work” ex-
                                                          is merely the specific components they attempted to
        clusions, and presumably underlying their
                                                          repair, and that exclusion (o) at most eliminates
        interpretation by the Louisiana courts, see
                                                          coverage for the cost of repairing or replacing those
        Henderson, “Insurance Protection for
                                                          components.[FN15]
        Products Liability and Completed Opera-
        tions-What Every Lawyer Should Know,”                      FN15. Gonzales cites several non-
        50 Neb.L.Rev. 415, 441-42 (1971).                          Louisiana cases for the proposition that ex-
                                                                   clusion (o) excludes coverage only for the
    Undaunted by these precedents, Turbine Ser-
                                                                   cost of purchasing replacement parts, and
vice and Gonzales argue that the Louisiana courts
                                                                   not for the costs incurred in removing or




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        replacing defective parts from an entity in-      of engine components. Although the insurers claim
        to which they have been incorporated. We          that their insureds effectively overhauled the entire
        reject this proposition as contrary to the        LP turbine, this contention is plainly contrary to the
        Louisiana courts' categorical determination       facts. Indeed, the insurers elsewhere argue vocifer-
        that the “injury to work” exclusion ex-           ously that while the LP turbine needed a complete
        cludes the cost of repairing or replacing an      overhaul, the repairs undertaken by the insureds
        insured's defective work.                         were relatively minor.

     The most analogous and instructive case ad-               The second subsidiary question is: Does exclu-
dressing this issue is Travelers Insurance Co. v.         sion (o) exclude coverage for damage to the in-
Volentine, 578 S.W.2d 501 (Tex.Civ.App.1979). In          sured's entire work product or merely to the defect-
Volentine, a repairer's negligent performance of a        ive components of that work product? Citing, Pitts-
valve job on a customer's automobile engine resul-        burgh Bridge & Iron Works v. Liberty Mutual In-
ted in the destruction of the entire engine. The re-      surance Co., 444 F.2d 1286 (3rd Cir. 1971) and S.
pairer's insurance company contended that the             L. Rowland Construction Co. v. St. Paul Fire &
“injury to work” exclusion eliminated coverage for        Marine Insurance Co., 72 Wash.2d 682, 434 P.2d
the damages sought by the customer. After noting          725 (1967), Turbine Service and Gonzales argue
that this exclusion eliminates coverage only for          that the exclusion applies only to the defective
damages to the work product itself, the court stated:     components. The trouble with this argument is that
                                                          the cases supporting it construed a different provi-
  The decisive question then becomes: What was            sion than the one here at issue. The provision at is-
  Volentine's work product? The entire engine, or         sue in Pittsburgh Bridge and Rowland Construc-
  merely the valve repair?                                tion, was exclusion (h)(4), a predecessor of the
                                                          present exclusion (n) and (o). Exclusion (h)(4) ex-
  (J)udged by the allegations of the petition, it ap-
                                                          cluded coverage for damage to “products ... manu-
  pears that Volentine's work or work product was
                                                          factured, sold, handled or distributed ... by the in-
  the repair of the valves only, and that other parts
                                                          sured, or work completed by or for the insured, out
  of the automobile engine would constitute “other
                                                          of which the accident arises.” The court in Pitts-
  property”.... To the extent those other parts were
                                                          burgh Bridge and Rowland Construction correctly
  damaged or destroyed and Volentine is liable
                                                          found that the clause “out of which the accident
  therefor, the policy affords coverage.
                                                          arises” *422 was ambiguous, and resolved the am-
    Id. at 504.                                           biguity in favor of the insured by holding that ex-
                                                          clusion (h)(4) applied only to the specific defective
     We find the court's analysis in Volentine per-       component that caused the accident.
suasive. In our judgment, exclusion (o) carves out
of the policy damage to the particular work per-               In 1966 the insurance industry revised this ex-
formed by the insured, but not the overall damage         clusion to make clear that it applied to the insured's
that the incorporation of the defective work product      entire work product. See F.C. & S. Bulletins, Public
causes to the entire entity. See Western Casualty &       Liability, Prb 3 & 4 (Dec.1972), quoted in 2 Long,
Surety Co. v. Polar Panel Co., 457 F.2d 957, 960          supra, s 11.13 at 11-70. The revised “injury to
(8th Cir. 1972). The cases relied upon by the in-         work” exclusion appears in the policies insuring
surers, Franks, Engine Service and Suwyn, are dis-        Turbine Service and Gonzales and expressly ex-
tinguishable on the ground that the repairers in          cludes “property damage to work performed ...
those cases overhauled the entire engine, rather          arising out of the work or any part thereof, or out of
than merely repaired and replaced a limited number        materials, parts or equipment furnished in connec-




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tion therewith.” (emphasis added). The courts have        Similarly, in Adams Tree Service, Inc. v. Hawaiian
consistently held that this language unambiguously        Insurance & Guaranty Co., 117 Ariz. 385, 573 P.2d
excludes coverage for the cost of repairing or repla-     76, 78-80 (Ariz.App.1977), a contractor converted
cing non-defective as well as defective components        a tractor truck into a dump truck. When the dump
of the insured's work product. See, e.g., Indiana In-     truck subsequently collapsed, its owner was awar-
surance Co. v. DeZutti, 408 N.E.2d 1275, 1279-80          ded damages against the contractor for, among oth-
(Ind.1980); Timberline Equipment Co. v. St. Paul          er things, loss of use of the truck. In a later suit to
Fire & Marine Insurance Co., 281 Or. 639, 576             determine whether this liability was covered by the
P.2d 1244, 1246-47 (1977); Adams Tree Service,            contractor's liability policy, the court held that the
Inc. v. Hawaiian Insurance & Guaranty Co., 117            dump truck constituted the contractor's product,
Ariz. 385, 573 P.2d 76, 78-80 (Ariz.App.1977)             that loss of use of the truck was merely an element
(citing cases). The Louisiana courts join in this in-     of property damage to the truck, and that the
terpretation. See Franks v. Guillotte, 248 So.2d 626      “injury to product” exclusion eliminated coverage
(La.App.1971) (repairer overhauling automobile            for such damages.
engine negligently replaced filterhead, causing
damage to entire engine; “injury to work” exception            Upon examination, Brown-McKee and Adams
held to exclude all coverage).                            Tree Service are clearly distinguishable from the
                                                          present case. What was lost to use in those cases
     We conclude then, that exclusion (o) eliminates      was the insured's own product-a grain elevator in
coverage for the cost of repairing or replacing any       Brown-McKee and a dump truck in Adams Tree
components of the insured's work product that re-         Service.[FN16] On the other hand, what was lost to
quired such repair or replacement as a result of the      use in the present case-the KATRIN-was property
insured's negligence, whether or not such compon-         other than the insured's own product. *423 A case
ents were themselves defective.                           more nearly on point is Oliver B. Cannon & Son,
                                                          Inc. v. Fidelity & Casualty Co., 484 F.Supp. 1375
     The final subsidiary question is: Does exclu-        (1980). In that case a contractor negligently pre-
sion (o) exclude coverage, not only for the immedi-       pared and painted the interior linings of chemical
ate cost of repairing or replacing the insured's work     process tanks, resulting in deterioration of the lin-
product, but also for other economic losses caused        ings and loss of use of the tanks. The court determ-
by the insured's faulty workmanship?                      ined that while the “injury to work” exclusion elim-
                                                          inated coverage for the cost of repairing the linings,
     Travelers and Sentry urge with particular alac-
                                                          it did not eliminate coverage for loss of use of the
rity that exclusion (o) excludes damages for loss of
                                                          tanks.
use of the KATRIN-by far the largest element of
damages in this case. Two cases appear at first                    FN16. We note in passing that it is not
glance to support their position. In Employers Cas-                clear whether the Louisiana courts would
ualty Co. v. Brown-McKee, Inc., 430 S.W.2d 21                      hold loss of use even of the insured's own
(Tex.Civ.App.1968 writ ref'd. n. r. e.), an agricul-               defective work product to be excluded un-
tural company sued a builder for loss of storage                   der exclusion (o). See Borden, Inc. v.
revenue allegedly caused by the builder's improper                 Howard Trucking Co., 372 So.2d 242, 244
construction of a grain elevator. The court determ-                (La.App.), writ refused, 373 So.2d 544
ined that the agricultural company was in effect                   (1979); but see Goodwin Well Service,
seeking damages for loss of use of the elevator, that              Inc. v. Goss Construction Co., 380 So.2d
such loss of use was merely an element of damage                   1246, 1247-48 (La.App.1980).
to the elevator, and that the work product exclusion
eliminated coverage for such damages. Id. at 27.              The answer to the question posed above may be




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discerned in the law of Louisiana. As we have seen,        [FN17]
the Louisiana courts hold that the “injury to work”
exclusion excludes the cost of repairing or repla-                  FN17. The district court found the “injury
cing the insured's work product. Those courts also                  to products” and “injury to work” exclu-
hold that the exclusion does not exclude damages to                 sions applicable in this case. See 467
property other than the insured's work product.                     F.Supp. at 1312. However, because the
Hendrix Electric Co. v. Casualty Reciprocal Ex-                     court did not exclude coverage for all costs
change, 297 So.2d 470, 472-73 (La.App.1974);                        incurred in repairing and replacing the in-
Hospital Service District No. 1 v. Delta Gas, Inc.,                 sured's work product, redetermination of
171 So.2d 293, 299 (La.App.) writ refused, 247 La.                  the amount of those costs is necessary.
673, 173 So.2d 540 (1965); Vobill Homes, Inc. v.
                                                                [34] Finally, we address the Owners' conten-
Hartford Accident & Indemnity Co., 179 So.2d at
                                                           tion that the district court erred in failing to hold
497.
                                                           the defendants liable for damages suffered by the
     Although the Louisiana courts have not ad-            KATRIN in the Cork casualty. The district court
dressed the precise question before us, the two prin-      found that the damages were caused by excessive
ciples set forth above appear sufficiently clear to        blade tip clearances between the feather tips of the
light the way to an answer. At the risk of oversim-        HP rotor blades and the HP casings, and it further
plification, it appears that all economic losses           found that no repairer filed or ground the feather
suffered by the KATRIN's Owners may be attrib-             tips of the HP rotor blades or otherwise caused ex-
uted either to the “down time” of the KATRIN or to         cessive tip clearances. It is undisputed that in Feb-
the repair or replacement of the work product of           ruary of 1976, the Owners learned of the excessive
Todd, Turbine Service and Gonzales. Since the              tip clearances and learned that they would decrease
KATRIN is indisputably property other than the in-         the HP turbine's efficiency, increase consumption
sured's work product, any damages attributable to          of fuel oil, and increase the HP turbine's exhaust
its “down time” are not excluded by exclusion (o).         temperatures. Owners nevertheless ordered the
On the other hand, some of the “out-of-pocket” ex-         KATRIN to take on cargo and leave New Orleans
penses awarded to the KATRIN's Owners are                  the following month.
clearly part of the cost of repairing the faulty work-
                                                                The Owners accept the district court's findings
manship of Turbine Service and Gonzales, and con-
                                                           that the Cork casualty was caused by excessive tip
sequently are excluded from coverage by exclusion
                                                           clearances but argue that the court erred in not find-
(o).
                                                           ing that the defendants' negligence caused the ex-
     We conclude, then, that Travelers and Sentry          cessive clearances. Specifically they contend that
are liable for those damages attributable to the           the evidence established that the tip clearances
KATRIN's “down time”, such as damages for loss             were satisfactory in February 1975 (since those
of use of the vessel, general expenses from the mas-       who examined the HP turbine at that time made no
ter's accounts, and pilotage, wharfage, tug, repatri-      mention of excessive tip clearances); that Turbine
ation and recrewing expenses. However, Travelers           Service personnel*424 ground the sides of the HP
and Sentry are not liable for any costs incurred in        rotor blades; that the feather tips were ground by
repairing and replacing the work product of their          man and not by any casualty; and that the clear-
insureds, including the cost of inspecting, crating,       ances were excessive in February 1976 when the
shipping, and reinstalling the LP turbine. We re-          KATRIN left Todd Shipyards. The Owners con-
mand to the district court for determination of the        clude that the excessive tip clearances were caused
exact amount of Travelers' and Sentrys' liability.         by defendants' filing or grinding of the feather tips
                                                           during the “repairs”.




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     The Owners further take the position that their       for the period involved. Such application results in
operation of the KATRIN with knowledge of the              a reduction of the loss of use damage from
excessive tip clearances was reasonable under the          $645,000.00 to $498,000.00 and the district court is
circumstances because the turbine's manufacturer           directed to modify its judgment accordingly. We af-
had indicated that the excessive blade clearances          firm the courts' judgment awarding attorneys' fees
would not cause a major casualty under normal op-          to Owners. We direct the district court to include in
erating conditions, and what happened off the coast        its judgment an award for pre-judgment interest.
of Cork was an abnormal fortutious circumstance            We reverse the judgment of the district court hold-
which required the vessel to reduce speed which ac-        ing that exclusion (o) of the Travelers *425 and
centuated the excess clearances; that substantial and      Sentry policies are not applicable, and direct the
lengthy repairs would have been required to rectify        district court on remand to determine the amount of
the condition in New Orleans; that Owners felt ob-         the insurers' liability. We affirm the judgment of
liged to mitigate damages by making the KATRIN             the district court exonerating the defendants from
productive again; and Owners were anxious to end           liability for damage suffered by the KATRIN in the
the KATRIN's long and inhospitable stay in New             Cork casualty.
Orleans.
                                                                   FN18. Turbine Service asks us to recitify
     We are unpersuaded. The district court found,                 an error in the district court's calculation of
and we agree, that only two facts are clear concern-               damages. It points out that the sum of
ing the HP rotor blade clearances; that they were                  $221,393.76 was awarded to Owner for
(1) normal in 1975 and (2) excessive in February of                restoration of the LP turbine. This figure is
1976. There was no evidence that connected Todd,                   included in the Todd damages of
Turbine Service or Gonzales with the excessive                     $1,142,446.21. This was reduced by the
clearances. As the district court stated, “(w)hat                  “savings made possible” figure of
happened in the meantime is anyone's guess.” It                    $174,813.00, leaving a balance due from
was undisputed that it would take almost 130 man                   Todd to Owners of $967,633.00. In recon-
hours to file off the tips, but no one saw or knew of              ciling the accounts between Todd and Tur-
any filing and no invoice showed any labor cost for                bine Service, the same figure of
such work. We are convinced that the court's find-                 $221,393.76 was used. Todd was given a
ing that no repairer caused the excessive tip clear-               credit of $174,813.00 which represented
ances is not clearly erroneous.                                    Todd's contract price including profit. The
                                                                   district court then attempted to award Tur-
     To summarize our disposition of the issues on                 bine Service its unpaid invoices of
appeal, we affirm the judgment of the district court               $125,818.75 but did so by crediting the
holding the defendants Todd, Turbine Service and                   figure against $221,393.76 instead of cred-
Gonzales liable to Owners in damages for the im-                   iting it against Turbine Service's 50%
proper repair of the LP turbine rotor. We affirm the               share of Todd's indemnity claim of
judgment of the district court requiring indemnific-               $967,633.00. But the $967,633.00 total due
ation of Todd by Turbine Service and Gonzales,                     from Todd to Owners already included the
and the denial of indemnification of Turbine Ser-                  $221,393.76 charge for restoration. Hence
vice by Gonzales.[FN18] We conclude that the dis-                  this latter charge was incorporated twice in
trict court erred in finding Todd guilty of gross neg-             the court's damage summaries despite its
ligence. We disagree with the district court's calcu-              apparent intention of dealing with them
lation of the loss of use time of the KATRIN since                 separately. Unless there is a deduction of
it failed to apply the percentage of operation time                Turbine Service's unpaid invoices for




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        $125,818.75 and Travelers' uninsured por-
        tion (yet to be determined by the district
        court on remand), from one half of the in-
        demnity expenses, Todd will come out
        ahead and Travelers will not receive credit
        for its invoices.

          Since the district court must recalculate
          the damages on remand, as well as de-
          termine Travelers uninsured amount un-
          der its policy, we leave it to the district
          court to make a final determination of
          damages with respect to all parties.

     AFFIRMED IN PART, MODIFIED IN PART,
REVERSED IN PART, AND REMANDED for fur-
ther proceedings not inconsistent with this opinion.

C.A.La., 1982.
Todd Shipyards Corp. v. Turbine Service, Inc.
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                                                                 Release, which stated that in consideration of
                                                            being permitted to enter restricted area of race
            Court of Appeals of Texas,                      track, signer, released, waived, discharged and cov-
                    Beaumont.                               enanted not to sue promoter, track operator, and
                                                            track owner, agreed to indemnify and hold harmless
       Jerry W. SMITH, Appellant,
                                                            releases, and agreed to assume full responsibility
                   v.
                                                            for risk of bodily injury, death or property damage,
  GOLDEN TRIANGLE RACEWAY, Appellee.
                                                            clearly communicated its effect to signer.
               No. 09–85–200 CV.
                                                            [2] Judgment 228          181(33)
                 April 10, 1986.
          Rehearing Denied May 7, 1986.                     228 Judgment
                                                                228V On Motion or Summary Proceeding
     Party injured while in pit area of race track
                                                                   228k181 Grounds for Summary Judgment
filed suit against track alleging both negligence and
                                                                      228k181(15) Particular Cases
gross negligence. The 60th District Court, Jefferson
                                                                            228k181(33) k. Tort cases in general.
County, Gary Sanderson, J., granted race track's
                                                            Most Cited Cases
motion for summary judgment based upon release,
                                                                 Allegations of misrepresentations as to what
and appeal was taken. The Court of Appeals, Bur-
                                                            signer was signing when he signed release upon en-
gess, J., held that: (1) release clearly communicated
                                                            tering restricted area of racetrack were insufficient
its effect to plaintiff; (2) allegations of misrepres-
                                                            to defeat motion for summary judgment in negli-
entations as to what plaintiff was signing when he
                                                            gence action brought by signer, where allegations
signed release were insufficient to defeat motion
                                                            of misrepresentations were not directed against any
for summary judgment; (3) release was not invalid
                                                            one person in particular, and especially not against
on ground of great disparity of bargaining positions
                                                            anyone connected with racetrack.
of parties; and (4) release attempting to exempt one
from liability or damages occasioned by gross neg-          [3] Public Amusement and Entertainment 315T
ligence is against public policy.                                130

     Affirmed in part and reversed and remanded in          315T Public Amusement and Entertainment
part.                                                           315TIII Personal Injuries
                                                                      315TIII(B) Defenses, Mitigating Circum-
                  West Headnotes
                                                            stances and Statutory Limitations of Liability
[1] Public Amusement and Entertainment 315T                           315Tk129 Pre-Injury Releases
     130                                                                     315Tk130 k. In general. Most Cited
                                                            Cases
315T Public Amusement and Entertainment                         (Formerly 376k6(6) Theaters and Shows)
   315TIII Personal Injuries                                     Release signed as condition for entry into re-
          315TIII(B) Defenses, Mitigating Circum-           stricted areas of race track was not invalid on pub-
stances and Statutory Limitations of Liability              lic policy grounds due to disparity of bargaining
         315Tk129 Pre-Injury Releases                       positions of parties; signer was under no compul-
                315Tk130 k. In general. Most Cited          sion to go into restricted or pit area of track.
Cases
   (Formerly 376k6(6) Theaters and Shows)                   [4] Release 331      20




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331 Release                                                   injured at the racetrack.
   331I Requisites and Validity
         331k20 k. Legality of consideration. Most            “7. The only representations made to me in re-
Cited Cases                                                   gard to placing my signature on the list was that
    Release attempting to exempt one from liability           my signature was necessary to show who had
or damages occasioned by gross negligence is                  entered into the pit area with no further explana-
against public policy.                                        tion.”

*574 Michael McGown, Weller, Wheelus & Green,                    [1] Mr. Smith's first point of error alleges there
Beaumont, for appellant.                                    is a fact issue raised as to whether or not the release
                                                            clearly notified him of its effect. Mr. Smith cites
Thomas Walston, Mehaffy, Weber, Keith & Gon-                several cases from other jurisdictions which hold
soulin, Beaumont, for appellee.                             that releases of this type must be clear and must in-
                                                            form the signer of the effect of the instrument. The
                                                            release in question provides in pertinent part:
                     OPINION
BURGESS, Justice.                                             “IN CONSIDERATION of being permitted to
    Jerry Smith was injured while in the “pit area”           enter for any purpose any RESTRICTED AREA
of Golden Triangle Raceway. He filed suit alleging            (hereinafter defined as including but not limited
both negligence and gross negligence. Golden Tri-             to the ... pit areas, infield, burn out area, approach
angle Raceway filed a motion for summary judg-                area, shutdown area ... and other areas of appur-
ment based upon a release signed by Mr. Smith.                tenant to any area where any activity related to
The motion was granted.                                       the event shall take place), or being permitted to
                                                              ... observe, work for, or for any purpose particip-
     Mr. Smith's affidavit filed in response to the
                                                              ate in any way in the event, EACH OF THE UN-
motion for summary judgment, in relevant portion,
                                                              DERSIGNED, for himself, ...:
stated:
                                                                 “1. HEREBY RELEASES, WAIVES, DIS-
  “4. I viewed the race from the infield area located
                                                              CHARGES AND COVENANTS NOT TO SUE
  in the center of the racetrack. To gain access into
                                                              the promoter, ... track operator, track owner, ...
  the infield area I signed a form and was provided
                                                              owners and lessees of premises used to conduct
  a piece of paper with the words “pit pass” which
                                                              the event and each of them, their officers and em-
  was stapled to my shirt.
                                                              ployees, all for the purposes herein referred to as
  “5. I was told that a list of people entering in the        “releasees”, from all liability to the undersigned
  pit area was necessary and I thus signed my name            ... for any and all loss or damage, and any claims
  and my brothers name to the list provided by                or demands therefor on account of injury to the
  Golden Triangle Raceway. To the best of my re-              person or property or resulting in death of the un-
  collection there was no writing on the list *575            dersigned, whether caused by the negligence of
  nor was I told that each person had to sign indi-           the releasees or otherwise while the undersigned
  vidually.                                                   is on or upon the restricted area and/or ... ob-
                                                              serving, ... or for any purpose participating in the
  “6. At no time was I told by anyone, be they an             event;
  employee of Golden Triangle Raceway or anyone
  else, that the purpose of placing my signature on             “2. HEREBY AGREES TO INDEMNIFY
  the list was to waive any and all rights I might            AND SAVE AND HOLD HARMLESS the re-
  have against Golden Triangle Raceway if I were              leasees and each of them from any loss, liability,




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  damage, or cost that they may incur due to the                *576 A release of this type has been held not to
  presence of the undersigned in or upon the re-            be against the public policy of this state. Corpus
  stricted area or in any way ... observing, ... or for     Christi Speedway v. Morton, 279 S.W.2d 903
  any purpose participating in the event and wheth-         (Tex.Civ.App.—San Antonio 1955, no writ). While
  er caused by the negligence of the releasees or           the release here is not totally in “every day lan-
  otherwise.                                                guage” nor is it totally “legalese”. We hold, as a
                                                            matter of law, the release clearly communicated its
    “3. HEREBY ASSUMES FULL RESPONSIB-                      effect to the signer. Point of error number one is
  ILITY FOR AND RISK OF BODILY INJURY,                      overruled.
  DEATH OR PROPERTY DAMAGE due to the
  negligence of releasees or otherwise while in or               Point of error number two alleges a fact issue
  upon the restricted area and/or while ... ob-             exists concerning whether or not Mr. Smith was
  serving, ... or for any purpose participating in the      given an opportunity to read the release and wheth-
  event.                                                    er or not the import of the release was misrepresen-
                                                            ted to him.
  “EACH OF THE UNDERSIGNED expressly ac-
  knowledges and agrees that the activities of the              [2] The only evidence before the court was Mr.
  event are very dangerous and involve the risk of          Smith's deposition and his affidavit. Neither of
  serious injury and/or death and/or property dam-          these raise any fact issue against Golden Triangle
  age. EACH OF THE UNDERSIGNED further                      Raceway. True, there are allegations of misrepres-
  expressly agrees that the foregoing release,              entation, but they are not directed against any one
  waiver and indemnity agreement is intended to be          person in particular and especially not anyone con-
  as broad and inclusive as is permitted by the law         nected with Golden Triangle Raceway. An affidavit
  of the Province or State in which the event is            opposing a motion for summary judgment must
  conducted and that if any portion thereof is held         contain specific factual allegations which are direct
  invalid, it is agreed that the balance shall, not-        and unequivocal. Brownlee v. Brownlee, 665
  withstanding, continue in full legal force and ef-        S.W.2d 111 (Tex.1984). This point of error is over-
  fect.                                                     ruled.

  “THE UNDERSIGNED HAS READ AND VOL-                             [3] The next point of error alleges the trial
  UNTARILY SIGNS THE RELEASE AND                            court erred because there was a fact issue as to the
  WAIVER OF LIABILITY AND INDEMNITY                         validity of the release based upon the great dispar-
  AGREEMENT, and further agrees that no oral                ity of the bargaining position of the parties. Mr.
  representations, statements or inducements apart          Smith cites no Texas case on this point. This simply
  from the foregoing written agreement have been            was not a “bargaining” situation. Mr. Smith was
  made.                                                     under no compulsion to go into the pit area. There
                                                            are no public policy considerations under which
  “I HAVE READ THIS DOCUMENT. I UNDER-                      this could be construed as a “bargaining” situation.
  STAND IT IS A RELEASE OF ALL CLAIMS.                      As previously noted, these types of releases are not
                                                            against public policy, Corpus Christi Raceway,
  “I UNDERSTAND I ASSUME ALL RISK IN-
                                                            supra. This point of error is overruled.
  HERENT IN RACING.
                                                                 The final point of error alleges the trial court
  “I VOLUNTARILY SIGNED MY NAME EVID-
                                                            erred in granting summary judgment because the
  ENCING MY ACCEPTANCE OF THE ABOVE
                                                            release cannot relieve Golden Triangle Raceway
  PROVISIONS.”
                                                            from liability or damages occasioned by their own




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gross negligence. We find no cases from our juris-          any.
diction on this point. However, several other juris-
dictions have adopted such a rule. Lee v.                     AFFIRMED IN PART AND REVERSED
Beauchene, 337 N.W.2d 827 (S.D.1983), Seymour               AND REMANDED IN PART.
v. New Bremen Speedway, Inc., 31 Ohio App.2d
                                                            Tex.App. Beaumont 1986.
141, 287 N.E.2d 111 (1971), Winterstein v. Wilcom,
                                                            Smith v. Golden Triangle Raceway
16 Md.App. 130, 293 A.2d 821 (1981), Barker v.
                                                            708 S.W.2d 574
Colorado Region-Sports Car Club of America, Inc.,
532 P.2d 372 (Colo.App.1974), Thomas v. Atlantic            END OF DOCUMENT
Coast Line R.R. Co., 201 F.2d 167 (5th Cir.1953),
Wade v. Watson, 527 F.Supp. 1049 (N.D.Ga.1981),
aff'd, 731 F.2d 890 (11th Cir.1984).

    Several recognized treatises adopt such a rule.
The RESTATEMENT OF CONTRACTS SEC. 574
(1932) states:

    “A bargain for exemption from liability for the
  consequences of negligence not falling greatly
  below the standard established by law for the
  protection of others against unreasonable risk of
  harm, is legal except in cases stated in sec. 575.”

    The comment goes on to state:
    “... By gross negligence is meant conduct fall-
  ing greatly below that standard.”

   The RESTATEMENT (SECOND) OF CON-
TRACTS SEC. 195 (1979) states:
   “A term exempting a party from tort liability
 for harm caused intentionally or recklessly is un-
 enforceable on grounds of public policy....”

     See also, 6A CORBIN, CONTRACTS SEC.
1472 (1962) and W. PROSSER, TORTS, SEC. 68
(4th Ed.1971).

    [4] The rule adopted by the other jurisdictions
and supported by the treatises should be the rule in
Texas. We hold a term in a release attempting to
exempt one from liability or damages occasioned
by gross negligence is against public policy. We
sustain point of error number three.

    The case is remanded for a trial only on the is-
sue of gross negligence and the actual and punitive
damages attributable to such gross negligence, if




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                                                            [2] Judgment 228        185(2)

           Court of Appeal of Louisiana,                    228 Judgment
                  Second Circuit.                              228V On Motion or Summary Proceeding
                                                                  228k182 Motion or Other Application
  Henry BROOM, et al., Plaintiffs-Appellants,                         228k185 Evidence in General
                     v.                                                    228k185(2) k. Presumptions and Bur-
LEEBRON & ROBINSON RENT A CAR, INC. d/                      den of Proof. Most Cited Cases
  b/a Budget Rent-A-Car, Defendant-Appellee.                    Mover for summary judgment has burden of af-
                                                            firmatively showing absence of genuine issue of
                  No. 25,215-CA.
                                                            material fact and any doubt as to existence of such
                   Oct. 27, 1993.
                                                            issue must be resolved against granting motion.
     Automobile renters brought breach of contract          LSA-C.C.P. art. 966.
action against automobile rental agency seeking to
                                                            [3] Judgment 228        185(2)
recover damages for agency's failure to replace
rental vehicle after theft of tires and wheels. The         228 Judgment
First Judicial District Court, Parish of Caddo, Frank           228V On Motion or Summary Proceeding
H. Thaxton, III, J., entered summary judgment in                   228k182 Motion or Other Application
favor of rental agency, and renters appealed. The                     228k185 Evidence in General
Court of Appeal, Williams, J., held that: (1) renters                      228k185(2) k. Presumptions and Bur-
were not responsible for theft of rental vehicle's          den of Proof. Most Cited Cases
tires and wheels; (2) genuine issue of material fact             To satisfy burden of showing no genuine issue
existed as to whether rental agency's refusal to re-        of material fact, mover for summary judgment must
place tires and wheels constituted breach of con-           meet strict standard by showing that it is quite clear
tract; and (3) genuine issue of material fact existed       as to what truth is, and that excludes any real doubt
as to whether renters were entitled to recover dam-         as to existence of material fact. LSA-C.C.P. art.
ages for mental anguish or inconvenience for rental         966.
agency's alleged breach of rental contract.
                                                            [4] Judgment 228        185(2)
    Reversed and remanded.
                                                            228 Judgment
    Victory, J., concurred in result.                          228V On Motion or Summary Proceeding
                                                                   228k182 Motion or Other Application
                  West Headnotes
                                                                      228k185 Evidence in General
[1] Judgment 228        178                                               228k185(2) k. Presumptions and Bur-
                                                            den of Proof. Most Cited Cases
228 Judgment                                                     Papers supporting motion for summary judg-
   228V On Motion or Summary Proceeding                     ment are to be closely scrutinized while opposing
        228k178 k. Nature of Summary Judgment.              papers are to be indulgently treated, in determining
Most Cited Cases                                            whether mover for summary judgment has satisfied
    Motion for summary judgment is procedural               his burden of showing no genuine issue of material
device to avoid full scale trial where there is no          fact. LSA-C.C.P. art. 966.
genuine factual dispute. LSA-C.C.P. art. 966.
                                                            [5] Judgment 228        185(2)




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228 Judgment                                                merits. LSA-C.C.P. arts. 966, 967.
   228V On Motion or Summary Proceeding
      228k182 Motion or Other Application                   [9] Appeal and Error 30          893(1)
          228k185 Evidence in General
                                                            30 Appeal and Error
              228k185(2) k. Presumptions and Bur-
                                                               30XVI Review
den of Proof. Most Cited Cases
                                                                  30XVI(F) Trial De Novo
    When court is presented with choice of reason-
                                                                      30k892 Trial De Novo
able inferences to be drawn from subsidiary facts
                                                                            30k893 Cases Triable in Appellate
contained in affidavits and attached exhibits, reas-
                                                            Court
onable inferences must be viewed in light most fa-
                                                                                30k893(1) k. In General. Most
vorable to party opposing motion for summary
                                                            Cited Cases
judgment. LSA-C.C.P. art. 966.
                                                                Appellate courts review summary judgment de
[6] Judgment 228         181(1)                             novo under same criteria that govern district court's
                                                            consideration of whether summary judgment is ap-
228 Judgment                                                propriate. LSA-C.C.P. arts. 966, 967.
    228V On Motion or Summary Proceeding
       228k181 Grounds for Summary Judgment                 [10] Automobiles 48A         390
              228k181(1) k. In General. Most Cited
                                                            48A Automobiles
Cases
                                                                48AVIII Garage Keepers, Repairmen, Auto Liv-
     Summary judgment will not be granted even if
                                                            erymen, and Filling Stations
trial court has grave doubts as to party's ability to
                                                                      48Ak386 Renting Out of Vehicle by Auto
establish disputed facts as it is not function of trial
                                                            Liverymen
court on motion for summary judgment to determ-
                                                                          48Ak390 k. Injuries to Vehicle. Most
ine or even inquire into merits of issues raised.
                                                            Cited Cases
LSA-C.C.P. art. 966.
                                                                 Renters of automobile were not responsible for
[7] Judgment 228         185(5)                             theft of rental vehicle's tires and wheels, even
                                                            though rental contract provided that customer was
228 Judgment                                                responsible for damage to wheel and rims, where
   228V On Motion or Summary Proceeding                     no provision of contract made customer responsible
      228k182 Motion or Other Application                   for theft of wheels and rims, and where renters pur-
         228k185 Evidence in General                        chased loss damage waiver which provided that
            228k185(5) k. Weight and Sufficiency.           they were not responsible for loss or damage due to
Most Cited Cases                                            theft.
     Weighing of conflicting evidence has no place
in summary judgment procedure. LSA-C.C.P. art.              [11] Contracts 95       143(2)
966.
                                                            95 Contracts
[8] Judgment 228         178                                   95II Construction and Operation
                                                                  95II(A) General Rules of Construction
228 Judgment                                                          95k143 Application to Contracts in Gen-
   228V On Motion or Summary Proceeding                     eral
        228k178 k. Nature of Summary Judgment.                           95k143(2) k. Existence of Ambiguity.
Most Cited Cases                                            Most Cited Cases
    Summary judgment is not substitute for trial on              When words of contract are clear and explicit




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and lead to no absurd consequences, no further in-          115 Damages
terpretation may be made in search of parties' in-               115III Grounds and Subjects of Compensatory
tent. LSA-C.C. art. 2045.                                   Damages
                                                                     115III(A) Direct or Remote, Contingent, or
[12] Contracts 95       152                                 Prospective Consequences or Losses
                                                                       115III(A)1 In General
95 Contracts
                                                                            115k30 k. Elements of Compensation
   95II Construction and Operation
                                                            in General. Most Cited Cases
      95II(A) General Rules of Construction
                                                                 If plaintiffs intended, and nature of contract
         95k151 Language of Instrument
                                                            supports this contention, to gratify significant non-
                 95k152 k. In General. Most Cited
                                                            pecuniary interest by way of contract and, if obligor
Cases
                                                            knew or should have known that failure to perform
    In determining meaning of words to contract,
                                                            would cause nonpecuniary loss to obligee, require-
they are to be given their generally prevailing
                                                            ments for recovery of nonpecuniary damages are
meaning. LSA-C.C. art. 2047.
                                                            satisfied. LSA-C.C. arts. 1994, 1997, 1998.
[13] Judgment 228         181(19)
                                                            [16] Judgment 228        181(19)
228 Judgment
                                                            228 Judgment
   228V On Motion or Summary Proceeding
                                                                228V On Motion or Summary Proceeding
       228k181 Grounds for Summary Judgment
                                                                   228k181 Grounds for Summary Judgment
          228k181(15) Particular Cases
                                                                      228k181(15) Particular Cases
             228k181(19) k. Contract Cases in Gen-
                                                                         228k181(19) k. Contract Cases in Gen-
eral. Most Cited Cases
                                                            eral. Most Cited Cases
     Genuine issue of material fact existed as to
                                                                 Genuine issue of material fact existed, preclud-
whether automobile rental agency's refusal, under
                                                            ing summary judgment, as to whether renters of
nonliability provision of rental agreement, to re-
                                                            automobile had significant nonpecuniary interest in
place tires and wheels that had been stolen from
                                                            execution of rental contract so as to entitle them to
rental vehicle constituted intentional or gross fault
                                                            recover damages for mental anguish or inconveni-
so as to make agency liable to renter for breach of
                                                            ence for automobile rental agency's alleged breach
contract. LSA-C.C. art. 2004.
                                                            of rental contract. LSA-C.C. arts. 1994, 1997, 1998.
[14] Contracts 95       114
                                                            *1214 Davis & Singleton by S.P. Davis, Shreve-
95 Contracts                                                port, for appellants.
   95I Requisites and Validity
                                                            Wiener, Weiss, Madison & Howell by John M.
         95I(F) Legality of Object and of Considera-
                                                            Madison, Jr., Mark L. Hornsby, Shreveport, for ap-
tion
                                                            pellee.
                95k114 k. Exemption from Liability.
Most Cited Cases
     It is contrary to public policy and in contraven-      Before VICTORY, BROWN and WILLIAMS, JJ.
tion of state law to allow contracting party to pro-
spectively absolve itself from liability for injuries
                                                            WILLIAMS, Judge.
incurred through its intentional or grossly negligent
                                                                In this action to recover damages for breach of
acts. LSA-C.C. art. 2004.
                                                            contract, the plaintiffs, Henry Broom and Loran
[15] Damages 115         30                                 Black, appeal a summary judgment rendered in fa-




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vor of the defendant, Budget Rent-A-Car. We re-             tract: 1) loss of use of the rental vehicle; 2) loss of
verse and remand.                                           business trip; 3) mental anguish, distress and incon-
                                                            venience; 4) economic loss; 5) attorney fees; and 6)
     In their petition, plaintiffs allege that on June 7,   exemplary damages. Budget reconvened requesting
1991, Henry R. Broom, Sr. went to Leebron &                 the rental car fee and the replacement cost of the
Robinson Rent-A-Car, Inc. d/b/a Budget Rent-                tires and wheels. On August 10, 1992, Budget filed
A-Car (Budget) in Shreveport to rent a car. Mr.             a motion for summary judgment. On August 31,
Broom's credit card did not have sufficient credit          1992, the motion was argued and taken under ad-
available, so Budget refused to rent the car to him.        visement. Subsequently, the trial court granted the
Mr. Broom returned to Budget later that same day            defendant's motion for summary judgment and dis-
with his brother-in-law, Loran Black, Sr. At that           missed plaintiffs' claims. Plaintiffs appealed.
time, Mr. Black presented his credit card and
entered into a written agreement with Budget to                  LSA-C.C.P. Art. 966 provides that a motion for
rent a Lincoln Town Car for a period of one week,           summary judgment shall be rendered forthwith if
at the rate of $199.00, with a return date of June 14,      the pleadings, depositions, answers to interrogator-
1991. Mr. Broom was listed in the contract as an            ies, and admissions on file, together with affidavits,
additional driver. Mr. Black also purchased a Loss          if any, show that there is no genuine issue as to ma-
Damage Waiver from Budget for an additional fee.            terial fact and that mover is entitled to judgment as
Mr. Broom and his wife had planned to travel to             a matter of law.
New Jersey in the rental car. Mr. Broom alleges
that they also intended to travel to Houston, Texas.             [1][2] The motion for summary judgment is a
                                                            procedural device to avoid a full scale trial where
     On or about June 9, 1991, while Mr. Broom              there is no genuine factual dispute. The mover for
was in Houston, Texas, he notified Budget that the          summary judgment has the burden of affirmatively
tires and wheels had been stolen from the car.              showing the absence of a genuine issue of material
Plaintiffs requested that Budget replace the wheels         fact and any doubt as to the existence of such an is-
and tires or provide them with a replacement                sue must be resolved against granting the motion.
vehicle so that they could complete their trip.             Ouachita National Bank v. Gulf States Land & De-
Budget demanded that plaintiff's replace the wheels         velopment, Inc., 579 So.2d 1115 (La.App. 2d
and tires. Budget also refused to give the Broom's          Cir.1991), writ denied, 587 So.2d 695 (La.1991).
another car.
                                                                 [3][4][5] To satisfy his burden, the mover must
     Mr. Broom eventually rented another vehicle in         meet a strict standard by showing that it is quite
Houston, Texas, and returned to Shreveport. Be-             clear as to what the truth is, and that excludes any
cause of the delay, he and his wife had to purchase         real doubt as to the existence of material fact. The
airline tickets to travel to New Jersey.                    papers supporting the mover's position are to be
                                                            closely scrutinized while the opposing papers are to
    A representative of Budget later traveled to            be indulgently treated, in determining whether
Houston to recover the rental car. The tires and            mover has satisfied his burden. When the court is
wheels were replaced at a cost of approximately             presented with a choice of reasonable inferences to
$1,800.                                                     be drawn from subsidiary facts contained in affi-
                                                            davits and attached exhibits, reasonable inferences
     On June 4, 1992, both Mr. Broom and Mr.
                                                            must be viewed in the light most favorable to the
Black filed this suit against Budget seeking the fol-
                                                            party opposing the motion. Ouachita National
lowing damages as a result of Budget's alleged will-
                                                            Bank, supra.
ful, wanton, and intentional *1215 breach of con-




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     [6][7] Summary judgment will not be granted            court's exact meaning but it appears that it found
even if the trial court has grave doubts as to a            that the items of damage claimed by the plaintiffs
party's ability to establish the disputed facts. It is      are not recoverable under the contract or Louisiana
not the function of the trial court on a motion for         law.
summary judgment to determine or even inquire in-
to the merits of the issues raised. The weighing of              *1216 Although the cited provision of the
conflicting evidence therefore has no place in sum-         agreement holds the customer responsible for dam-
mary judgment procedure. Ouachita National Bank,            age to the wheels and rims, we find no provision in
supra.                                                      the contract which makes the customer responsible
                                                            for the theft of the wheels and rims. To the con-
     [8] If the supporting documents presented by           trary, paragraph 8 of the contract provides that a
the moving party are insufficient to resolve all ma-        renter who declines the optional Loss Damage
terial facts at issue, summary judgment must be             Waiver is responsible for the full value of any loss
denied. If sufficient, the burden shifts to the oppos-      or damage due to theft and other enumerated occur-
ing party to present supporting evidence showing            rences. The clear implication of this provision is to
that material facts are still at issue. LSA-C.C.P. Art.     relieve responsibility for theft damages to those
967. A summary judgment is not a substitute for a           renters who purchase a Loss Damage Waiver.
trial on the merits. Sanders v. City of Blanchard,
438 So.2d 714 (La.App. 2d Cir.1983).                             [11][12] When the words of a contract are clear
                                                            and explicit and lead to no absurd consequences, no
     [9] Appellate courts review summary judgment           further interpretation may be made in search of the
de novo under the same criteria that govern the dis-        parties' intent. LSA-C.C. Art. 2045. Also, in de-
trict court's consideration of whether summary              termining the meaning of the words to a contract,
judgment is appropriate. Schroeder v. Board of Su-          they are to be given their generally prevailing
pervisors of Louisiana State University, 591 So.2d          meaning. LSA-C.C. Art. 2047; Schroeder v. Board
342 (La.1991).                                              of Supervisors, supra.

     [10] In the instant case, Budget asserts that               In this case, the plaintiffs purchased a Loss
since the plaintiffs' suit arose out of the alleged         Damage Waiver. Under the terms of the contract,
theft of the tires and wheels from the vehicle, sum-        they were not responsible for the theft of the wheels
mary judgment was properly granted. Budget ar-              and tires. Thus, Budget's argument it could not have
gues that under the rental contract, it is not liable to    breached the contract for failing to replace the tires
the plaintiffs as a result of the theft of the tires and    and wheels because plaintiffs were responsible for
wheels. Budget offers the following language from           theft under the contract is without merit.
the rental contract in support of its position:
                                                                 [13] In its motion for summary judgment
   CUSTOMER IS RESPONSIBLE FOR DAM-                         Budget additionally cited paragraph 16(B) of the
AGE TO GLASS, WHEELS AND RIMS, AND                          rental agreement in support of its position that it
LIGHTS.                                                     was entitled to judgment as a matter of law. Para-
                                                            graph 16(B) of the rental agreement provides that
     No written reasons for judgment appear in the          Budget “shall have no liability for any indirect, spe-
record of this case. In its “Judgment”, the trial court     cial or consequential damages arising in connection
concluded that “any genuine issues of material fact         with the furnishing, performance or use of the
set forth in plaintiffs' petition are not recoverable       vehicle or for any claim based on the failure to hon-
under the contract between the parties and applic-          or a vehicle reservation requested by Renter.”
able Louisiana law.” We are unsure of the trial




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     Apparently, Budget and the trial court believed        for mental anguish or inconvenience based on a
this “non-liability” provision of the rental contract       breach of contract.
defeats the plaintiff's entire cause of action. We
again disagree.                                                 LSA-C.C. Art. 1994 provides:

    LSA-C.C. Art. 2004 provides:                                 An obligor is liable for the damages caused by
                                                            his failure to perform a conventional obligation.
    Any clause is null that, in advance, excludes or
limits the liability of one party for intentional or            LSA-C.C. Article 1997 provides:
gross fault that causes damage to the other party.
                                                                An obligor in bad faith is liable for all the dam-
     Any clause is null that, in advance, excludes or       ages, foreseeable or not, that are a direct con-
limits the liability of one party for causing physical      sequence of his failure to perform.
injury to the other party.
                                                                *1217 LSA-C.C. Article 1998 then sets forth
     [14] Here, the plaintiffs' petition alleges an in-     the requirements for the recovery of nonpecuniary
tentional refusal by Budget to honor the terms of           damages:
the rental agreement. It is contrary to public policy
                                                                 Damages for nonpecuniary loss may be re-
and in contravention of Louisiana law to allow a
                                                            covered when the contract, because of its nature, is
contracting party to prospectively absolve itself
                                                            intended to gratify a nonpecuniary interest and, be-
from liability for injuries incurred through its inten-
                                                            cause of the circumstances surrounding the forma-
tional or grossly negligent acts. LSA-C.C. Art.
                                                            tion or the nonperformance of the contract, the ob-
2004. See also, Ramirez v. Fairgrounds Corp., 575
                                                            ligor knew, or should have known, that his failure
So.2d 811 (La.1991); Walker v. Self Service Stor-
                                                            to perform would cause that kind of loss. Regard-
age and Miniwarehouses, Inc., 492 So.2d 210
                                                            less of the nature of the contract, these damages
(La.App. 4th Cir.1986). There appear to be genuine
                                                            may be recovered also when the obligor intended,
issues of material fact as to whether Budget's con-
                                                            through his failure, to aggrieve the feelings of the
duct in this case amounted to “intentional or gross
                                                            obligee.
fault.” That is, was the denial of replacement of the
tires and wheels a reasonable interpretation of the              [15] If plaintiffs intended, and the nature of the
contract? Was Budget's refusal intentional or               contract supports this contention, to gratify a signi-
grossly negligent?                                          ficant nonpecuniary interest by way of the contract,
                                                            and, if the obligor knew or should have known that
     In the absence of “intentional or gross fault,”
                                                            failure to perform would cause nonpecuniary loss to
there would still remain issues of material fact giv-
                                                            the obligee, then the requirements for recovery of
en that the terms contained in Paragraph 16(B),
                                                            nonpecuniary damages are satisfied. See generally,
“indirect,” “special,” and “consequential” are vague
                                                            Young v. Ford Motor Company, Inc., 595 So.2d
and are not defined by the contract. Whether the
                                                            1123 (La.1992); Mayerhofer v. Three R's Inc., 597
items of damage claimed by the plaintiffs would be
                                                            So.2d 151 (La.App. 3d Cir.1992); Whitener v.
prohibited by this provision is best decided by the
                                                            Clark, 356 So.2d 1094 (La.App. 2d Cir.1978) writ
trier of fact following trial.
                                                            denied, 358 So.2d 638 (La.1978).
    Finally, Budget argues that summary judgment
                                                                 [16] In the instant case, plaintiffs seek damages
was appropriate because none of the damages
                                                            for both pecuniary and nonpecuniary loss. They ar-
sought by plaintiff are recoverable under Louisiana
                                                            gue that they are entitled to damages for mental an-
law. It contends plaintiff cannot recover damages
                                                            guish and inconvenience because they had a signi-




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ficant nonpecuniary interest in executing the rental
contract. This assertion is best proved or disproved
after the facts are established at a trial on the mer-
its.

     The evidence adduced in support of the motion
for summary judgment does not establish beyond
genuine dispute that Budget complied with the
terms of the rental contract. Consequently, the
movers failed to demonstrate that they were entitled
to a judgment as a matter of law, and the motion for
summary judgment was erroneously granted.

     Having found that summary judgment was im-
properly granted, we do not reach the other issues
raised on appeal.

     Accordingly, the summary judgment is re-
versed, and the case is remanded to the district
court for further proceedings consistent with this
opinion. Costs of this appeal are assessed to the ap-
pellee, Budget Rent-A-Car.

    REVERSED AND REMANDED.

VICTORY, J., concurs in result.

La.App. 2 Cir.,1993.
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                                                          owned by Niagara Mohawk. At the time of the acci-
      Austro v Niagara Mohawk Power Corp.                 dent, Weber was performing a contract for the re-
        66 N.Y.2d 674, 496 N.Y.S.2d 410                   pair of a concrete wall owned by Niagara Mohawk.
                   N.Y. 1985.                             The contract provided that Weber would indemnify
                                                          Niagara Mohawk for any liability caused by
66 N.Y.2d 674, 487 N.E.2d 267, 496 N.Y.S.2d 410           Niagara Mohawk's negligence, whether that negli-
                                                          gence was wholly or partly the cause of bodily in-
          Edward Austro et al., Plaintiffs,
                                                          jury arising out of the work performed under the
                          v.
                                                          contract. After plaintiffs brought an action against
  Niagara Mohawk Power Corporation, Defendant
                                                          Niagara Mohawk for negligence, Niagara Mohawk
  and Third-Party Plaintiff-Appellant. Weber Con-
                                                          commenced a third-party action against Weber and
struction Company, Inc., et al., Third-Party Defend-
                                                          Begin seeking contractual and common-law indem-
  ants-Respondents, et al., Third-Party Defendants.
                                                          nification. On appeal, Niagara Mohawk contended
            (And a Fourth-Party Action.)
                                                          that the verdict was against the weight of the evid-
           Court of Appeals of New York
                                                          ence, that a finding of gross negligence was con-
           Argued September 10, 1985;                     trary to law, and that the trial court erred in finding
            decided October 10, 1985                      that the indemnification agreement, as it applied to
                                                          gross negligence, was void as a matter of public
CITE TITLE AS: Austro v Niagara Mohawk Power              policy.
Corp.
                                                          The Appellate Division concluded that there was
                   SUMMARY                                sufficient evidence in the record to support the
                                                          jury's determination that both parties were respons-
Appeal, by permission of the Court of Appeals,            ible for the happening of the accident and its de-
from an order of the Appellate Division of the Su-        termination of apportionment, and that the trial
preme Court in the Third Judicial Department,             court properly calculated Weber's liability under the
entered July 23, 1984, which unanimously affirmed         indemnity provision.
a judgment of the Supreme Court, entered in
Saratoga County upon a verdict on the issue of liab-      Austro v Niagara Mohawk Power Corp., 103 AD2d
ility rendered at a Trial Term (J. Raymond Amyot,         903, reversed.
J.), and upon a stipulation fixing damages, ad-
judging that plaintiffs recover of defendant Niagara                         HEADNOTES
Mohawk Power Corporation and the third-party de-
                                                          Indemnity--Indemnification against Own Negli-
fendants Weber Construction Company, Inc. and
                                                          gence
Kenneth Begin the sum of $899,500; that defendant
                                                          (1) In a third-party action for indemnification
Niagara Mohawk was 90% liable and third-party
                                                          brought by a public utility against a contractor,
defendants Weber and Begin were 10% liable for
                                                          based upon an agreement by the contractor to in-
plaintiff's injuries, and that 75% of Niagara Mo-
                                                          demnify the utility for any liability caused by the
hawk's negligence was gross negligence.
                                                          utility's negligence resulting in bodily injury arising
Plaintiff Edward Austro, an employee of Weber,            out of work performed by the contractor under a
sustained serious injuries when he received an elec-      construction contract, an order of the Appellate Di-
trical shock while handling a bucket attached to a        vision, which affirmed so much of a judgment dis-
crane which came in contact with a power line             missing the utility's third-party complaint insofar as




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it sought indemnification from the contractor for          onerated party's tortious act, and indemnity con-
the utility's gross negligence, *676 should be re-         tracts that simply shift the source of compensation
versed, and judgment granted to the utility on its         without restricting the injured party's ability to re-
third-party complaint. Indemnification agreements          cover. Indemnification agreements are unenforce-
are unenforceable as violative of public policy only       able as violative of public policy only to the extent
to the extent that they purport to indemnify a party       that they purport to indemnify a party for damages
for damages flowing from the intentional causation         flowing from the intentional causation of injury (
of injury. Because there is no allegation of inten-        Public Serv. Mut. Ins. Co. v Goldfarb, 53 NY2d
tional harm in this case, the utility should have been     392, 400). Because there is no allegation of inten-
granted judgment against the contractor for the full       tional harm in this case, NiMo should have been
amount of its liability to the injured plaintiff.          granted *677 judgment against Weber and Begin
                                                           for the full amount of its liability to plaintiff Aus-
         APPEARANCES OF COUNSEL                            tro. In view of our holding, we need not decide
                                                           whether the evidence was legally sufficient to sup-
Howard S. Rosenhoch and Lawrence H. Wagner for
                                                           port the jury's finding of gross negligence against
appellant.
                                                           NiMo.
Edward F. Layden for respondents.
                                                           Chief Judge Wachtler and Judges Meyer, Simons,
            OPINION OF THE COURT
                                                           Kaye, Alexander and Titone concur; Judge Jasen
The order of the Appellate Division, insofar as ap-        taking no part.
pealed from, should be reversed, with costs, and           Order reversed, with costs, and judgment granted to
judgment granted to Niagara Mohawk Power Co.               Niagara Mohawk Power Corporation in accordance
(NiMo) on its third-party complaint against third-         with the memorandum herein.
party defendants Weber Construction Co., Inc., and
Kenneth Begin.                                               Copr. (c) 2011, Secretary of State, State of New
                                                                                  York
The Appellate Division affirmed the dismissal, fol-
                                                           N.Y. 1985.
lowing trial, of NiMo's third-party complaint inso-
                                                           Austro v Niagara Mohawk Power Corp.
far as it demanded indemnification from Weber for
                                                           66 N.Y.2d 674, 487 N.E.2d 267578496 N.Y.S.2d
liability arising out of NiMo's gross negligence.
                                                           410602, 487 N.E.2d 267578496 N.Y.S.2d 410602
The demand was based on an agreement by Weber
to indemnify NiMo for any liability caused by the          END OF DOCUMENT
latter's negligence resulting, in whole or in part, in
bodily injury arising out of work performed by
Weber under a construction contract. The Appellate
Division relied on this court's pronouncements, in
Gross v Sweet (49 NY2d 102) and Kalisch-Jarcho,
Inc. v City of New York (58 NY2d 377), that ex-
culpatory agreements will not be read to exempt a
willful or grossly negligent party from liability to
an injured person. The Appellate Division,
however, failed to distinguish between the exculp-
atory clauses involved in those cases, which typic-
ally deprive a contracting party of the right to re-
cover for damages suffered as the result of the ex-




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